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             SECOND AMENDED TITLE III PLAN OF ADJUSTMENT OF
               THE PUERTO RICO ELEXTRIC POWER AUTHORITTY
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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF PUERTO RICO

In re:                                                                    PROMESA
                                                                          Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                                         No. 17-BK-3283-LTS
         as representative of                                             (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
al.,

                                        Debtors. 1

In re:                                                                    PROMESA
                                                                          Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                                         No. 17-BK-4780-LTS
         as representative of                                             (Jointly Administered)
PUERTO RICO ELECTRIC POWER AUTHORITY,

                                        Debtor.

                SECOND AMENDED TITLE III PLAN OF ADJUSTMENT OF
                  THE PUERTO RICO ELECTRIC POWER AUTHORITY

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  Attorneys for the Financial Oversight and Management Board as Representative for PREPA
Dated: February 26, 2023


1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
(4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico
(the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii)
Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four
Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
No. 17-BK-3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-LTS) (Last Four
Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17- BK-
4780-LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”)
(Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed
as Bankruptcy Case numbers due to software limitations).
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                                        INTRODUCTION

         The Oversight Board, as the Title III representative of PREPA pursuant to PROMESA
section 315(b), proposes this plan of adjustment pursuant to and in accordance with PROMESA
Title III.

        A discussion of PREPA’s history, operations, and events leading to the commencement of
PREPA’s Title III Case, as well as a summary and analysis of the Plan, risk factors, and other
related matters, is included in the Disclosure Statement. Other agreements and documents, which
have been or will be filed with the Title III Court, are referenced in the Plan or the Disclosure
Statement and are available for review.

                                            ARTICLE I

             DEFINED TERMS, RULES OF INTERPRETATION,
     COMPUTATION OF TIME, GOVERNING LAW, AND OTHER REFERENCES

A.     Defined Terms

        Capitalized terms used in the Plan shall have the meanings set forth in this Article I.A. Any
term used in capitalized form that is not otherwise defined but that is used in PROMESA (and to
the extent made applicable by PROMESA, the Bankruptcy Code, and the Bankruptcy Rules) shall
have the meaning assigned to such term in PROMESA, the Bankruptcy Code, or the Bankruptcy
Rules, as applicable and as modified by PROMESA.

        1.      “2022 Fiscal Plan Projections” means the 30-Year Load Forecast with the
Individual Effects of Three Drivers Causing Load Reduction set forth at Exhibit 55 of the 2022
Fiscal Plan for PREPA certified by the Oversight Board on June 28, 2022.

        2.    “AAFAF” means the Autoridad de Asesoría Financiera y Agencia Fiscal, a public
corporation and instrumentality of the Commonwealth, whose name in English is the Puerto Rico
Fiscal Agency and Financial Advisory Authority.

        3.     “ACR Order” means that certain Order (A) Authorizing Administrative
Reconciliation of Claims, (B) Approving Additional Form of Notice, and (C) Granting Related
Relief, dated March 12, 2020 [Case. No. 17-BK-3283-LTS, ECF No. 12274].

       4.     “Active PREPA ERS Participant” means a Participant who, as reflected in the
records of PREPA ERS, is not receiving a pension or annuity as of the Effective Date.

       5.      “Additional Bonds” means, if applicable, any bonds, notes, or other forms of
indebtedness incurred by Reorganized PREPA other than the New Bonds and Refunding Bonds,
which may be payable from Revenues, excluding during the applicable periods an amount up to
Legacy Charge Revenues and Remaining Legacy Charge Revenues, as applicable.

        6.      “Administrative Claim Bar Date” means, unless otherwise ordered by the Title III
Court, the date established by the Title III Court and set forth in the Confirmation Order as the last
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day to file proofs of Administrative Expense Claims pursuant to section 503(b) of the Bankruptcy
Code, which date shall be no more than ninety (90) days after the Effective Date.

       7.     “Administrative Expense Bonds” means the Series B-2 Bonds to be issued by
Reorganized PREPA pursuant to the Plan on the Effective Date and sold to the Commonwealth
for payment of Allowed Administrative Expense Claims, which shall be in an aggregate original
principal amount to be determined by the Oversight Board in its sole discretion, up to the
Administrative Expense Bonds Amount.

        8.     “Administrative Expense Bonds Amount” means approximately $400,000,000, or
such lower principal or original principal amount as determined by the Oversight Board at or prior
to the Confirmation Hearing, in each case, which principal amount shall be subject to consultation
rights of AAFAF.

        9.      “Administrative Expense Claim” means a Claim against the Debtor or its Assets
constituting a cost or expense of administration of the Title III Case asserted or authorized to be
asserted, on or prior to the Administrative Claim Bar Date, in accordance with Bankruptcy Code
sections 503(b) and 507(a)(2) arising during the period up to and including the Effective Date.

       10.    “ADR Order” means that certain Order (A) Authorizing Alternative Dispute
Resolution Procedures, (B) Approving Additional Forms of Notice, (C) Approving Proposed
Mailing, and (D) Granting Related Relief, dated April 1, 2020 [Case No. 17-BK-3283-LTS, ECF
No. 12576].

       11.     “ADR Procedures” means the alternative dispute resolution procedures authorized
pursuant to the ADR Order.

    12.   “Affiliate” has the meaning set forth in Bankruptcy Code section 101(2) and
PROMESA section 301(c)(1).

        13.     “Allowed” means, with respect to any Claim, such Claim or portion thereof
(a) proof of which was filed on or before the applicable Bar Date or (b) if no Proof of Claim has
been timely filed, which has been or hereafter is listed by the Debtor in the Creditor List and is not
listed thereon as “disputed”, “contingent”, or “unliquidated,” or (c) allowed pursuant to
(i) Bankruptcy Code section 502(h), applicable to the Title III Case pursuant to PROMESA
section 301, (ii) the terms of the Plan, or (iii) a Final Order; provided, however, that, with respect
to any Claim described in clause (a) or (b) above, such Claim shall be considered Allowed only if,
and to the extent that, no objection to the allowance thereof, or action to equitably subordinate or
otherwise limit recovery with respect thereto, has been interposed within the applicable period of
limitation fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or a Final Order, or as
to which an objection has been interposed and such Claim has been allowed in whole or in part by
a Final Order. For purposes of determining the amount of an “Allowed Claim” with respect to
distributions within a Class, there shall be deducted therefrom an amount equal to the amount of
any, original issue discount not accrued as of the date immediately prior to the Petition Date and
any claim that the Debtor may hold against the holder thereof, to the extent such Claim may be set
off pursuant to applicable bankruptcy and non-bankruptcy law. Notwithstanding anything to the
contrary herein, (x) Claims allowed solely for the purpose of voting to accept or reject the Plan



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pursuant to an order of the Title III Court shall not be considered Allowed hereunder unless
otherwise specified herein or by order of the Title III Court, (y) for any purpose under the Plan,
except with respect to amounts that are determined by a Final Order to be “just compensation”
attributable in connection with the allowance of an Eminent Domain/Inverse Condemnation Claim
and treatment thereof pursuant to the terms and provisions of Article XIV hereof, “Allowed” shall
not include interest, penalties, or late charges arising from or relating to the period from and after
the Petition Date, and (z) “Allowed” shall not include any Claim subject to disallowance in
accordance with Bankruptcy Code section 502(d).

       14.    “Amended Lien & Recourse Challenge” means the litigation styled The Financial
Oversight and Management Board for Puerto Rico v. U.S. Bank National Association, Adv. Proc.
No. 19-00391-LTS, currently pending in the Title III Court.

        15.     “Amended Lien & Recourse Challenge Final Resolution” means either the entry of
(a) a Final Order in the Amended Lien & Recourse Challenge or (b) a binding settlement agreement
entered into among the parties to the Amended Lien & Recourse Challenge and approved by a
Final Order.

       16.     “Amendment Test” shall have the meaning given to it in Article XVIII.F of the Plan.

        17.     “Assets” means, with respect to the Debtor, (a) all “property” of the Debtor,
including, without limitation, such property as may be reflected on the Debtor’s books and records
and the Confirmation Order as of the Effective Date and (b) all Causes of Action, and any
subsequent proceeds thereof, that have been or may be commenced by the Debtor or an authorized
representative for the benefit of the Debtor and its Creditors, unless modified or released pursuant
to the Plan or a Final Order.

      18.    “Assured” means, collectively, Assured Guaranty Corp. and Assured Guaranty
Municipal Corp.

        19.    “Assured Insured Interest Rate Swaps” means (a) that certain ISDA Master
Agreement, including its related Schedule and the Credit Support Annex to the Schedule, each
dated as of April 18, 2007, by and between PREPA and JPMorgan Chase Bank, N.A., and a
transaction entered into pursuant to such documents and reflected in that certain Swap Transaction
confirmation dated April 27, 2007 with JPMorgan Ref. No. 2000005090781, insured by Assured
pursuant to that certain Financial Guaranty Insurance Policy, #218491A-SWP, issued on May 3,
2007, and secured by PREPA’s “Subordinate Obligations Fund” established and governed by the
Trust Agreement; and (b) that certain ISDA Master Agreement, including its related Schedule and
the Credit Support Annex to the Schedule, each dated as of April 18, 2007, by and between PREPA
and UBS AG, and a transaction entered into pursuant to such documents and reflected in that
certain Swap Transaction confirmation dated as of April 18, 2007 with UBS Ref: 37638915 and
insured by Assured pursuant to that certain Financial Guaranty Insurance Policy, No. 208491B-
SWP, dated as of May 3, 2007, and secured by PREPA’s “Subordinate Obligations Fund”
established and governed by the Trust Agreement.

      20.     “Assured Insured Interest Rate Swaps Claims” means a Claim on account of the
Assured Insured Interest Rate Swaps.



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       21.    “Assured Insured Interest Rate Swaps Claim Recovery” means the treatment
provided to Holders of Allowed Claims in Class 2.

        22.    “Avoidance Actions” means avoidance, recovery, and subordination actions
identified on Schedule A hereto, as such Schedule A may be amended or modified up to and
including the Effective Date, against any Entity that have been brought by or on behalf of the
Debtor against an Entity under sections 510, 544, 545, 547, 548, 549, 550, 551, 552, or 553 of the
Bankruptcy Code, applicable to the Title III Case pursuant to section 301 of PROMESA, or
applicable non-bankruptcy law incorporated by Bankruptcy Code section 544.

     23.    “Avoidance Action Proceeds” means the net Cash consideration received by
PREPA in connection with the Avoidance Actions.

        24.     “Avoidance Actions Trust” means the trust to be created on or prior to the Effective
Date into which on the Effective Date shall be transferred the authority to litigate or compromise
and settle the Avoidance Actions.

        25.    “Avoidance Actions Trust Agreement” means the agreement to be executed and
delivered on or prior to the Effective Date providing for, among other things, the ongoing litigation
of the Avoidance Actions.

        26.   “Avoidance Actions Trust Assets” means, collectively, the (a) Avoidance Actions
and (b) any Cash held by the Avoidance Action Trustee from time to time.

        27.   “Avoidance Actions Trust Beneficiaries” means, collectively, the Holders of Claims
in the Unsecured Claims Pool.

        28.     “Avoidance Actions Trust Board” means the three (3) member board appointed as
of the Effective Date to govern the Avoidance Actions Trust, selected by the Oversight Board.

       29.    “Avoidance Actions Trust Interests” means the beneficial interests in the Avoidance
Actions Trust allocated in accordance with the terms and provisions of the Plan to the General
Unsecured Claim Recovery for the benefit of Holders of Claims in the Unsecured Claims Pool.

        30.   “Avoidance Actions Trustee” means the trustee appointed by the Avoidance
Actions Trust Board, by a simple majority vote of such board, contemporaneously with the
Effective Date in accordance with the terms and provisions of the Avoidance Actions Trust
Agreement, including, without limitation, any successor thereto.

       31.     “Ballot Date” means the deadline(s) established by the Title III Court and set forth
in the Disclosure Statement Order for the submission of ballots pursuant to the terms and
provisions of the Plan.

       32.     “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–
1532, to the extent applicable to the Title III Case pursuant to PROMESA section 301(a).

      33.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United States


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Code, 28 U.S.C. § 2075, as made applicable to the Title III Case pursuant to PROMESA section
310.

        34.    “Bar Date” means the respective dates established by the Title III Court by which
proofs of Claim must have been filed with respect to such Claims against the Debtor, pursuant to
(a) the Bar Date Orders, (b) a Final Order of the Title III Court, or (c) the Plan.

        35.     “Bar Date Orders” means the orders of the Title III Court establishing the dates by
which proofs of Claim against the Debtor or its Assets must have been filed, including, but not
limited to the (a) Order (A) Establishing Deadlines and Procedures for Filing Proofs of Claim and
(B) Approving Form and Manner of Notice Thereof [Case No. 17-BK-3283-LTS, ECF No. 2521],
and (b) Order (A) Extending Deadlines for Filing Proofs of Claim and (B) Approving Form and
Manner of Notice Thereof [Case No. 17-3283-BK-LTS, ECF No. 3160].

       36.    “Bond Collateral” means the assets of PREPA, if any, subject to a valid, perfected,
and enforceable prepetition security interest in favor of the Bond Trustee on account of the PREPA
Revenue Bonds as determined pursuant to the Amended Lien & Recourse Challenge Final
Resolution.

        37.     “Bond Trustee” means U.S. Bank National Association, in its capacity as successor
trustee under the Trust Agreement.

        38.    “Business Day” means a day other than a Saturday, Sunday, or any other day on
which commercial banking institutions in New York, New York and San Juan, Puerto Rico are
required to close by law or executive order; provided, that for the purposes of the definition of
Treasury Rate, Business Day shall also exclude, to the extent not already excluded, (i) a day on
which commercial banks are required or authorized by law to be closed in the state, or (ii) a day
on which The New York Stock Exchange is closed for the entire day or the federal reserve banks
are closed.

        39.    “Cash” means the lawful currency of the United States, including, but not limited
to, bank deposits, checks representing good funds, and legal equivalents thereof.

        40.     “Causes of Action” means all claims, actions, causes of action, rights to payment,
choses in action, suits, Debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties,
covenants, contracts, controversies, agreements, promises, variances, trespasses, damages,
judgments, remedies, rights of set-off, third-party claims, subrogation claims, contribution claims,
reimbursement claims, indemnity claims, counterclaims, and cross claims (including, but not
limited to, all claims for breach of fiduciary duty, negligence, malpractice, breach of contract,
aiding and abetting, fraud, inducement, avoidance, recovery, subordination, and all Avoidance
Actions) that are pending or may be asserted against any Person or Entity whether arising on or
before the Effective Date, based in law or equity, including, but not limited to, under the
Bankruptcy Code, whether known, unknown, reduced to judgment, not reduced to judgment,
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, secured, or
unsecured and whether asserted or assertable directly or derivatively, in law, equity, or otherwise
and whether asserted or unasserted as of the Effective Date.




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       41.      “CBA Rejection Damages Claim” means a Claim, if any, arising against PREPA
from the rejection, pursuant to section 365(d) of the Bankruptcy Code, or pursuant to a settlement,
of any Collective Bargaining Agreement, excluding any Claim against PREPA and/or PREPA
ERS arising from PREPA’s rejection of any Collective Bargaining Agreement with respect to
retirement obligations, including Pension Claims, which are treated pursuant to Article III of the
Plan.

       42.     “Claim” means any claim, as such term is defined in Bankruptcy Code section
101(5), against PREPA.

        43.    “Claims Objection Bar Date” means one hundred eighty (180) days following the
Effective Date or such later date as may be approved by the Title III Court.

        44.    “Claims Register” means the official register of Claims maintained by the
Solicitation Agents.

        45.   “Class” means a category of Holders of Claims under Bankruptcy Code
section 1122(a).

     46.   “Collective Bargaining Agreements” means, collectively, the UEPI CBA and the
UTIER CBA.

       47.     “Commonwealth” means the Commonwealth of Puerto Rico.

       48.     “Commonwealth Constitution” means the Constitution of the Commonwealth of
Puerto Rico.

        49.    “Confirmation” means entry of the Confirmation Order on the docket of the Title
III Case.

       50.   “Confirmation Date” means the date on which the Title III Court enters the
Confirmation Order on the docket of the Title III Case within the meaning of Bankruptcy Rules
5003 and 9021.

      51.    “Confirmation Hearing” means the hearing(s) before the Title III Court under
Bankruptcy Code section 1128 at which PREPA seeks entry of the Confirmation Order.

       52.   “Confirmation Order” means the order of the Title III Court confirming the Plan
under PROMESA section 314, as the same may be subsequently amended, supplemented, or
otherwise modified.

       53.     “Convenience Cap” means one million dollars ($1,000,000), the aggregate amount
of consideration to be made available to Holders of Allowed Convenience Claims.

        54.      “Convenience Claim” means an Allowed General Unsecured Claim (a) that is equal
to or less than ten thousand dollars ($10,000) or (b) the Holder of which, at such Holder’s option,
has elected to reduce the amount of such Allowed General Unsecured Claim to ten thousand dollars
($10,000) in accordance with terms and provisions set forth in Article XVI hereof; provided,


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however, that, notwithstanding the foregoing, a holder of multiple General Unsecured Claims that
are in the aggregate greater than twenty thousand dollars ($20,000) may elect to reduce all such
Claims to an aggregate amount of twenty thousand dollars ($20,000) and elect to have all such
Claims receive treatment as Convenience Claims; and, provided, further, that the aggregate
amount of consideration to be made available to Convenience Claims shall be the Convenience
Cap, and, provided, further, that, in the event that such Convenience Cap is exceeded, Holders of
Allowed Convenience Claims shall receive a Pro Rata Share of the Convenience Cap.

       55.     “Creditor” means any Entity holding an Allowed Claim against the Debtor or the
Debtor’s Assets or, pursuant to Bankruptcy Code section 102(2), against any other property of the
Debtor, including, without limitation, a Claim against the Debtor of a kind specified in Bankruptcy
Code section 502(g), 502(h), or 502(i), in each case, solely in such Entity’s capacity as such.

        56.     “Creditor List” means the creditor list (together with all summaries, notes, and
schedules) attached as Exhibit A to the Notice of Filing of Creditor List for the Puerto Rico Electric
Power Authority [Case No. 17-BK-4780-LTS, ECF No. 520], pursuant to Bankruptcy Code
sections 924 and 925, as such list, summaries, notes, or schedules have been or may be amended,
restated, supplemented, or otherwise modified by PREPA.

       57.     “Creditors’ Committee” means the Official Committee of Unsecured Creditors
appointed by the U.S. Trustee in the Title III Case.

       58.     “Cure Claim” means a Claim (unless waived or modified by the applicable
counterparty) based upon PREPA’s defaults under an Executory Contract or an Unexpired Lease
assumed by PREPA under Bankruptcy Code section 365, other than a default not required to be
cured pursuant to Bankruptcy Code section 365(b)(2).

       59.     “CVI” means, collectively, the securities to be issued on the Effective Date by
Reorganized PREPA as described in Article XIX hereof and issued in accordance with the terms
and conditions of the Plan, the Confirmation Order, and the New Master Indenture.

        60.    “CVI Maturity Date” means the date that is thirty-five (35) years after the Effective
Date.

      61.     “CVI Notional Amount” means the sum of the GUC CVI, the Settling CVI, and the
Non-Settling CVI.

        62.     “CVI Redemption Price” means the calculation of the present value of the
outstanding CVI as of the applicable call date, which shall be the sum of the present values of
equal annual installments of the outstanding CVI balance as of Fiscal Year end from the applicable
call date to the final maturity of the CVI, discounted to the date of redemption of the CVI on an
annual basis (assuming a 360-day year consisting of twelve 30-day months) at the Treasury Rate
plus two-percent (2.00%).

        63.    “Debt” shall have the meaning given to it in section 101(12) of the Bankruptcy
Code.




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      64.    “Debt Service Fund” means the fund held by the New Master Trustee into which
Reorganized PREPA shall deposit Net Revenues in accordance with the Payment Waterfall.

       65.     “Debtor” means PREPA.

        66.    “Deficiency Claim” means an Allowed PREPA Revenue Bond Claim or an
Allowed Assured Insured Interest Rate Swaps Claim held by a Non-Settling Bondholder or Non-
Settling Monoline that is not a Secured Claim and constitutes an unsecured Claim against PREPA
pursuant to section 506(a)(1) of the Bankruptcy Code, as determined by the Amended Lien &
Recourse Challenge Final Resolution.

        67.     “Definitive Documents” means, collectively, the definitive documents and
agreements contemplated by the Plan, including, without limitation, (a) the Disclosure Statement
(including any amendments, modifications, and supplements thereto) and any documentation or
agreements related thereto, which shall be reasonably satisfactory to the Required Fuel Line
Lenders, (b) the Plan (including any amendments, modifications, and supplements thereto) and
any documentation or agreements related thereto, which shall be not inconsistent with the Fuel
Line Lender PSA and reasonably satisfactory to the Required Fuel Line Lenders, (c) the
Confirmation Order, which shall be not inconsistent with the Fuel Line Lender PSA and reasonably
satisfactory to the Required Fuel Line Lenders, (d) the New Master Indenture and documents or
agreements related thereto, which shall be not inconsistent with the Fuel Line Lender PSA and
reasonably acceptable to the Required Fuel Line Lenders, (e) the form of bonds for the New Bonds,
which shall be not inconsistent with the Fuel Line Lender PSA and reasonably acceptable to the
Required Fuel Line Lenders, (f) the form of the CVI, (g) the PREPA PayGo Deed of Trust and
documents or agreements related thereto, (h) the GUC Trust Deed of Trust and documents or
agreements related thereto, (i) the Avoidance Actions Trust Agreement and documents or
agreements related thereto, and (j) each other document that will comprise the Plan Supplement,
in all cases except as otherwise set forth herein, the form and substance of which shall be
acceptable to the Oversight Board in its sole and absolute discretion, and, with respect to the
documents identified in subsections (a)–(e) and any other document referenced in the term
“PREPA Definitive Documents” as defined in the National PSA, shall have terms and conditions
consistent with the National PSA in all respects and otherwise be in form and substance reasonably
satisfactory to National.

       68.     “Determination” shall have the meaning given to it in Article XIX.S of the Plan.

        69.     “Disallowed” means, with respect to any Claim, a Claim or any portion thereof that
is not Allowed and (a) has been disallowed by a Final Order, (b) is designated as zero, contingent,
disputed, or undisputed in the Creditor List and as to which no Proof of Claim or request for
payment of an Administrative Expense Claim has been timely filed or deemed timely filed with
the Title III Court, (c) has been withdrawn by agreement of the Debtor and the Holder thereof, or
(d) has been withdrawn by the Holder thereof.

        70.    “Disclosure Statement” means the disclosure statement for the Plan, including all
exhibits and schedules thereto, and approved by the Title III Court pursuant to Bankruptcy Code
section 1125.




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       71.    “Disclosure Statement Order” means the order of the Title III Court approving the
Disclosure Statement, which Disclosure Statement Order shall be in form and substance
reasonably acceptable to the Required Fuel Line Lenders and National.

        72.    “Disputed” means, with respect to any Claim, a Claim that is not yet Allowed,
including (a) any Proof of Claim that, on its face, is contingent or unliquidated, (b) any Proof of
Claim or request for payment of an Administrative Expense Claim filed after the Effective Date,
applicable bar date, or the deadline for filing Proofs of Claim based on PREPA’s rejection of
Executory Contracts or Unexpired Leases, as applicable, and (c) any Claim that is subject to an
objection or a motion to estimate, in each case that has not been withdrawn, resolved, or ruled on
by a Final Order of the Title III Court.

         73.     “Distribution Agent” means, as applicable, PREPA, Reorganized PREPA, the GUC
Trustee, or such Entity or Entities designated by the Oversight Board, each of which is to make or
to facilitate distributions in accordance with the provisions of the Plan.

        74.     “Distribution Date” means, except as otherwise set forth herein, the date or dates
determined by the Oversight Board or the GUC Trustee, as applicable, on or after the Effective
Date, upon which the Distribution Agent shall make distributions to Holders of Allowed Claims
entitled to receive distributions under the Plan.

        75.     “Distribution Record Date” means the Ballot Date or such other date established
by a separate Final Order of the Title III Court, including the Confirmation Order; provided,
however, that the “Distribution Record Date” shall not apply to any publicly held securities that
will receive a distribution pursuant to the Plan through DTC.

       76.     “DTC” means The Depository Trust Company.

       77.    “Effective Date” means the date that is the first Business Day after the Confirmation
Date on which all conditions precedent to the occurrence of the Effective Date set forth in Article
XXXII.A of the Plan have been satisfied or waived in accordance with Article XXXII.B of the
Plan.

        78.    “Election of Settlement Class Signature Page” means the signature page attached
to the Uninsured Bond Settlement Agreement, pursuant to which a Holder of PREPA Revenue
Bond Claims may elect to be a Settling Bondholder by returning such completed signature page to
the Oversight Board by the Settlement Offer Deadline and otherwise in accordance with the terms
of the Uninsured Bond Settlement Agreement.

        79.     “Eminent Domain/Inverse Condemnation Claim” means a Claim arising from or
related to (a) an Eminent Domain Proceeding and a Final Order entered therein for an amount in
excess of the amount deposited by the condemnor in accordance with the terms and provisions of
32 L.P.R.A. § 2907, including, without limitation, interest accrued with respect thereto or (b) an
asserted inverse condemnation of property caused by an asserted taking of property for public use
by the Debtor without due process of law and without having received just compensation,
including, without limitation, through the imposition of development restrictions or use
limitations.



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       80.    “Eminent Domain Proceeding” means a condemnation action or proceeding
commenced by PREPA in the Court of First Instance in accordance with the terms and provisions
of 32 L.P.R.A. § 2905 to obtain title to real property located on Puerto Rico.

       81.     “Entity” has the meaning set forth in Bankruptcy Code section 101(15).

         82.    “Excess New Bonds” means the Net Remaining New Bonds, if any, available for
distribution, after making the distributions of Net Remaining New Bonds provided for by the Plan
to (a) the GUC Trust, (b) Holders of Allowed PREPA Revenue Bond Claims or Holders of Assured
Insured Interest Rate Swaps Claims that are a Settling Bondholder, and (c) Holders of Allowed
Fuel Line Loan Claims.

       83.     “Exchange Offer” shall have the meaning given to it in Article XIX.S of the Plan.

        84.    “Exculpated Party” means, collectively, and in each case in its capacity as such:
(a) PREPA; (b) the Oversight Board; (c) AAFAF; (d) the Creditors’ Committee; (e) the Vitol
Parties, except with respect to any claims related to the Vitol-SCC AP; (f) the Fuel Line Lender
PSA Creditors; (g); National; (h) LUMA Energy; and (i) with respect to each of the foregoing,
such Entity’s current and former Related Persons.

        85.    “Executory Contract” means a contract or lease to which PREPA is a party that is
subject to assumption, rejection, or assumption and assignment in accordance with Bankruptcy
Code section 365, except as provided in PROMESA section 311.

       86.     “Federal Claims” means, collectively, any and all Claims of the United States of
America, its agencies, departments or agents, including, without limitation, the United States
Department of Housing and Urban Development, the United States Department of Homeland
Security, the United States Environmental Protection Agency, and the United States Department
of Labor.

        87.      “Final Order” means, as applicable, an order or judgment of a court of competent
jurisdiction that has been entered on the docket maintained by the clerk of such court and has not
been reversed, vacated, or stayed and as to which (a) the time to appeal, petition for certiorari, or
move for a new trial, re-argument, or rehearing has expired and as to which no appeal, petition for
certiorari, remand proceeding, or other proceedings for a new trial, re-argument, or rehearing shall
then be pending, or (b) if an appeal, writ of certiorari, new trial, re-argument, or rehearing thereof
has been sought, (i) such order or judgment shall have been affirmed or remanded in part or in full,
with no further proceedings on remand, by the highest court to which such order was appealed,
certiorari shall have been denied, or a new trial, re-argument, or rehearing shall have been denied
or resulted in no modification of such order, and (ii) the time to take any further appeal, petition
for certiorari, or move for a new trial, re-argument, or rehearing shall have expired; provided,
however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
or any analogous rule under the Bankruptcy Rules or the Local Bankruptcy Rules, may be filed
relating to such order shall not prevent such order from being a Final Order, except as provided in
the Federal Rules of Appellate Procedure, the Bankruptcy Rules, or the Local Bankruptcy Rules.

       88.    “Findings of Fact and Conclusions of Law” means the findings of fact and
conclusions of law of the Title III Court entered in the Title III Case in connection with


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confirmation of the Plan in accordance with section 314 of PROMESA and section 1129 of the
Bankruptcy Code, made applicable in the Title III Case in accordance with section 301 of
PROMESA.

       89.     “Fiscal Plan” means a “Fiscal Plan” as defined in PROMESA section 5(10).

       90.    “Fiscal Year” means a fiscal year of PREPA, commencing on July 1st and
concluding on June 30th the following calendar year.

       91.     “Fuel Line Citibank Facility” means the Trade Finance Facility Agreement, dated
July 20, 2012, by and between PREPA and Citibank, N.A., as amended, amended and restated,
supplemented, or otherwise modified from time to time.

       92.     “Fuel Line Facilities” means, collectively, the credit facilities extended to PREPA
pursuant to the Fuel Line Scotia Facility and the Fuel Line Citibank Facility.

         93.    “Fuel Line Lender Priority Action” means the litigation styled Cortland Capital
Market Services LLC, et al., v. The Financial Oversight and Management Board for Puerto Rico,
et al., Case No. 19-00396-LTS, currently pending in the Title III Court, in which the lenders of the
Fuel Line Loans asserted, among other things, that the Fuel Line Loans constitute “Current
Expenses” under the Trust Agreement and have priority over PREPA’s bondholders.

       94.     “Fuel Line Lender PSA” means that certain Plan Support and Settlement
Agreement, dated as of December 1, 2022, by and among the Oversight Board and the Fuel Line
Lender PSA Creditors, as it may be amended, modified, or supplemented in accordance with the
terms thereof.

       95.     “Fuel Line Lender PSA Creditors” means, collectively, the parties to the Fuel Line
Lender PSA, other than the Oversight Board, as they may change from time to time in accordance
with the Fuel Line Lender PSA.

        96.      “Fuel Line Lender PSA Creditors Consummation Fees” means consummation
costs of fifteen million dollars ($15,000,000) to be paid to the Fuel Line Lender PSA Creditors.

      97.    “Fuel Line Lender PSA Creditors Fees” means, collectively, the Fuel Line Lender
PSA Creditors Consummation Fees and the Fuel Line Lender PSA Creditors Professionals’
Reimbursement Fees.

       98.     “Fuel Line Lender PSA Creditors Professionals’ Reimbursement Fees” means
reimbursement of up to eleven million dollars ($11,000,000) in documented professional fees
incurred by the Fuel Line Lender PSA Creditors.

        99.    “Fuel Line Loan Claim” means a Claim on account of Fuel Line Loans or otherwise
arising from or related to the Fuel Line Facilities (including interest accrued through the Petition
Date).

       100.    “Fuel Line Loans” means the loans or advances made under the Fuel Line Facilities.



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        101. “Fuel Line Scotia Facility” means the Credit Agreement, dated May 4, 2012, by
and among PREPA, Scotiabank de Puerto Rico, and certain lenders, as amended, amended and
restated, supplemented, or otherwise modified from time to time.

        102.    “General Unsecured Claim” means any unsecured Claim against PREPA other
than an Administrative Expense Claim, a Federal Claim, a Professional Claim, an Eminent
Domain/Inverse Condemnation Claim (except as otherwise provided in Article XIV of the Plan),
a Pension Claim, a Fuel Line Loan Claim, a PREPA Revenue Bond Claim (including a Deficiency
Claim), a National Insured Bond Claim, a National Reimbursement Claim, a Vitol Claim, an
Assured Insured Interest Rate Swaps Claim, a Secured Claim, an Ordinary Course Customer
Claim, a Section 510(b) Subordinated Claim, or such other Claim determined by the Title III Court
not to be an General Unsecured Claim. For the avoidance of doubt, each CBA Rejection Damages
Claim shall be a “General Unsecured Claim.”

       103. “General Unsecured Claim Recovery” means the aggregate recovery by Holders of
Claims in the Unsecured Claims Pool, payable from the GUC Trust Assets, comprised of (a) the
Avoidance Action Proceeds, (b) the GUC New Bonds, if any, and (c) the GUC CVI.

        104. “Government Parties” means collectively, (a) the Oversight Board, (b) PREPA,
and (c) AAFAF.

       105.    “Governmental Unit” has the meaning set forth in Bankruptcy Code section
101(27).

        106. “Gross Remaining New Bonds” means the Series B Bonds, if any, available for
distribution after the Mandatory New Bonds Distribution and the GUC New Bonds Initial
Distribution.

       107. “GUC CVI” means CVI in the notional face amount equal to the Unsecured Claims
Pool minus the sum of the (a) the amount of the Avoidance Action Proceeds as of the Effective
Date and (b) face of amount of the GUC New Bonds.

       108.    “GUC Initial New Bonds Recovery Percentage” means fifty percent (50.0%).

       109. “GUC New Bonds” means, collectively, the GUC New Bonds Initial Distribution
and the GUC New Bonds Secondary Distribution.

         110. “GUC New Bonds Initial Distribution” means the aggregate principal amount of
Series B Bonds to be initially distributed to the GUC Trust for the benefit of Holders of Claims in
the Unsecured Claims Pool, equal to the lesser of (a) the Unsecured Claims Pool times the GUC
Initial New Bonds Recovery Percentage and (b) all GUC Remaining New Bonds.

       111. “GUC New Bonds Secondary Distribution” means the aggregate principal amount
of Net Remaining New Bonds distributed to the GUC Trust for the benefit of Holders of Claims
in the Unsecured Claims Pool, after the GUC New Bonds Initial Distribution, equal to the
Unsecured Claims Pool minus the GUC New Bonds Initial Distribution divided by the Remaining
Series B Bonds Claims Pool, which resulting fraction shall be multiplied by the Net Remaining
New Bonds.


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        112. “GUC Remaining New Bonds” means the Series B Bonds, if any, available for
distribution after the Mandatory New Bonds Distribution.

       113. “GUC Trust” means an Entity to be established on or prior to the Effective Date for
the benefit of Holders of Claims in the Unsecured Claims Pool, which Entity shall be a liquidating
trust managed in accordance with the GUC Trust Deed of Trust.

        114. “GUC Trust Assets” means, collectively, (a) the Avoidance Action Proceeds,
(b) the GUC New Bonds, if any, and (c) the GUC CVI.

      115. “GUC Trust Beneficiaries” means, collectively, the Holders of Claims in the
Unsecured Claims Pool.

        116. “GUC Trust Board” means the three (3) member board appointed as of the
Effective Date to govern the GUC Trust, selected by the Oversight Board.

        117. “GUC Trust Deed of Trust” means the deed of trust to be executed and delivered
on or prior to the Effective Date providing for, among other things, the distribution of the General
Unsecured Claims Recovery to the Holders of Claims in the Unsecured Claims Pool.

       118. “GUC Trust Interests” means the beneficial interests in the GUC Trust allocated in
accordance with the terms and provisions of the Plan for the benefit of Holders of Claims in the
Unsecured Claims Pool.

        119. “GUC Trustee” means the trustee appointed by the GUC Trust Board, by a simple
majority vote of such board, contemporaneously with the Effective Date in accordance with the
terms and provisions of the GUC Trust Deed of Trust, including, without limitation, any successor
thereto.

        120. “Holder” means an Entity holding a Claim, except as provided in PROMESA
section 301(c)(3).

        121.   “Impaired” means a Claim that is not Unimpaired.

       122. “Insurance Policies” means, collectively, all of the Debtor’s insurance policies,
excluding any insurance policies issued by Monoline Insurers with respect to Insured PREPA
Revenue Bonds.

       123. “Insured PREPA Revenue Bonds” means the PREPA Revenue Bonds insured
pursuant to insurance policies issued by the Monoline Insurers.

        124.   “Interest Rate Covenant” shall have the meaning given to it in Article XIX.J of the
Plan.

        125. “IRC” means the United States Internal Revenue Code of 1986, as amended from
time to time.




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      126. “IRS” means the Internal Revenue Service, an agency of the United States
Department of Treasury.

       127.    “Invited Bonds” shall have the meaning given to it in Article XIX.S of the Plan.

       128. “Law 458 Action” means the litigation styled PREPA v. Vitol Inc. et al., Adv. Proc.
No. 19-00453 in [Case No. 17-BK-3283-LTS].

        129. “Legacy Charge” means the hybrid fixed monthly flat fee and volumetric charge
by Reorganized PREPA to be included in Reorganized PREPA’s rates, fees, and charges to its
customers, as more fully described on Schedule B hereto, as such Schedule B may be amended
or modified up to and including the Effective Date, to pay principal and interest on the New Bonds
and any Refunding Bonds, in structure and amounts that do not delay or extend the Series A Bonds’
or the Series B Bonds’ expected repayment date and expected weighted average life as set forth in
the Fuel Line Lender PSA or the National PSA, as applicable, and otherwise that are reasonably
acceptable to the Required Fuel Line Lenders.

       130. “Legacy Charge Revenues” means, during the applicable period, the portion,
expressed in dollars, of all Revenues attributable to the Legacy Charge, as calculated by a Servicer
and certified by an officer thereof to the New Master Trustee.

       131.    “Lien” has the meaning set forth in Bankruptcy Code section 101(37).

       132. “Local Bankruptcy Rules” means the Local Bankruptcy Rules of the United States
Bankruptcy Court for the District of Puerto Rico and, to the extent applicable to the Title III Case,
the Local District Court Rules for the District of Puerto Rico, each as amended from time to time.

      133. “LUMA Energy” means, collectively, LUMA Energy, LLC, a joint venture between
Quanta Services and Canadian Utilities Limited, an ATCO Ltd. Company, and LUMA Energy
ServCo, LLC, its subsidiary.

        134. “Mandatory New Bonds Distribution” means the New Bonds to be issued pursuant
to this Plan and distributed in accordance with the following provisions of the Plan: Article II.D;
Article IV.A(ii); Article V.A(ii); Article VII.A(i); Article VIII.A; Article IX.A; Article XII.A; and
Article XVIII.H.

       135.    “Monoline Insurers” means Assured, National, and Syncora.

       136.    “National” means National Public Finance Guarantee Corporation.

        137. “National Acceleration Price” means, with respect to any National Insured Bond,
a price equal to the outstanding principal amount of a National Insured Bond plus the accrued and
unpaid interest thereon (or, in the case of any capital appreciation bonds, the compounded amount
thereof) as of the date of payment.

       138. “National Bondholder Election Form” means the “Form of Election Notice for
Holders of Claims in Class 5”, a copy of which is attached to the Disclosure Statement Order.



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        139. “National Certificates” means, with respect to each National Trust that is formed
for the benefit of the beneficial holders of National Insured Bonds, the certificate(s) or receipt(s)
to be issued by such National Trust to beneficial holders of such National Insured Bonds that are
deposited into the National Trust.

       140. “National Claims” means, collectively, the National Insured Bond Claims and the
National Reimbursement Claim.

        141. “National Commutation Consideration” means a combination of some or all of the
following, to be selected by National at National’s sole discretion at or prior to the Plan
Supplement Deadline: (i) some or all of a Holder’s Pro Rata Share of the National Plan
Consideration; (ii) a percentage, to be determined at National’s sole discretion, of the amounts
distributable to National in accordance with the terms and provisions of Article II.D.2 hereof; and
(iii) Cash in an amount to be determined by National in its sole discretion.

        142.    “National Commutation Treatment” means the treatment set forth in Article XX.A
of this Plan.

        143. “National Escrow Account” means escrow accounts that may be formed, on or prior
to the Effective Date, by PREPA, for the benefit of the beneficial holders of National Insured
Bonds whose National Escrow Consideration is deposited therein, the terms of which shall be set
forth in the Plan Supplement.

        144. “National Escrow Consideration” means any or all of the New Bonds distributable
on account of Allowed National Insured Bond Claims and any other consideration that may be
selected by National, in National’s sole and absolute discretion, at or prior to the Plan Supplement
Deadline.

        145. “National Insurance Policies” means the existing insurance policies, including
secondary market insurance policies, initially issued by (a) MBIA Insurance Corporation and
subsequently novated to National or (b) FGIC and subsequently novated to National, relating to
the National Insured Bonds, together with any and all agreements and other documents related
thereto.

       146. “National Insured Bonds” means, collectively, the PREPA Revenue Bonds that are
insured by National or any of its affiliates and listed on Exhibit C to the National PSA; provided,
however, for the avoidance of doubt, “National Insured Bonds” shall not include any PREPA
Revenue Bonds that National (a) satisfied all amounts due and owing thereunder and (b) sold,
assigned, and transferred its interests and rights into certain third-party buyers.

        147. “National Insured Bond Claims” means, collectively, the Claims against PREPA
arising from the National Insured Bonds; provided, for the avoidance of doubt, the National
Insured Bond Claims shall not include the National Reimbursement Claim.

      148. “National Non-Commutation Treatment” means the treatment set forth in Article
XX.B of this Plan.




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      149. “National Plan Consideration” means the consideration distributable on account of
Allowed National Insured Bond Claims.

        150. “National PSA” means that certain Plan Support and Settlement Agreement, dated
as of January 31, 2023, by and among PREPA, the Oversight Board, and National, including any
exhibits or schedules thereto, as it may be amended, modified, or supplemented in accordance with
the terms thereof.

        151. “National Reimbursement Claim” means the Claim of National arising from the
payments made by National after the Petition Date, and as they may continue to accrue up to, but
not including, the Effective Date to holders of the National Insured Bonds on account of interest
accrued on such bonds. For the avoidance of doubt, the National Reimbursement Claim does not
include any claims arising under PREPA Revenue Bonds that National sold, assigned, and
transferred its interests and right in to certain third-party buyers.

       152. “National Settlement” means the settlement of all Claims, interests, and
controversies among PREPA, the Oversight Board, and National, the terms of which are set out in
the National PSA.

        153. “National Trust” means the trust(s) which may be formed, on or prior to the
Effective Date, by PREPA, the sole cost and expense of which, including, but not limited to, the
formation and maintenance of the trust(s) (including trustee fees and expenses), shall be satisfied
from the assets of the National Trust, and for the benefit of beneficial holders of such National
Insured Bonds, the terms of which shall be set forth in the Plan Supplement.

        154. “National Trust Consideration” means some or all of the New Bonds distributable
on account of Allowed National Insured Bond Claims and any other consideration that may be
selected by National, in National’s sole and absolute discretion, at or prior to the Plan Supplement
Deadline.

        155. “Net Remaining New Bonds” means the Series B Bonds, if any, available for
distribution after the Mandatory New Bonds Distribution, the GUC New Bonds Initial
Distribution, and the PREPA PayGo New Bonds Distribution.

       156.    “Net Revenues” means Revenues minus Operating Expenses.

        157. “New Bonds” means, collectively, the Series A Bonds and Series B Bonds to be
issued by Reorganized PREPA pursuant to the Plan on the Effective Date, having an aggregate
original principal amount of approximately $5.68 billion.

        158. “New Master Indenture” means the master trust indenture to be executed and
delivered on or prior to the Effective Date pursuant to which Reorganized PREPA shall issue the
New Bonds and the CVI, and includes all of the terms and provisions in connection therewith,
which shall not be inconsistent with the Fuel Line Lender PSA and the National PSA and shall be
reasonably acceptable to the Required Fuel Line Lenders and National, as the same may be
amended, supplemented, or modified from time to time in accordance with its terms and
conditions, a form of which will be attached to the Plan Supplement.



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        159. “New Master Trustee” means the trustee or replacement trustee, as the case may
be, appointed in accordance with the terms and conditions of the New Master Indenture; provided,
that the initial New Master Trustee shall be reasonably acceptable to the Required Fuel Line
Lenders and National.

        160. “Non-Settling Bondholder” means a Holder of PREPA Revenue Bond Claims that
is not a Monoline Insurer that did not timely submit to the Solicitation Agent by the Settlement
Offer Deadline the Election of Settlement Class Signature Page issued to such Holder.

        161. “Non-Settling CVI” means, (a) if the Non-Settling CVI Conditions are met, CVI in
the notional face amount equal to the sum of the Remaining Disallowed Non-Settling Claims of
all Holders of PREPA Revenue Bonds Claims that are a Non-Settling Bondholder or a Non-
Settling Monoline as calculated in Article V.A(iv) of the Plan, or (b) if the Non-Settling CVI
Conditions are not met, CVI in the notional face amount of zero dollars ($0.00).

        162. “Non-Settling CVI Conditions” means if (a) Class 2 votes to accept the Plan and
(b) a Final Order is entered in the Amended Lien & Recourse Challenge determining that the
PREPA Revenue Bonds are recourse solely to the Sinking Fund.

       163.    “Non-Settling Monoline” means Assured and Syncora.

        164. “Operating Expenses” means all of Reorganized PREPA’s reasonable and
necessary current expenses of managing, operating, maintaining, repairing, and replacing
Reorganized PREPA’s electric utility system and providing customer service to users of such
system and shall include, without limiting the generality of the foregoing, all administrative
expenses, wages, salaries, benefits, insurance premiums and deductibles, expenses of preliminary
surveys not chargeable to capital expenditures, engineering expenses relating to operation and
maintenance, legal and other professional service expenses (including, without limitation, claims,
judgments, losses, and damages), purchases of equipment, goods, and services, equipment rentals,
project management costs, physical and data security expenses, permitting fees and expenses,
banking and cash management expenses, any payment to pension, pension trust, or retirement
funds (including, for the avoidance of doubt, payments made to the PREPA PayGo Trust), all
expenses related to third party operation and maintenance contracts, and all other expenses
required to be paid by Reorganized PREPA under the provisions of the definitive documentation
governing the New Bonds, under its contractual obligations (including any and all fees and pass-
through expense payable under the transmission and distribution contract, as well as under any
other contracts relating to a “PREPA Transaction” as defined in Act 120-2018), or by law, or
permitted by standard practices for public utility systems, plus maintenance of a reasonable
minimum balance of unrestricted cash consistent with PREPA’s current practices as further
provided in the New Master Indenture.

        165. “Operationally Restructured” means the reorganization of PREPA, in accordance
with the Commonwealth’s and PREPA’s certified Fiscal Plan, into separate and distinct legal
entities, in a form and structure substantially similar to that set forth immediately below, with
clearly divided assets, functions, and financial statements, or as otherwise agreed to by
Reorganized PREPA, AAFAF, the Oversight Board, and LUMA Energy.




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        166. “Ordinary Course Customer Claim” means a Claim, other than a Disputed Claim,
held by a customer of PREPA related to ordinary course customer matters, including a Claim
related to overpayment of customer bills or customer deposits held by PREPA.

         167. “Oversight Board” means the Financial Oversight and Management Board for
Puerto Rico established pursuant to PROMESA section 101, as the Debtor’s Title III representative
in its Title III Case pursuant to PROMESA section 315(b).

       168. “Participant” means a current, former, active, inactive, retired, or disabled
employee who holds an accrued claim against PREPA ERS for one or more retirement benefits on
account of being or having been a participant in PREPA ERS, together with its beneficiaries, if
any.

        169.   “Payment Waterfall” shall have the meaning given to it in Article XIX.G of the
Plan.

        170. “Pension Claim” means the Claim of PREPA ERS on account of contributions
owed (including amounts payable in the future) by PREPA to PREPA ERS to pay retiree pension
benefits in accordance with the PREPA ERS Regulations, collective bargaining agreements,
resolutions, and applicable law, including any Claim for rejection damages with respect to
PREPA’s rejection of any pre-petition obligations to pay retiree pension benefits pursuant to any
Executory Contract.

        171.   “Person” has the meaning set forth in Bankruptcy Code section 101(41).

     172. “Petition Date” means July 2, 2017, the date on which the Title III Case was
commenced.

        173. “Plan” means this plan of adjustment, including the Plan Supplement and all
exhibits, supplements, appendices, and schedules.



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        174. “Plan Supplement” means any compilation of documents and forms of documents,
agreements, schedules, and exhibits to the Plan, including, among other documents, the New
Master Indenture, the GUC Trust Deed of Trust, the Avoidance Actions Trust Agreement, the
PREPA PayGo Deed of Trust, and the Schedule of Assumed Contracts and Leases which shall be
filed with the Title III Court no later than the Plan Supplement Deadline, and additional documents
filed with the Title III Court prior to the Effective Date as amendments to the Plan Supplement,
each of which shall be consistent in all respects with, and shall otherwise contain, the terms and
conditions set forth on the exhibits and schedules attached hereto, where applicable, and which
shall not be inconsistent with the Fuel Line Lender PSA and the National PSA and shall be
reasonably acceptable to the Required Fuel Line Lenders and National. The Plan Supplement shall
be deemed incorporated into and part of the Plan as if set forth herein in full.

        175. “Plan Supplement Deadline” means seven (7) days before the Ballot Date or such
later date as may be approved by the Title III Court on notice to parties in interest.

       176.    “PREB” means the Puerto Rico Energy Bureau or its successor or designee.

      177. “PREPA” means the Puerto Rico Electric Power Authority, a public corporation of
the Commonwealth of Puerto Rico established pursuant to Act No. 83 of 1941, as amended.

       178. “PREPA ERS” means the Puerto Rico Electric Power Authority Employee
Retirement System, or by its Spanish name Sistema de Retiro de los Empleados de la Autoridad
de Energía Eléctrica (the “SREAEE” by its Spanish acronym), the entity responsible for the
administration and payment of PREPA’s pension obligations, pursuant to the PREPA ERS
Regulations.

       179. “PREPA ERS Priority Action” means the litigation styled Sistema de Retiro de Los
Empleados de la Autoridad de Energia Electrica v. The Financial Oversight and Management
Board for Puerto Rico, et al., Case No. 19-00405-LTS, currently pending in the Title III Court.

       180. “PREPA ERS Regulations” means the regulations adopted by PREPA pursuant to
PREPA’s Resolution No. 200, adopted June 25, 1945, that provide for the governance, funding,
and operation of PREPA ERS, as amended from time to time.

        181. “PREPA PayGo Deed of Trust” means the deed of trust to be executed and
delivered on or prior to the Effective Date, substantially in the form included in the Plan
Supplement, providing for, among other things, the creation of the PREPA PayGo Trust and terms
for the deposit of funds by PREPA and withdrawal of monies to reimburse PREPA ERS for
payment of benefits to Participants as adjusted by this Plan.

        182. “PREPA PayGo New Bonds Distribution” means the aggregate principal amount
of Series B Bonds to be initially distributed to the PREPA PayGo Trust for the benefit of PREPA
ERS, equal to the product of (a) twenty percent (20.0%) times (b) the Gross Remaining New
Bonds.

       183. “PREPA PayGo Trust” means the reserve trust to be created in accordance with the
terms and conditions hereof, which reserve trust shall be utilized to reimburse PREPA ERS on an
annual basis for payment of retirement benefits to Participants as adjusted by this Plan.


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        184. “PREPA Revenue Bond Claim” means, other than the National Claims, a Claim
against PREPA on account of any PREPA Revenue Bonds, including Insured PREPA Revenue
Bonds, Uninsured PREPA Revenue Bonds, and insurance policies issued by the Monoline
Insurers.

      185.     “PREPA Revenue Bonds” means bonds issued by PREPA pursuant to the Trust
Agreement.

        186. “Pro Rata Share” means with respect to Allowed Claims (i) within the same Class,
the proportion that an Allowed Claim bears to the sum of all Allowed Claims within such Class,
and (ii) among multiple Classes, the proportion that Allowed Claims in any such Class bears to
the sum of the Allowed Claims in all such Classes.

        187. “Professional” means an Entity: (a) whose compensation for services rendered
prior to or on the Effective Date is subject to PROMESA sections 316 and 317, and (i) employed
in the Title III Case by the Debtor (in the Debtor’s sole discretion), (ii) employed in the Title III
Case by the Oversight Board (in the Oversight Board’s sole discretion) or AAFAF (in AAFAF’s
sole discretion), or (iii) employed in the Title III Case pursuant to a Final Order in accordance with
Bankruptcy Code section 1103; or (b) for which compensation and reimbursement has been
Allowed by the Bankruptcy Court pursuant to Bankruptcy Code section 503(b)(4).

        188. “Professional Claim” means a Claim by a Professional seeking an award by the
Title III Court of compensation for services rendered or reimbursement of expenses incurred
through and including the Confirmation Date under PROMESA sections 316 and 317.

        189. “PROMESA” means the Puerto Rico Oversight, Management, and Economic
Stability Act, Pub. L. No. 114-187, 130 Stat. 549 (2016), 48 U.S.C. § 2101, et. seq., as the same
may be amended or modified.

       190.    “Proof of Claim” means a proof of Claim filed against PREPA in the Title III Case.

       191.    “Qualified Operator” shall have the meaning given to it in the New Master
Indenture.

        192. “Refunding Bonds” means, if applicable, any bonds or replacement financing
incurred by Reorganized PREPA to refinance the (a) New Bonds or (b)(i) Refunding Bonds
incurred by Reorganized PREPA to refinance the Refunding Bonds described in the immediately
preceding clause (a) or (ii) any such further refinancings of Refunding Bonds, as applicable, which
Refunding Bonds shall be secured by Net Revenues up to the amount of the Legacy Charge
Revenues, and right to receive such Net Revenues in each case up to the amount of the Legacy
Charge Revenues pledged to secure the New Bonds, and otherwise be issued in accordance with
the New Master Indenture; provided, that if any Series A Bonds are still outstanding when
Refunding Bonds are issued, such Refunding Bonds shall (a) be subordinate in principal payment
priority to the Series A Bonds, and (b) not in any way affect the terms of the Series A Bonds as set
forth herein; provided, further, however, that any Refunding Bonds that refund Series A Bonds
are not subject to the immediately preceding proviso.




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        193. “Related Persons” means, with respect to any Entity (including for the avoidance
of doubt, the Commonwealth, the Government Parties, and the Creditors’ Committee), its
predecessors, successors, and assigns (whether by operation of law or otherwise), and their
respective current and former employees, managers, elected or appointed officials, directors,
officers, board members, principals, members, equity holders (whether such interests are held
directly or indirectly), partners, financial advisors, attorneys, accountants, investment bankers,
consultants, agents, and professionals (including, without limitation, any and all Professionals
retained by the Debtor, the Oversight Board, AAFAF, and the Creditors’ Committee), or other
representatives, nominees, or investment managers, each acting in such capacity, and any Entity
claiming by or through any of them (including their respective officers, directors, managers,
shareholders, partners, employees, members, and professionals), each in its respective capacity as
such; provided, however, that “Related Persons” is not intended, nor shall it be construed, to
include the Commonwealth.

         194. “Released Claims” means, collectively, (a) Claims and Causes of Action that arise
in, are related to, or have been or could have been asserted against PREPA or its Assets in the Title
III Case, including all Claims held by Participants, (b) Claims and Causes of Action that have been
or could have been asserted by PREPA, the Oversight Board, and/or AAFAF (with respect to
releases given by PREPA) and by Creditors (with respect to releases given by the Releasing
Parties), (c) all Claims asserted by PREPA ERS in connection with the PREPA ERS Priority
Action, and (d) Claims that otherwise arise from or relate to the Title III Case, the Plan, the
Restructuring Transactions, and the compromises and settlements set forth herein; provided,
however, that “Released Claims” is not intended to include, nor shall it have the effect of including,
Claims or Causes of Action unrelated to the Debtor; provided, further, that “Released Claims” is
not intended to release, nor shall it have the effect of releasing, any party from the performance of
its obligations in accordance with the Confirmation Order or the Plan, including, without
limitation, performance of obligations arising from or related to the New Bonds.

        195. “Released Party” means collectively, and in each case in its capacity as such:
(a) PREPA; (b) the Oversight Board; (c) AAFAF; (d) the Vitol Parties, solely with respect to the
Law 458 Action; (e) each Settling Bondholder that votes to accept the Plan; (f) the Fuel Line
Lender PSA Creditors; (g) National; and (h) with respect to each of the foregoing, each of their
respective current and former Related Persons.

       196. “Releasing Parties” means, collectively: (a) all Holders of Claims against the
Debtor or their Assets who were entitled to vote on the Plan and voted to accept the Plan; (b) such
Holders’ current and former Affiliates; and (c) with respect to the foregoing clauses (a) and (b),
each such Entity’s current and former Related Persons.

       197. “Remaining Claim” means, with respect to any Allowed Claim, the amount of such
Allowed Claim minus the total Cash and face amount of New Bonds, if any, such Holder has
received on account of such Allowed Claim, at the time the Remaining Claim is calculated.

        198. “Remaining Disallowed Non-Settling Claim” shall have the meaning given to it in
Article V.A(iv) of the Plan.




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        199. “Remaining Legacy Charge” means the fixed fee component of the Legacy Charge
in place as of the Effective Date, from and after the Series B Bond Defeasance Date, through the
CVI Maturity Date.

        200. “Remaining Legacy Charge Revenues” means, during the applicable period, the
portion, expressed in dollars, of all Revenues attributable to the Remaining Legacy Charge, as
calculated by Reorganized PREPA and certified by an officer thereof to the New Master Trustee.

      201. “Remaining Net Revenues” means the Net Revenues from and after the Series B
Bond Defeasance Date through the CVI Maturity Date.

        202. “Remaining Series B Bonds Claims Pool” means, at the time immediately following
the Mandatory New Bonds Distribution, the GUC New Bonds Initial Distribution, and the PREPA
PayGo New Bonds Distribution, the sum of (a) the Remaining Claims of the Settling Bondholders,
(b) the Remaining Claims of the Fuel Line Lenders, which shall be $112,141,934.97, and (c) the
Unsecured Claims Pool minus the GUC New Bonds Initial Distribution.

        203. “Reorganized Debtor” or “Reorganized PREPA” means PREPA, from and after the
Effective Date.

        204. “Reorganized Debtor By-Laws” means the by-laws of Reorganized PREPA, to the
extent applicable, from and after the Effective Date.

       205. “Required Fuel Line Lenders” means the Fuel Line Lenders that beneficially own
or control, in the aggregate, at least a majority in principal amount of the Fuel Line Loans
beneficially owned or controlled, in the aggregate, by the Fuel Line Lenders at such time.

        206. “Restructuring Transactions” means the Debtor’s restructuring, including, without
limitation, the transactions described in this Plan.

        207. “Retiree” means a person who, as reflected in the records of PREPA ERS as of the
Effective Date, receives a pension or annuity from PREPA ERS.

       208. “Revenues” means all moneys received by Reorganized PREPA, including the
income derived by Reorganized PREPA from the sale of electricity generated or distributed,
including, but not limited to, the Legacy Charge, any proceeds of use and occupancy insurance or
any part thereof, and income from investments made by Reorganized PREPA, and including, for
the avoidance of doubt, monies collected by LUMA Energy on Reorganized PREPA’s behalf;
provided, however, that all funds from any federal or Commonwealth government grants,
governmental appropriations, or government loans shall be deemed to not be Revenues for
purposes of this definition and the New Master Indenture.

       209. “Schedule of Assumed Contracts and Leases” means the schedule of Executory
Contracts and Unexpired Leases to be assumed by PREPA pursuant to the Plan, filed as part of the
Plan Supplement, as may be amended by PREPA from time to time prior to the Confirmation Date.

     210. “Section 103 Bond Counsel” means with respect to PREPA or Reorganized
PREPA, as the case may be, counsel providing services with respect to section 103 of the IRC.


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         211. “Section 510(b) Subordinated Claim” means any Claim, to the extent determined
pursuant to a Final Order, against the Debtor or its Assets arising from or relating to (a) rescission
of a purchase or sale of an existing security of the Debtor or an Affiliate of the Debtor, (b) purchase,
sale, or retention of such a security, or (c) reimbursement, indemnification, or contribution allowed
under section 502 of the Bankruptcy Code on account of such Claim.

        212. “Secured Claim” means a Claim: (a) secured by a valid Lien on any of the Debtor’s
assets to the extent of the value of such collateral, as determined in accordance with Bankruptcy
Code section 506(a); or (b) subject to a valid right of setoff pursuant to Bankruptcy Code section
553.

      213. “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as
amended, or any similar federal, state, or local law.

        214. “Series A Bond Defeasance Date” means the date on which the principal and
interest owed on the Series A Bonds (and any Refunding Bonds issued pursuant to the New Master
Indenture in order to refund any Series A Bonds) are irrevocably paid in full in Cash, or are
otherwise deemed not to be outstanding in accordance with the terms of the New Master Indenture.

        215. “Series A Bonds” means the series of New Bonds known as the Series A Bonds to
be distributed to the Holders of Allowed Fuel Line Loan Claims, with the principal terms as
described in Article XIX, and otherwise issued in accordance with the terms and conditions of the
Plan, the Confirmation Order, and the New Master Indenture.

        216. “Series B Bond Defeasance Date” means the date on which the principal and
interest owed on the Series B Bonds (and any Refunding Bonds issued pursuant to the New Master
Indenture in exchange for any Series B Bonds) are irrevocably paid in full in Cash, or are otherwise
deemed not to be outstanding in accordance with the terms of the New Master Indenture.

        217. “Series B Bonds” means the series of New Bonds known as the Series B Bonds,
consisting of the Series B-1 Bonds and Series B-2 Bonds, to be distributed pursuant to the Plan,
which may be issued in the form of current interest bonds, capital appreciation bonds, convertible
bonds, or convertible capital appreciation bonds, with the principal terms as described in Article
XIX, and otherwise issued in accordance with the terms and conditions of the Plan, the
Confirmation Order, and the New Master Indenture.

        218. “Series B-1 Bonds” means the series of New Bonds known as the Series B-1 Bonds
to be distributed pursuant to the Plan as current interest bonds, with the principal terms as described
in Article XIX, and otherwise issued in accordance with the terms and conditions of the Plan, the
Confirmation Order, and the New Master Indenture.

        219. “Series B-2 Bonds” means the series of New Bonds known as the Series B-2 Bonds
to be distributed pursuant to the Plan as convertible capital appreciation bonds, with the principal
terms as described in Article XIX, and otherwise issued in accordance with the terms and
conditions of the Plan, the Confirmation Order, and the New Master Indenture.




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      220. “Servicer” means the Entity that is a Qualified Operator that operates PREPA’s or
Reorganized PREPA’s transmission and distribution system and collects Revenues from time to
time.

        221. “Settlement Offer Deadline” means February 24, 2023, at 5:00 p.m. (Eastern
Standard Time), or such other date and time as determined by the Oversight Board in its sole
discretion.

        222. “Settling Bondholder” means a Holder of Uninsured PREPA Revenue Bonds that
is not a Monoline Insurer that timely submitted to the Solicitation Agent by the Settlement Offer
Deadline the Election of Settlement Class Signature Page issued to such Holder pursuant to the
Uninsured Bond Settlement Agreement.

        223. “Settling CVI” means CVI in the notional face amount equal to the sum of the
Remaining Claims of all Holders of PREPA Revenue Bonds Claims that are a Settling Bondholder
as calculated in Article IV.A(iv) of the Plan.

        224. “Sinking Fund” means the deposit account(s) held by the Bond Trustee which are
subject to a perfected security interest in favor of the Bond Trustee, for the benefit of the holders
of the PREPA Revenue Bonds.

       225. “Solicitation Agent” means Kroll Restructuring Administration LLC, the notice,
claims, and solicitation agent retained by PREPA in the Title III Case by order of the Title III
Court.

       226.    “Syncora” means Syncora Guarantee Inc.

       227.    “Title III” means Title III of PROMESA.

        228. “Title III Case” means the Title III case under PROMESA pending for PREPA in
the Title III Court, captioned as In re Financial Oversight & Management Board for Puerto Rico
as representative of Puerto Rico Electric Power Authority [Case No. 17-BK-4780-LTS (D.P.R.)].

       229. “Title III Court” means the United States District Court for the District of Puerto
Rico or such other court having jurisdiction over the Title III Case.

        230. “Treasury Rate” means, with respect to any redemption date for the CVI, the yield
to maturity of United States Treasury securities (excluding inflation indexed securities) with a
constant maturity (as compiled and published in the Federal Reserve Statistical Release H.15 (519)
that has become publicly available not less than two (2) Business Days nor more than forty-five
(45) calendar days prior to the redemption date (or, if such statistical release is no longer published,
any publicly available source of similar market data)), most nearly equal to the period from the
redemption date to the weighted average maturity date of equal annual installments of the
outstanding CVI to be redeemed, as determined by an independent accounting firm, investment
banking firm, or financial advisor retained by PREPA or the Commonwealth at PREPA’s or the
Commonwealth’s expense; provided, however, that if the period from the redemption date to such
maturity date is less than one (1) year, the weekly average yield on actually traded United States
Treasury securities adjusted to a constant maturity of one (1) year will be used.


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       231. “Trust Agreement” means that certain Trust Agreement dated as of January 1, 1974,
as amended, by and between PREPA and U.S. Bank National Association, as successor trustee.

       232. “UEPI CBA” means that certain collective bargaining agreement between the
Puerto Rico Electric Power Authority and the Union of Independent Professional Employees.

         233. “Unclaimed Distribution” means any distribution under the Plan on account of an
Allowed Claim to a Holder that has not: (a) accepted a particular distribution or, in the case of
distributions made by check, negotiated such check; (b) given notice to PREPA of an intent to
accept a particular distribution; (c) responded to PREPA’s requests for information necessary to
facilitate a particular distribution; or (d) taken any other action necessary to facilitate such
distribution.

        234. “Unexpired Lease” means a lease of nonresidential real property to which PREPA
is a party that is subject to assumption or rejection under Bankruptcy Code section 365, except as
provided in PROMESA section 311.

      235. “Unimpaired” is used to describe a Class of Claims that is unimpaired within the
meaning of Bankruptcy Code section 1124.

        236. “Uninsured Bond Settlement Agreement” means that certain settlement offer
memorandum and settlement agreement, made to all Holders of Uninsured PREPA Revenue Bond
Claims, describing the terms of the settlement offer being made to such Holders pursuant thereto,
including the proposed treatment of PREPA Revenue Bond Claims pursuant to Article IV of the
Plan, and distributing the Election of Settlement Class Signature Page, pursuant to which a Holder
of Uninsured PREPA Revenue Bonds may accept the proposed classification and settlement for
such Claim.

       237.   “Uninsured PREPA Revenue Bond” means a PREPA Revenue Bond that is not
insured by a Monoline Insurer.

       238.    “Unsecured Claims Pool” means the sum of all Allowed Claims of Holders of:

               (a)    the General Unsecured Claims;

               (b)    the Vitol Claim;

               (c)    the Deficiency Claims, if any; and

               (d)    the Federal Claims, if any, which may be Impaired in accordance with
                      Article XV of the Plan.

       239. “UTIER CBA” means that certain collective bargaining agreement between the
Puerto Rico Electric Power Authority and the Workers Union of the Electric Power and Irrigation
Industry.

       240.    “Vitol” means Vitol Inc.



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      241.     “Vitol Claim” means the Claim against PREPA on account of the Vitol Settlement
Agreement.

       242.    “Vitol Parties” mean, collectively, Vitol and Vitol S.A.

      243. “Vitol-SCC AP” means the action styled Special Claims Comm. v. Inspectorate
America Corp., Adv. Proc. No. 19-00388 in [Case No. 17-BK-4780-LTS].

       244. “Vitol Settlement Agreement” means that certain Settlement Agreement and Release
dated August 26, 2022, by and between the Oversight Board, Vitol, and Vitol S.A.

B.     Rules of Interpretation

         For purposes of the Plan: (a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine, or neuter gender shall include the masculine, feminine, and the neuter gender;
(b) unless otherwise specified, any reference herein to a contract, lease, instrument, release,
indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that such document shall be substantially in such form or substantially on such
terms and conditions; (c) unless otherwise specified, any reference herein to an existing document,
schedule, or exhibit, shall mean such document, schedule, or exhibit, as it may have been or may
be amended, modified, or supplemented; (d) unless otherwise specified, all references herein to
“Articles” and “Sections” are references to Articles and Sections, respectively, hereof or hereto;
(e) the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to any
particular portion of the Plan; (f) captions and headings to Articles and Sections are inserted for
convenience of reference only and are not intended to contradict the text; (g) unless otherwise
specified herein, the rules of construction set forth in Bankruptcy Code section 102 shall apply;
(h) references to docket numbers of documents filed in the Title III Case are references to the
docket numbers under the Title III Court’s CM/ECF system; (i) the words “include” and
“including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be
deemed to be followed by the words “without limitation;” (j) any immaterial effectuating
provisions may be interpreted by PREPA in such a manner that is consistent with the overall
purpose and intent of the Plan, all without further notice to or action, order, or approval of the
Title III Court or any other Entity; and (k) unless the context otherwise requires, any capitalized
term used and not defined herein or elsewhere in the Plan that is defined in PROMESA or the
Bankruptcy Code shall, if defined in PROMESA, have the meaning assigned to that term in
PROMESA or, if not defined in PROMESA, but defined in the Bankruptcy Code, shall have the
meaning ascribed thereto in the Bankruptcy Code.

C.     Computation of Time

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a
transaction may occur pursuant to the Plan shall occur on a day that is not a Business Day, then
such transaction shall instead occur on the next succeeding Business Day.

D.     Governing Law



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        Except to the extent that other federal law is applicable, or to the extent that an exhibit
hereto or any document to be entered into in connection herewith provides otherwise, the rights,
duties, and obligations arising under this Plan shall be governed by, and construed and enforced in
accordance with, PROMESA (including the provisions of the Bankruptcy Code made applicable
under PROMESA section 301) and, to the extent not inconsistent therewith, the laws of the
Commonwealth of Puerto Rico, without giving effect to principles of conflicts of laws.

E.     Reference to Monetary Figures

      All references in the Plan to monetary figures refer to currency of the United States of
America, unless otherwise expressly provided.

F.     Controlling Document

        In the event of an inconsistency between the Plan and the Disclosure Statement, the terms
of the Plan shall control in all respects. In the event of an inconsistency between the Plan and the
Plan Supplement, the Plan shall control. In the event of any inconsistency between the Plan and
the Confirmation Order, the Confirmation Order shall control and be deemed a modification of the
Plan; provided, however, that under no circumstances shall the Confirmation Order materially
modify the economic terms set forth herein absent consent of the Oversight Board.

G.     Consent Rights

        Notwithstanding anything herein to the contrary, any and all consent rights of the parties
to the Fuel Line Lender PSA set forth in the Fuel Line Lender PSA with respect to the form and
substance of (i) this Plan, (ii) all exhibits to the Plan, (iii) the Plan Supplement, and (iv) the
Definitive Documents, including any amendments, restatements, supplements, or other
modifications to such agreements and documents, and any consents, waivers, or other deviations
under or from any such documents, shall be incorporated herein by this reference (including to the
applicable definitions in Article I.A hereof) and be fully enforceable as if stated in full herein.

        Notwithstanding anything herein to the contrary, any and all consent rights of the parties
to the National PSA set forth in the National PSA, including with respect to the form and substance
of (i) this Plan, (ii) all exhibits to the Plan, (iii) the Plan Supplement, and (iv) the Definitive
Documents, including any amendments, restatements, supplements, or other modifications to such
agreements and documents, and any consents, waivers, or other deviations under or from any such
documents, shall be incorporated herein by this reference (including to the applicable definitions
in Article I.A hereof) and be fully enforceable as if stated in full herein.

                                          ARTICLE II

                   ADMINISTRATIVE AND PROFESSIONAL CLAIMS

       In accordance with Bankruptcy Code section 1123(a)(1), made applicable to this Title III
Case pursuant to PROMESA section 301(a), Administrative Expense Claims and Professional
Claims have not been classified as voting Classes.




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A.     Administrative Expense Claims

        On the later to occur of (i) the Effective Date and (ii) the date on which an Administrative
Expense Claim shall become an Allowed Claim, the Reorganized Debtor shall (a) pay to each
Holder of an Allowed Administrative Expense Claim, in Cash, the full amount of such
Administrative Expense Claim or (b) satisfy and discharge such Allowed Administrative Expense
Claim in accordance with such other terms no more favorable to the claimant than as may be
agreed upon by and between the Holder thereof and the Reorganized Debtor; provided, however,
that Allowed Administrative Expense Claims representing indebtedness incurred in the ordinary
course prior to the Effective Date by the Debtor shall be paid in full and performed by the
Reorganized Debtor in accordance with the terms and subject to the conditions of any agreement
governing, investment evidencing, or other document relating to, such transactions; and, provided,
further, that, if any such ordinary course expense is not billed, or a written request for payment is
not made, within one hundred twenty (120) days after the Effective Date, such ordinary course
expense shall be barred and the Holder thereof shall not be entitled to, or receive, a distribution
pursuant to the Plan.

B.     Disallowance of Claims Filed After the Administrative Claim Bar Date

         After the Administrative Claim Bar Date, any Administrative Expense Claim, proof of
which has not been filed, shall be deemed forever barred, and the Debtor and the Reorganized
Debtor shall have no obligation with respect thereto; provided, however, that no proof of
Administrative Expense Claim shall be required to be filed if such Administrative Expense Claim
(a) shall have been incurred (i) in accordance with an order of the Title III Court or (ii) with the
written consent of the applicable Government Parties expressly granting such Administrative
Expense Claim, (b) is a Professional Claim, (c) is an Administrative Expense Claim of the IRS for
the payment of taxes incurred by the Debtor during the period from and after the Petition Date, or
(d) is the subject of a pending motion seeking allowance of an administrative expense.

C.     Professional Compensation and Reimbursement Claims

        All Entities awarded compensation, including, without limitation, to the fullest extent
provided in respective letters of engagement or similar instruments or agreements, or
reimbursement of expenses by the Title III Court shall be paid in full, in Cash, in the amounts
allowed by the Title III Court (i) as soon as reasonably practicable following the later to occur of
(a) the Effective Date and (b) the date upon which the Title III Court order allowing such Claims
is deemed to be a Final Order or (ii) upon such other terms no more favorable to the claimant than
as may be mutually agreed upon between such claimant and the Government Parties; provided,
however, that, except as provided herein, each Professional must file its application for final
allowance of compensation for professional services rendered and reimbursement of expenses on
or prior to the date that is one hundred twenty (120) days following the Effective Date. The
Reorganized Debtor shall pay compensation for professional services extended and reimbursement
of expenses incurred after the Effective Date in the ordinary course and without the need for Title
III Court approval.

    From and after the Confirmation Date, any requirement that Professionals comply with
PROMESA sections 316 and 317 in seeking compensation for services rendered after such date


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shall terminate, and PREPA may employ and shall pay any Professional without any further notice
to or action, order, or approval of the Title III Court.

D.     Supporting Creditors’ Fees

       1.      Fuel Line Lenders

        On the Effective Date, each Fuel Line Lender PSA Creditor shall receive, in the form of
either additional Series A Bonds or Cash, in the Oversight Board’s sole discretion, and not on
account of their Allowed Claim, such Fuel Line Lenders PSA Creditors’ (i) Pro Rata Share of the
Fuel Line Lender PSA Creditors Consummation Fees in consideration for their assistance in
formulating the Plan and (ii) Pro Rata Share of the Fuel Line Lender PSA Creditors Professionals’
Reimbursement Fees to compensate for the reasonable fees and expenses incurred in connection
with the Title III Case and negotiating and executing the Fuel Line Lender PSA; provided, that ten
percent (10%) of the Fuel Line Lender PSA Creditors Professionals’ Reimbursement Fees shall be
allocated to the Fuel Line Lenders PSA Creditor of record as of the Agreement Effective Date (as
defined in the Fuel Line Lender PSA) under the Fuel Line Citibank Facility and ninety percent
(90%) of the Fuel Line Lender PSA Creditors Professionals’ Reimbursement Fees shall be
allocated to the Fuel Line Lender PSA Creditors (party to the Fuel Line Lender PSA as of the
Agreement Effective Date) under the Fuel Line Scotia Facility (and pro rata among such Fuel Line
Lender PSA Creditors). The Fuel Line Lender PSA Creditor Fees compensate the Fuel Line
Lender PSA Creditors for value received and constitute an essential component of the
compromises and settlements embodied herein and are not severable from the other terms and
provisions set forth herein.

        On the Effective Date, each Fuel Line Lender PSA Creditor shall also receive Series A
Bonds or Cash, in the sole discretion of the Oversight Board, in the face amount of interest at a
rate of six percent (6.0%) per annum deemed to have accrued on account of each Holder’s Pro
Rata Share of Series A Bonds to be distributed pursuant to the immediately preceding clause (i),
during a period equal to the shorter of (a) December 1, 2022 to the Effective Date, and (b) one (1)
year.

       2.      National

        On the Effective Date, National shall receive, in the form of an Allowed Administrative
Expense Claim and not on account of its Allowed Claims, Series B Bonds or Cash, as elected in
the Oversight Board’s sole discretion (which election shall be deemed to be Series B Bonds, unless
the Oversight Board elects otherwise at or prior to the commencement of the Confirmation
Hearing), in the aggregate face amount equal to the sum of (i) three percent (3.0%) times the
Allowed National Insured Bond Claims to compensate for the reasonable fees and expenses
incurred by National in connection with the Title III Case and negotiating and executing the
National PSA and prosecution of approval of the Disclosure Statement and Plan and (ii) two and
eighty-six one hundredths percent (2.86%) times the Allowed National Insured Bond Claims in
consideration for the structuring of payments to be made to holders of claims arising from or
relating to National Insured Bonds in accordance with the National PSA. The fees and costs in
this Article II.D.2 compensate National for value received and constitute an essential component




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of the compromises and settlements embodied herein and are not severable from the other terms
and provisions set forth herein.

                                              ARTICLE III

                                 CLASSIFICATION OF CLAIMS

A.        Classification of Claims

         Except for the Claims addressed in Article II of the Plan, all Claims are classified in the
Classes set forth below in accordance with Bankruptcy Code section 1122. A Claim is classified
in a particular Class only to the extent the Claim qualifies within the description of that Class and
is classified in other Classes to the extent any portion of the Claim qualifies within the description
of such other Classes. A Claim also is classified in a particular Class for the purpose of receiving
distributions under the Plan only to the extent such is an Allowed Claim in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

          Claims are classified as follows:

 Class                     Claim                         Status               Voting Rights

     1     Settling Bondholder Claims                   Impaired             Entitled to Vote

           Non-Settling Bondholder and Non-
     2                                                  Impaired             Entitled to Vote
           Settling Monoline Claims

     3     Pension Claim                                Impaired             Entitled to Vote

     4     Fuel Line Loan Claims                        Impaired             Entitled to Vote

     5     National Insured Bond Claims                 Impaired             Entitled to Vote

     6     National Reimbursement Claim                 Impaired             Entitled to Vote

     7     General Unsecured Claims                     Impaired             Entitled to Vote

     8     Vitol Claims                                 Impaired             Entitled to Vote

           Assured Insured Interest Rate Swaps
     9                                                  Impaired             Entitled to Vote
           Claims

                                                                           Not Entitled to Vote
     10    Ordinary Course Customer Claims             Unimpaired
                                                                           (Deemed to Accept)

           Eminent Domain/Inverse
     11                                                 Impaired             Entitled to Vote
           Condemnation Claims




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 Class                      Claim                       Status                Voting Rights

     12    Federal Claims                              Impaired              Entitled to Vote

                                                                           Not Entitled to Vote
     13    Convenience Claims                         Unimpaired
                                                                           (Deemed to Accept)

                                                                           Not Entitled to Vote
     14    Section 510(b) Subordinated Claims          Impaired
                                                                           (Deemed to Reject)

B.        Special Provision Governing Unimpaired Claims

         Except as otherwise provided in the Plan, nothing under the Plan shall affect PREPA’s
rights regarding any Unimpaired Claim, including all rights regarding legal and equitable defenses
to, or setoffs or recoupments against, any such Unimpaired Claim.

C.        Elimination of Vacant Classes

       Any Class of Claims that does not have a Holder of an Allowed Claim or a Claim
temporarily Allowed by the Title III Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for
purposes of determining acceptance or rejection of the Plan by such Class pursuant to Bankruptcy
Code section 1129(a)(8).

D.        Voting Classes; Presumed Acceptance by Non-Voting Classes

        An Impaired Class of Holders of Claims shall have accepted the Plan if the Plan is accepted
by at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of the Allowed
Claims of such Class that have voted to accept or reject the Plan. If a Class contains Claims eligible
to vote and no Holders of Claims eligible to vote in such Class vote to accept or reject the Plan,
that Class shall be deemed to accept the Plan; provided, however, such Class will not be used as
an Impaired accepting Class pursuant to Bankruptcy Code section 1129(a)(10).

E.        Subordinated Claims

        The allowance, classification, and treatment of all Allowed Claims and the respective
distributions and treatments under the Plan take into account and conform to the relative priority
and rights of the Claims in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable
subordination, Bankruptcy Code section 510(b), or otherwise. Pursuant to Bankruptcy Code
section 510, the Oversight Board reserves the right to re-classify any Allowed Claim in accordance
with any contractual, legal, or equitable subordination relating thereto.

F.        Confirmation Pursuant to PROMESA Section 314

        The Oversight Board shall seek Confirmation of the Plan pursuant to PROMESA
section 314 with respect to any rejecting Class of Claims. The Oversight Board reserves the right


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to modify the Plan in accordance with Article XVIII of the Plan to the extent, if any, that
Confirmation pursuant to PROMESA section 314 requires modification, including by modifying
the treatment applicable to a Class of Claims to render such Class of Claims Unimpaired to the
extent permitted by PROMESA, the Bankruptcy Code, and the Bankruptcy Rules.

G.      Confirmation Pursuant to Bankruptcy Code Section 1129(b)

        In the event that any Impaired Class of Claims shall fail to accept, or be deemed to reject,
the Plan in accordance with Bankruptcy Code section 1129(a), the Debtor reserves the right to
(i) request that the Bankruptcy Court confirm the Plan in accordance with Bankruptcy Code
section 1129(b) or (ii) amend the Plan (and any such amendment shall comply with the Fuel Line
Lender PSA and the National PSA).

                                          ARTICLE IV

                          PROVISIONS FOR TREATMENT OF
                      SETTLING BONDHOLDER CLAIMS (CLASS 1)

A.      Treatment of Class 1 Claims

       On the Effective Date, the PREPA Revenue Bond Claims of each Settling Bondholder shall
be deemed Allowed pursuant to the terms of the Uninsured Bond Settlement Agreement, and shall
receive, in full consideration, satisfaction, release, settlement, and exchange of such Holder’s
Allowed PREPA Revenue Bond Claim, up to the full amount of such Holder’s Allowed PREPA
Revenue Bond Claim, unless such Holder agrees to a less favorable treatment, in the following
order:

(i)     such Holder’s Pro Rata Share of the funds deposited in the Sinking Fund, subject to the
        terms of the Trust Agreement;

(ii)    Series B Bonds in the face amount equal to the product of (A) fifty percent (50.00%) times
        (B) the amount of such Holder’s Allowed PREPA Revenue Bond Claim minus (C) the
        amount distributed to such Holder pursuant to the immediately preceding clause (i);

(iii)   with respect to such Holder’s Remaining Claim after the collective distributions are made
        pursuant to the immediately preceding clauses (i) and (ii): (A) forty percent (40.0%) of
        such Holder’s Pro Rata Share of the Net Remaining New Bonds, if any, available for
        distribution to the Remaining Series B Bond Claims Pool; and (B) up to an additional sixty
        percent (60.0%) of such Holder’s Pro Rata Share of the Net Remaining New Bonds, if any,
        available for distribution to the Remaining Series B Bond Claims Pool, if and only if both
        (I) the face amount of the GUC New Bonds equals one hundred percent (100.0%) of the
        Unsecured Claims Pool and (II) the Remaining Claims of the Fuel Line Lenders described
        in Article VII.A(ii) of the Plan receive Net Remaining New Bonds in the face amount equal
        to one hundred percent (100.0%) of such Remaining Claims; and

(iv)    with respect to such Holder’s Remaining Claim, if any, after the collective distributions
        are made pursuant to the immediately preceding clauses (i), (ii), and (iii), such Holder’s



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        Pro Rata Share of CVI along with all other Creditors of PREPA entitled to receive CVI
        pursuant to the Plan.

                                           ARTICLE V

                        PROVISIONS FOR TREATMENT OF
                  NON-SETTLING BONDHOLDER OR NON-SETTLING
                          MONOLINE CLAIMS (CLASS 2)

A.      Treatment of Class 2 Claims

        On the Effective Date, each Non-Settling Bondholder or Non-Settling Monoline that is a
Holder of an Allowed PREPA Revenue Bond Claim shall receive, in full consideration,
satisfaction, release, and exchange of such Holder’s Allowed PREPA Revenue Bond Claim, up to
the full amount of such Holder’s Allowed Claim, unless such Holder agrees to a less favorable
treatment, in the following order:

(i)     such Holder’s Pro Rata Share of the amounts in the Sinking Fund, subject to the terms of
        the Trust Agreement;

(ii)    if the Court determines the Bond Trustee has an Allowed Secured Claim in connection
        with the Amended Lien & Recourse Challenge, the lesser of (A) such Holder’s Pro Rata
        Share of Series B Bonds in the face amount equal to the value of the Bond Collateral (as
        determined in connection with the Confirmation Hearing or any other appropriate
        proceeding), if any, minus the amount distributed to such Holder pursuant to the
        immediately preceding clause (i), and (B) such Holder’s Pro Rata Share of the Series B
        Bonds available after the distributions of Series B Bonds are made pursuant to Article
        IV.A(ii);

(iii)   with respect to such Holder’s Deficiency Claim that is a Remaining Claim, if any, after the
        collective distributions are made pursuant to the immediately preceding clauses (i) and (ii),
        such Holder’s Pro Rata Share of the General Unsecured Claim Recovery; and

(iv)    if the Non-Settling CVI Conditions are met, each Holder shall receive, based on the amount
        of principal and interest accrued and unpaid through the Petition Date with respect to such
        Holder’s PREPA Revenue Bonds minus the Cash distributions made to such Holder
        pursuant to the preceding clause (i) (the “Remaining Disallowed Non-Settling Claim”),
        such Holder’s Pro Rata Share of CVI along with all other Creditors of PREPA entitled to
        receive CVI pursuant to the Plan.

                                          ARTICLE VI

                            PROVISIONS FOR TREATMENT OF
                               PENSION CLAIM (CLASS 3)

A.      Treatment of Class 3 Claims




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        From and after the Effective Date, in full consideration, satisfaction, release, and exchange
of the Pension Claim held by PREPA ERS, Reorganized PREPA shall pay to the PREPA PayGo
Trust, for the benefit of PREPA ERS, the amounts described in Article XXVI.B, sufficient to
satisfy of Participants’ claims against PREPA ERS to the extent described in this Article VI.

       1.    Reimbursement of Benefit Payments by PREPA ERS to PREPA ERS
Participants

                a)      The PREPA PayGo Trust shall reimburse the PREPA ERS for retirement
benefits paid and reasonable administrative costs (as determined by PREB to be subject to payment
as part of the rate to be charged by PREPA to its customers) incurred in the prior Fiscal Year
ending June 30; provided, that benefit payments for which PREPA ERS is entitled to
reimbursement hereunder shall be limited to (i) benefits payable to any Participant who is a Retiree
as of the Effective Date, without any further cost of living adjustments from and after the Effective
Date, and (ii) benefits payable to Participants who are Active PREPA ERS Participants as of the
Effective Date, (A) with benefit accruals frozen as of the Effective Date in the manner set forth in
Schedule C hereto, and (B) not subject to any cost of living adjustments from and after the
Effective Date.

               b)      The contractual obligations of PREPA to PREPA ERS as of the Petition
Date, including, without limitation, the obligation to pay employer contributions sufficient to fund
benefits as set forth in the PREPA ERS Regulations, shall be rescinded or deemed rejected
pursuant to section 365(a) of the Bankruptcy Code, and, other than the obligations set forth in this
Article VI and Article XXVI.B, no further obligation of PREPA or Reorganized PREPA to PREPA
ERS shall arise in connection with such rejection.

       2.      Preemption

                All provisions of the Commonwealth Constitution, Commonwealth statutes,
executive orders, rules, regulations, and policies that create, require, or enforce employee pension
and other pension-related benefits that are modified and/or preserved in whole or in part herein, to
the extent inconsistent with the treatment of Allowed Pension Claim hereunder, including any
provisions that would prohibit the enrollment of Active PREPA ERS Participants and subsequently
hired employees of PREPA in the defined contribution plan for Commonwealth employees under
Act 106-2017 as set forth in Article XVIII, are preempted as inconsistent with PROMESA.

                                          ARTICLE VII

                            PROVISIONS FOR TREATMENT OF
                           FUEL LINE LOAN CLAIMS (CLASS 4)

A.     Treatment of Class 4 Claims

       On the Effective Date, each Holder of an Allowed Fuel Line Loan Claim shall receive,
unless such Holder agrees to a less favorable treatment, in full consideration, satisfaction,
settlement, release, and exchange of such Holder’s Allowed Fuel Line Loan Claim, up to the full
amount of such Holder’s Allowed Claim, in the following order:



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(i)    Series A Bonds in the face amount equal to eighty-four percent (84.0%) of the amount of
       such Holder’s Allowed Fuel Line Loan Claim; and

(ii)   with respect to such Holder’s Remaining Claim after the collective distributions are made
       pursuant to the preceding clause (i), such Holder’s Pro Rata Share of the Net Remaining
       New Bonds, if any, available for distribution to the Remaining Series B Bond Claims Pool.

                                         ARTICLE VIII

                         PROVISIONS FOR TREATMENT OF
                     NATIONAL INSURED BOND CLAIMS (CLASS 5)

A.     Treatment of Class 5 Claims

       Subject to the terms and provisions of Article XX hereof, on the Effective Date, the
National Insured Bond Claims shall be Allowed as set forth in Article XVIII.A herein, and shall
receive, in full consideration, satisfaction, release, settlement, and exchange of the Allowed
National Insured Bond Claims, unless National agrees to a less favorable treatment, Series B
Bonds in the face amount equal to seventy-one and sixty-five one hundredths percent (71.65%) of
the amount of the Allowed National Insured Bond Claims.

                                          ARTICLE IX

                         PROVISIONS FOR TREATMENT OF
                    NATIONAL REIMBURSEMENT CLAIM (CLASS 6)

A.     Treatment of Class 6 Claims

        Subject to the approval of the settlement of the National Reimbursement Claim as set forth
in Article XVIII.I of the Plan, on the Effective Date, National shall receive, in full consideration,
satisfaction, release, settlement, and exchange of the Allowed National Reimbursement Claim,
unless National agrees to a less favorable treatment, Series B Bonds in the face amount equal to
twenty percent (20.0%) of the amount of the National Reimbursement Claim. For the avoidance
of doubt, if the National Reimbursement Claim is Allowed, it shall not be subject to Article
XXVII.G.

                                           ARTICLE X

                          PROVISIONS FOR TREATMENT OF
                       GENERAL UNSECURED CLAIMS (CLASS 7)

A.     Treatment of Class 7 Claims

        On the Effective Date, each Holder of an Allowed General Unsecured Claim shall receive
in full consideration, satisfaction, release, and exchange of such Holder’s Allowed General
Unsecured Claim, such Holder’s Pro Rata Share of the General Unsecured Claim Recovery, up to
the full amount of such Holder’s Allowed Claim, unless such Holder agrees to a less favorable
treatment.


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B.     Election to be Treated as a Convenience Claim

       Notwithstanding the provisions of Article X.A of the Plan, any Holder of (i) an Allowed
General Unsecured Claim, other than a General Unsecured Claim that is a component of a larger
General Unsecured Claim, portions of which may be held by such or any other Holder of an
Allowed Claim, whose Allowed General Unsecured Claim is more than ten thousand dollars
($10,000), and who elects to reduce the amount of such Allowed General Unsecured Claim to ten
thousand dollars ($10,000) and (ii) multiple Allowed General Unsecured Claims that are greater
than twenty thousand dollars ($20,000) in the aggregate, and who elects to reduce the aggregate
amount of such Allowed General Unsecured Claims to twenty thousand dollars ($20.000) shall, at
such Holder’s option, be entitled to receive, based on such Allowed General Unsecured Claim as
so reduced, distributions pursuant to Article XVI hereof. Such election must be made on the Ballot
and be received by the Oversight Board on or prior to the Ballot Date. Any election made after
the Ballot Date shall not be binding upon PREPA unless the Ballot Date is expressly waived, in
writing, by the Oversight Board; provided, however, that, under no circumstances may such waiver
by the Oversight Board occur on or after the Effective Date.

                                         ARTICLE XI

                           PROVISIONS FOR TREATMENT OF
                               VITOL CLAIM (CLASS 8)

A.     Treatment of Class 8 Claims

       On the Effective Date, the Holder of the Allowed Vitol Claim shall receive in full
consideration, satisfaction, release, settlement, and exchange of such Holder’s Allowed Vitol
Claim, fifty percent (50.0%) of the Holder’s Pro Rata Share of the General Unsecured Claim
Recovery, up to the amount equal to fifty percent (50.0%) of such Holder’s Allowed Claim, unless
such Holder agrees to a less favorable treatment.

                                         ARTICLE XII

                     PROVISIONS FOR TREATMENT OF
          ASSURED INSURED INTEREST RATE SWAPS CLAIMS (CLASS 9)

A.     Treatment of Class 9 Claims

       On the Effective Date, each Holder of an Allowed Assured Insured Interest Rate Swaps
Claim shall receive in full consideration, satisfaction, release, and exchange of such Holder’s
Allowed Assured Insured Interest Rate Swaps Claim, such Holder’s Pro Rata Share of the Assured
Insured Interest Rate Swaps Claim Recovery, up to the full amount of such Holder’s Allowed
Claim, unless such Holder agrees to a less favorable treatment.




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                                          ARTICLE XIII

                       PROVISIONS FOR TREATMENT OF
                 ORDINARY COURSE CUSTOMER CLAIMS (CLASS 10)

A.     Treatment of Class 10 Claims

       On the Effective Date, each Holder of an Allowed Ordinary Course Customer Claim shall
receive in full consideration, satisfaction, release, and exchange of such Holder’s Allowed
Ordinary Course Customer Claim, satisfaction of such Holder’s Claim in the ordinary course of
business, including that PREPA and Reorganized PREPA, as applicable, may retain any customer
deposits in the ordinary course of business.

                                          ARTICLE XIV

                   PROVISIONS FOR TREATMENT OF
        EMINENT DOMAIN/INVERSE CONDEMNATION CLAIMS (CLASS 11)

A.     Treatment of Class 11 Claims

        From and after the Effective Date, (a) to the extent not modified prior thereto, the automatic
stay extant pursuant to section 362 of the Bankruptcy Code and the discharge injunction pursuant
to Article XXVII hereof shall be deemed modified in order to permit the Holder of an Eminent
Domain/Inverse Condemnation Claim to (i) liquidate such Eminent Domain/Inverse
Condemnation Claim in such Holder’s Eminent Domain Proceeding and (ii) cause the Clerk of the
Court of First Instance to distribute to such Holder the amount of monies on deposit with the Court
of First Instance with respect to the condemned property. Upon the occurrence of a Final Order
determining the validity and amount of just compensation attributable to an Eminent
Domain/Inverse Condemnation Claim, the Holder of an Allowed Eminent Domain/Inverse
Condemnation Claim shall be entitled to receive, in full consideration, satisfaction, release, and
exchange of such Holder’s unpaid balance of its Allowed Eminent Domain/Inverse Condemnation
Claim, such Holder’s Pro Rata Share of the General Unsecured Claim Recovery. If the Court
declines in the Confirmation Order to confirm the Plan due to such treatment, the treatment shall
automatically convert, without further action from the Debtor, such that such Holders will receive
100% of the unpaid balance of their Eminent Domain /Inverse Condemnation Claims unless such
Holder agrees to a less favorable treatment, unless (a) the Debtor appeals the Title III Court’s
denial of the Plan’s treatment of such Claims as General Unsecured Claims, (b) such appeal is
ultimately successful, and (c) a Final Order is entered holding that Allowed Eminent
Domain/Inverse Condemnation Claims may be Impaired.

                                          ARTICLE XV

                            PROVISIONS FOR TREATMENT OF
                              FEDERAL CLAIMS (CLASS 12)

A.     Treatment of Class 12 Claims




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        On the Effective Date, each Holder of an Allowed Federal Claim shall receive in full
consideration, satisfaction, release, and exchange of such Holder’s Allowed Federal Claim, the
greater of (i) such Holder’s Pro Rata Share of the General Unsecured Claim Recovery, up to the
full amount of such Holder’s Allowed Claim, and (ii) the treatment of such Allowed Federal
Claims as required by section 304(h) of PROMESA, unless such Holder agrees to a less favorable
treatment.

                                         ARTICLE XVI

                           PROVISIONS FOR TREATMENT OF
                           CONVENIENCE CLAIMS (CLASS 13)

A.     Treatment of Class 13 Claims

       On the later of the Effective Date and the date such Allowed Convenience Claim becomes
an Allowed Claim, or as soon thereafter as possible, the GUC Trustee shall pay to each Holder of
an Allowed Convenience Claim, in Cash, from Reorganized PREPA, the full amount of such
Allowed Convenience Claim, in full satisfaction, settlement, release, and discharge of, and in
exchange for such Allowed Convenience Claim, unless such Holder agrees to a less favorable
treatment.

                                        ARTICLE XVII

                        PROVISIONS FOR TREATMENT OF
                 SECTION 510(b) SUBORDINATED CLAIMS (CLASS 14)

A.     Treatment of Class 14 Claims

        Section 510(b) Subordinated Claims shall not receive a distribution pursuant to the Plan
and each Holder of an Allowed Section 510(b) Subordinated Claim shall be deemed to have
rejected the Plan with respect to such Section 510(b) Subordinated Claims.

                                        ARTICLE XVIII

                 PROVISIONS FOR IMPLEMENTATION OF THE PLAN

A.     Allowance of Claims

        For purposes of confirmation and consummation of the Plan and distributions to be made
hereunder, unless otherwise Allowed pursuant to an order of the Title III Court, on the Effective
Date: (a) the Fuel Line Loan Claims shall be deemed Allowed in the aggregate amount of
$700,887,093.58, and not subject to challenge, objection, or revocation; (b) the Vitol Claims shall
be deemed Allowed in the aggregate amount of $41,457,382.88; (c) the National Insured Bond
Claims shall be Allowed in the aggregate amount equal to $836,145,928.13; (d) subject to the
approval of the settlement between the Oversight Board and National with respect to the National
Reimbursement Claim, the National Reimbursement Claim shall be Allowed in the aggregate
amount equal to the payments made by National after the Petition Date and, as they may continue
to accrue up to, but not including, the Effective Date to holders of the National Insured Bonds on


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account of interest accrued on such bonds; (e) each PREPA Revenue Bond Claim held by a Settling
Bondholder shall be deemed Allowed in the aggregate amount equal to the principal amount of
the PREPA Revenue Bonds held by such Holder as of the Settlement Offer Deadline plus interest
accrued and unpaid on such PREPA Revenue Bonds through the Petition Date, which shall be in
the aggregate amount of $69,410,202.80; and (f) each Assured Insured Interest Rate Swaps Claim
shall be Allowed in an amount to be agreed upon between the Oversight Board and the Holder of
such Claim; provided, that, if no agreement can be reached on the amount of the Assured Insured
Interest Rate Swaps Claim to be Allowed, the Oversight Board and Holder of the Claim shall
submit such dispute to the Title III Court (or other Person or Entity upon mutual agreement of the
Oversight Board and Holder) to determine the amount of such Claim to be Allowed, which amount
shall be determined in accordance with applicable law.

B.     Releases, Injunction, and Exculpation

       The releases, injunctions, and exculpations provided in Article XXVII herein are integral
to obtaining the value provided hereunder and constitute an essential component of the
compromises reached and are not severable from the other provisions of this Plan.

C.     Dismissal of Fuel Line Lender Priority Action

         No later than ten (10) days after the Effective Date, the Fuel Line Lender PSA Creditors
shall file all appropriate notices, pleadings, and motions necessary to dismiss, with prejudice, the
Fuel Line Lender Priority Action.

D.     Effectuating Documents; Further Transactions

        On and after the Effective Date, PREPA, and the officers and members of the boards of
directors and managers thereof, are authorized to and shall issue, execute, deliver, file, or record
such contracts, securities, instruments, releases, and other agreements or documents and take such
actions necessary or appropriate to effectuate, implement, and further evidence the terms and
conditions of the Plan, and any other securities issued pursuant to the Plan in the name of and on
behalf of PREPA, notwithstanding any requirements of Commonwealth law, regulations, or
executive orders, and without the need for any approvals, authorizations, or consents except for
those expressly required under the Plan or otherwise required by PROMESA.

E.     Enrollment of Active PREPA ERS Participants in Act 106 Plan

        As of the Effective Date, new defined contribution accounts in the retirement plan
established for Commonwealth employees under Act 106-2017 will be established for all Active
PREPA ERS Participants (or at the sole discretion of the Oversight Board, other defined
contribution accounts that will be established by Reorganized PREPA on or as soon as practicable
after the Effective Date), with minimum employee contributions of eight and one-half percent
(8.5%) of their payroll in accordance with the contribution requirements of Act 106-2017. After
the Effective Date, newly hired employees of Reorganized PREPA will also participate in the same
defined contribution program. To the extent any provisions of Act 106-2017, Act 120-2018, or
Act 17-2019 are inconsistent with such enrollment, such provisions are hereby preempted.
AAFAF shall have consultation rights with respect to the enrollment of Active PREPA ERS



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Participants in the retirement plan established for Commonwealth employees under Act 106-2017
pursuant to this Article XVIII.E

F.     Legacy Charge

        On or prior to the Effective Date, the Legacy Charge shall be implemented by the
Reorganized Debtor or any qualified operator of the transmission and distribution system
(including LUMA Energy), and approved by PREB, as detailed in Schedule B hereto and required
by the New Master Indenture; provided, however, that, Reorganized PREPA and/or PREB, with
the approval of the Oversight Board while in existence, can modify the fixed fee and volumetric
charge that comprise the Legacy Charge in an economically neutral manner as set forth in the New
Master Indenture, in structure and amounts that do not delay or extend the respective expected
repayment date and expected weighted average life of the Series A Bonds and the Series B Bonds,
and otherwise that are reasonably acceptable to the Required Fuel Line Lenders, and which shall
not decrease the projected Revenues attributable to the Legacy Charge as of the date of the
amendment to the Legacy Charge (the “Amendment Test”). The Oversight Board as
representative of the Debtor and/or Reorganized Debtor is authorized to take all actions necessary
to enter into, implement, and enforce the Legacy Charge, and amendments thereto in accordance
with this Article XVIII.F.

        As required by the Plan, consistent with the PREPA Fiscal Plan, mandated by 11 U.S.C.
§ 1142(b) and the Confirmation Order, PREB shall approve and implement the Legacy Charge as
required by §§ 6.3(p) and (q) of Act 17-2019 and the New Master Indenture (subject to its right,
in accordance with the Amendment Test, to modify the fixed fee and volumetric charge that
comprise the Legacy Charge in a neutral economic manner), until the New Bonds, Refunding
Bonds (if any), and CVI are defeased in full or have expired in accordance with their terms and
shall refrain from taking any actions that will frustrate, diminish, or otherwise impair the value of
the Legacy Charge or PREPA’s ability to collect the Legacy Charge.

G.     PREPA Operational Restructuring

        Prior to, on, or as soon as practicable following the Effective Date, the Debtor and the
Reorganized Debtor, as applicable, shall be Operationally Restructured, including that PREPA
shall, as required by the Fiscal Plan and applicable law:

               (a)     take all necessary actions to (i) complete the competitive procurement
                       process for substantially all of PREPA’s generation assets and (ii) complete
                       ongoing efforts to transfer operation and maintenance of existing PREPA
                       generation assets to professional and independent private operators; and

               (b)     maintain operation and maintenance contracts with private operators for the
                       transmission and distribution system; provided, that such contracts will not
                       adversely impact the tax exemption on any outstanding Reorganized
                       PREPA tax-exempt New Bonds, Refunding Bonds, or Additional Bonds.




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H.     Purchase and Sale of the Administrative Expense Bonds

        On the Effective Date, in order to provide for payment of the Allowed Administrative
Expense Claims, the Commonwealth shall purchase, and Reorganized PREPA shall sell, assign,
transfer, and convey to the Commonwealth the Administrative Expense Bonds for Cash in an
aggregate purchase price equal to the sum of the Administrative Expense Bonds Amount.

I.     Settlement of the National Claims

        Pursuant to sections 105(a) and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule
9019, the provisions of the National Settlement shall constitute a good-faith compromise and
settlement among PREPA, the Oversight Board, and National of all Claims, Causes of Action,
interests, and controversies among such parties, including all potential Claims, Causes of Action,
interests, and controversies between PREPA, the Oversight Board, and National, and are in
consideration of the value provided to PREPA by National pursuant to the National Settlement.
The Plan shall be deemed a motion to approve the National Settlement as a good-faith compromise
and settlement of all of the Claims, interests, Causes of Action and controversies described in the
foregoing sentence pursuant to section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule
9019, and entry of the Confirmation Order shall constitute the Title III Court’s approval of the
National Settlement, as well as a finding by the Title III Court that the National Settlement is in
the best interests of PREPA, the Oversight Board, and Holders of Claims and is fair, equitable,
and reasonable.

        Pursuant to sections 105(a) and 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule
9019, the treatment of the National Reimbursement Claim as set forth in this Plan is expressly
conditioned upon the approval and effectiveness of the compromise and settlement between the
Oversight Board, on behalf of PREPA, and National, with respect the National Reimbursement
Claim, pursuant to which the National Reimbursement Claim is Allowed as set forth in Article
XVIII.A of the Plan and shall receive the treatment described in Article IX.A of the Plan. If the
Title III Court does not approve the settlement with National or determines the treatment of the
National Reimbursement Claim does not comply with PROMESA for reasons including, without
limitation, the Allowability and/or treatment of the National Reimbursement Claim, or the Title III
Court finds the treatment of the National Reimbursement Claim constitutes unfair discrimination,
the settlement and the treatment of National’s Claims shall, without further action, convert to a
settlement of National’s Claims that eliminates the obligation to issue Series B Bonds on account
of the National Reimbursement Claim and all payments for debt service arising from, relating to,
or on account of the National Reimbursement Claim; provided, that, in such circumstance,
National shall have the option to forego all consideration under the National PSA, including the
fees and expenses set forth in Article II.D.2, and, in exchange, receive the same treatment as
another settling Class of Holders of PREPA Revenue Bonds Claims, so long as the settlement with
such Class whose recovery National would receive was reached prior to the earlier to occur of
(i) any substantive ruling on the claims and counterclaims asserted in the Amended Lien &
Recourse Challenge that Holders of PREPA Revenue Bonds are secured by Revenues outside of
the Sinking Fund, and (ii) an indication or a determination, either oral or written, at a hearing or
otherwise, by the Title III Court that the Holders of PREPA Revenue Bonds are secured by
Revenues outside of the Sinking Fund.



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                                         ARTICLE XIX

     PROVISIONS REGARDING THE ISSUANCE AND DISTRIBUTION OF THE NEW
                                 BONDS

A.      Issuance and Distribution

        1.     New Bonds

        The New Bonds shall be issued pursuant to the terms and provisions of the New Master
Indenture and shall be distributed as set forth in the Plan. The definitive documentation governing
the New Bonds generally shall provide for the terms set forth herein, subject to the results of any
election permitted by the Plan and other adjustments permitted or required by the Plan.

        2.     CVI

       The CVI will be issued pursuant to the terms and provisions of the New Master Indenture
and shall be distributed as set forth in this Plan. The definitive documentation governing the CVI
generally shall provide for the terms set forth in the Plan.

B.      General Terms

        1.     New Bonds

        On the Effective Date, Reorganized PREPA shall issue two series of New Bonds: Series A
Bonds and Series B Bonds, which Series B Bonds shall consist of two subseries. The maturities,
interest rates, and amortization schedules for the New Bonds, assuming the maximum original
principal amount of New Bonds authorized to be issued pursuant to the Plan (approximately $5.68
billion) is issued, are attached hereto as Schedule E.

               a)      Series A Bonds

        Series A Bonds shall be issued in a principal amount sufficient to comply with the terms
of the Fuel Line Lender PSA and Article VII hereof, which shall be approximately $650,000,000.
They shall have a final stated maturity of fifteen (15) years from the Effective Date, which final
stated maturity date may be modified based on agreed upon covenants in the New Master Indenture
and relating to the Legacy Charge, which final stated maturity date shall be acceptable to the
Required Fuel Line Lenders, with an expected repayment of five (5) years from the Effective Date
and an expected weighted average life of 2.89 years from the Effective Date, in each case based
upon 2022 Fiscal Plan Projections. The Series A Bonds shall be issued on the Effective Date but
shall accrue interest from the deemed issuance date of December 1, 2022 for purposes of the
calculation of accrued interest; provided, however, the period for accrual of interest prior to the
Effective Date shall not exceed one (1) year and that the interest accrued prior to the Effective
Date shall be payable upon the Effective Date in the form of Series A Bonds or Cash, at the
Oversight Board’s sole discretion. From and after the stated maturity date, the Series A Bonds
shall no longer accrue interest, although principal and accrued but unpaid interest outstanding shall
continue to be paid. Series A Bonds shall bear interest at a rate of six percent (6.00%) per annum
payable semi-annually in Cash.


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               b)      Series B Bonds

        The Series B Bonds shall be issued in a principal amount equal to the aggregate principal
amount of New Bonds minus the aggregate principal amount of Series A Bonds. Series B Bonds
shall have a final stated maturity of fifty (50) years from the Effective Date, with an expected
repayment of thirty-five (35) years from the Effective Date based upon 2022 Fiscal Plan
Projections, which is subject to change based on load projections in subsequent PREPA Fiscal
Plans, as described further in the Disclosure Statement filed contemporaneously herewith. The
Series B Bonds shall be dated as of the Effective Date. The Series B Bonds shall bear interest at
rates that range from six percent (6.00%) per annum to six and seventy-five one-hundredths
percent (6.75%) per annum. From and after the stated maturity date, the Series B Bonds shall no
longer accrue interest, although principal outstanding shall continue to be paid.

        Series B Bonds shall be issued in two subseries: Series B-1 Bonds; and Series B-2 Bonds.
The Series B-1 Bonds will be current interest bonds and shall bear interest at a rate of six percent
(6.00%) per annum payable semi-annually, with an expected repayment of thirty-four (34) years
from the Effective Date and an expected weighted average life of 21.81 years from the Effective
Date, in each case based upon 2022 Fiscal Plan Projections.

       The Series B-1 Bonds have priority as to payments of principal over the Series B-2 Bonds.
The Series B-1 Bonds shall be issued in the principal amount of approximately $4.63 billion.

        The Series B-2 Bonds will be convertible capital appreciation bonds and shall bear interest
at a rate of six and seventy-five one-hundredths percent (6.75%) per annum, accreting annually
until July 1, 2028, at which point the Series B-2 Bonds shall convert to current interest bonds with
interest payable semi-annually, with an expected repayment of thirty-five (35) years from the
Effective Date, and expected weighted average life of 34.51 years from the Effective Date, in each
case based upon 2022 Fiscal Plan Projections. The Series B-2 Bonds shall be issued in an amount
equal to the Administrative Expense Bonds Amount with a maturity value of approximately
$557,000,000 (with an assumed Effective Date of July 1, 2023 and an original principal value of
approximately $400,000,000).

       2.      CVI

         On the Effective Date, Reorganized PREPA shall issue the CVI in the amount of the CVI
Notional Amount with a zero percent (0.00%) coupon and a final maturity date of the CVI Maturity
Date. Payments shall be made on the CVI only after the Series B Bond Defeasance Date has
occurred, so long as the Series B Bond Defeasance Date occurs prior to the CVI Maturity Date. If
the Series B Bond Defeasance Date occurs prior to the CVI Maturity Date, the CVI shall be payable
from that portion of Net Revenues constituting the Remaining Legacy Charge Revenues deposited
to the credit of the Debt Service Fund in accordance with the Payment Waterfall until the earlier
of (a) the date on which the CVI Notional Amount has been paid in full and (b) the CVI Maturity
Date.

        On the CVI Maturity Date, any amount of principal outstanding on account of the CVI
shall no longer be due and payable.




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      The CVI shall not carry any default rate of interest.          The CVI will be issued in
denominations to be specified in the New Master Indenture.

C.     Excess New Bonds

        On the Effective Date, Reorganized PREPA shall, in its sole discretion, issue some, all, or
none of the Excess New Bonds to the PREPA PayGo Trust. Any amount of Excess New Bonds
that are available for distribution to the PREPA PayGo Trust, but that Reorganized PREPA
determines to not issue to the PREPA PayGo Trust, shall be deemed to have not been issued, and
the amount of New Bonds issued pursuant to the Plan shall be reduced on dollar-for-dollars basis
by the aggregate principal amount of such unissued Excess New Bonds.

D.     Payment Provisions

        Interest on the New Bonds shall be paid on the next January 1 or July 1 date following the
Effective Date and each January 1 and July 1 thereafter until the earlier of the New Bonds (a) the
respective stated maturity dates of the New Bonds or (b) their payment or satisfaction in full in
accordance with their respective terms.

        All unpaid principal on the New Bonds not paid when due, whether at or prior to final
scheduled maturity date, shall remain outstanding and due and payable until paid in full. Interest
shall not accrue on any outstanding obligations under the New Bonds after the New Bonds’
respective stated maturity dates; only unpaid principal and unpaid interest accrued through the
stated maturity shall be payable following the respective final stated maturity dates. Interest on
the New Bonds will be computed on the basis of a 360-day year consisting of twelve 30-day
months. The New Bonds shall not carry any default rate of interest.

E.     Security

       1.      New Bonds

        The New Bonds shall be secured by Reorganized PREPA’s Net Revenues up to an amount
equal to the Legacy Charge Revenues and the right to receive such Net Revenues up to an amount
equal to the Legacy Charge Revenues, as more particularly described in the New Master Indenture.
For the avoidance of doubt, (i) the New Bonds shall not have a priority of payment senior to that
of the Additional Bonds, provided, however, that the Revenues securing any Additional Bonds
exclude during the applicable periods an amount up to the Legacy Charge Revenues and
Remaining Legacy Charge Revenues, as applicable, and (ii) the Lien securing the New Bonds is
not limited to the Net Revenues deposited in the Debt Service Fund.

       2.      CVI

        The CVI shall be secured by Reorganized PREPA’s Remaining Net Revenues up to an
amount equal to the Remaining Legacy Charge Revenues and the right to receive such Remaining
Net Revenues up to an amount equal to the Remaining Legacy Charge Revenues, as more
particularly described in the New Master Indenture.

       3.      Additional Bonds


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       Reorganized PREPA may issue Additional Bonds payable from Revenues and the right to
receive such Revenues. For the avoidance of doubt, the New Bonds shall not have a priority of
payment senior to that of the Additional Bonds; provided, however, that the Revenues securing
any Additional Bonds exclude during the applicable periods an amount up to the exclude during
the applicable periods up to an amount Legacy Charge Revenues and Remaining Legacy Charge
Revenues, as applicable. The Additional Bonds shall be subject to an additional bonds test, which
shall be reasonably acceptable to the Oversight Board, the Required Fuel Line Lenders, and
National, and documented in the New Master Indenture.

F.     Call Provisions

       1.      New Bonds

        The New Bonds are subject to redemption prior to maturity, at the election or direction of
Reorganized PREPA, in whole or in part (and, if in part, in an authorized denomination provided
for under the New Master Indenture), on any date that is on or after ten (10) years following the
Effective Date, upon thirty (30) days’ prior written notice, at a redemption price equal to the
principal amount thereof, plus accrued interest to the redemption date.

        If less than all the New Bonds of a particular series are called for redemption prior to
maturity, Reorganized PREPA will select the maturity or maturities of such series of the New
Bonds to be redeemed, and DTC, on behalf of the New Master Trustee, will select the New Bonds
within the same maturity of such series to be redeemed by means of a random lottery.

       2.      CVI

        The CVI is subject to redemption prior to maturity, at the election or direction of
Reorganized PREPA, in whole or in part (and, if in part, in an authorized denomination provided
for under the New Master Indenture), on any date that is on or after ten (10) years following the
Effective Date, upon thirty (30) days’ prior written notice. The redemption price shall be equal to
the CVI Redemption Price.

G.     Accounts and Payment Waterfall

         All Revenues shall be deposited in the “General Fund” held by Reorganized PREPA. On
the first Business Day of each month, Reorganized PREPA shall apply or transfer, as applicable,
Revenues in the amounts and in the order of priority set forth in the New Master Indenture (the
“Payment Waterfall”); provided, that the Payment Waterfall set forth in the New Master Indenture
shall provide that Revenues will be (i) first, applied by Reorganized PREPA to the payment of
Operating Expenses, (ii) second, transferred by Reorganized PREPA to the New Master Trustee
for the payment of the New Master Trustee’s fees and expenses not to exceed one hundred
thousand dollars ($100,000) per year, and (iii) third, transferred to the New Master Trustee for
deposit to the credit of the Debt Service Fund in an amount sufficient to pay debt service on all
outstanding New Bonds, up to the amount of the Legacy Charge Revenues and, from and after the
Series B Bond Defeasance Date and until the CVI Maturity Date, up to the amount of the
Remaining Legacy Charge Revenues. Any amounts remaining after such transfers and deposits
will be used by Reorganized PREPA as set forth in the New Master Indenture.



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        For the avoidance of doubt, (i) the New Bonds shall not have a priority of payment senior
to that of the Additional Bonds; provided, however, that the Revenues securing any Additional
Bonds exclude during the applicable periods an amount up to the Legacy Charge Revenues and
Remaining Legacy Charge Revenues, as applicable, and (ii) the Payment Waterfall in the New
Master Indenture will reflect the application and transfer of Revenues pledged to the payment of
debt service on Additional Bonds.

H.     Key Covenants for New Bonds

       The Definitive Documents, including the New Master Indenture and the Confirmation
Order, shall contain customary terms, conditions, and covenants, including, without limitation,
covenants by Reorganized PREPA that it shall, among other things:

       1.      make reasonable best efforts to (a) continue to levy and collect rates, fees, and
charges, including, but not limited to, the Legacy Charge and the Remaining Legacy Charge and
(b) deposit Net Revenues collected from such rates, fees, and charges into the Debt Service Fund
in accordance with the Payment Waterfall;

       2.     take no action that would (a) limit or alter the rights vested in PREPA or
Reorganized PREPA in accordance with the Plan and the Confirmation Order to fulfill the terms
of any agreements with the holders of the New Bonds or the CVI or (b) limit or impair the rights
and remedies of the holders of the New Bonds or the CVI;

       3.      take all reasonable actions to cause the Series A Bonds and Series B Bonds to be
tax-exempt to the extent permitted by law (including seeking any appropriate no-action, clearance
determination, or favorable ruling from the IRS);

       4.      do and perform all acts and things permitted by law and reasonably necessary or
desirable to ensure that interest paid to holders of any federally tax-exempt New Bonds shall be
and remain excludable from gross income for federal income tax purposes;

       5.     not create any Lien, pledge, or charge on the Net Revenues up to the amount of the
Legacy Charge Revenues, or right to receive the same, except in connection with issuance of
Additional Bonds as permitted under the New Master Indenture; and

       6.      not issue any Series A Bonds to any parties other than to be issued pursuant to this
Plan and the Fuel Line Lender PSA.

I.     Application of Moneys in Debt Service Fund

        From and after the Effective Date, until the New Bonds, Refunding Bonds, and/or CVI
have been paid, satisfied in full in accordance with their terms, or otherwise no longer deemed to
be outstanding under the New Master Indenture, Reorganized PREPA shall deposit, in accordance
with the Payment Waterfall, Net Revenues up to the amount of the Legacy Charge Revenues with
respect to the New Bonds and up to the amount of the Remaining Legacy Charge Revenues with
respect to the CVI to the credit of the Debt Service Fund.




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        The monies deposited into the Debt Service Fund shall be applied, to the extent available,
as follows:

       1.       New Bonds

            -   First, to the payment of stated interest due and payable on the New Bonds;
            -   Second, to the payment of principal on the Series A Bonds and any Refunding
                Bonds issued to refund the Series A Bonds until irrevocably paid in full in Cash or
                otherwise deemed not to be outstanding in accordance with the terms of the New
                Master Indenture; and
            -   Third, to the payment of principal on the Series B Bonds and any Refunding Bonds
                (other than the Refunding Bonds described in Second above) until irrevocably paid
                in full in Cash or otherwise deemed not to be outstanding in accordance with the
                terms of the New Master Indenture.
       2.       CVI

            -   Then, to the payment of the CVI Notional Amount.
J.     Interest Rate Covenant

        Until the earlier of repayment of the Series A Bonds and the Series B Bonds or the final
maturity of the Series A Bonds and the Series B Bonds, if, in any given year, the Net Revenues up
to the amount of the Legacy Charge Revenues deposited in the Debt Service Fund are insufficient
to pay the interest due and owing on the New Bonds in that Fiscal Year, Reorganized PREPA shall
(and absent Reorganized PREPA’s action, the New Master Trustee shall) (a) exercise its powers
to the fullest extent of the law to implement an increase in the Legacy Charge sufficient to repay
such interest due and payable on the New Bonds in the succeeding Fiscal Year and/or (b) initiate
a rate case before PREB or any other proceeding to compel PREB to implement an increase in the
Legacy Charge sufficient to pay such interest due and payable on the New Bonds in the succeeding
Fiscal Year (the “Interest Rate Covenant”). The New Master Trustee shall have the right to compel
specific performance of the Interest Rate Covenant.

K.     No Rights of Acceleration

       The New Bonds and the CVI shall not be subject to acceleration other than an acceleration
of the New Bonds in connection with an insolvency proceeding (including under Title III of
PROMESA).

L.     Limited Default

       1.       New Bonds

        There shall be no event of default on the New Bonds (prior to the stated final maturity date
of the Series A Bonds, solely with respect to the Series A Bonds, and generally with respect to the
Series B Bonds) for failure to pay scheduled debt service, so long as Reorganized PREPA (a)
charges and employs its reasonable best efforts to (i) levy the Legacy Charge, (ii) collect the
Revenues generated by the Legacy Charge, and (iii) deposit the full amount of Net Revenues up


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to the amount of the Legacy Charge Revenues into the Debt Service Fund after providing for
distributions made in accordance with the Payment Waterfall, and (b) complies with the Interest
Rate Covenant.

       2.      CVI

         There shall be no event of default on the CVI so long as Reorganized PREPA takes
reasonable actions to collect Revenues generated by the Remaining Legacy Charge and deposits
the full amount of Net Revenues up to the amount of the Remaining Legacy Charge Revenues into
the Debt Service Fund.

M.     Limited Remedies

        Upon the occurrence of an event of default on the New Bonds or the CVI, the New Master
Trustee’s sole remedies shall be to: (a) seek enforcement of Reorganized PREPA’s obligation to
take reasonable measures to levy rates, fees, and charges, including, but not limited to, the Legacy
Charge and the Remaining Legacy Charge and collect Revenues generated by the Legacy Charge
and Remaining Legacy Charge and deposit Net Revenues up to the amount of the Legacy Charge
Revenues with respect to the New Bonds and up to the amount of the Remaining Legacy Charge
Revenues with respect to the CVI into the Debt Service Fund in accordance with the Payment
Waterfall; and/or (b) prior to the Series A Bond Defeasance Date or the earlier of the Series B
Bond Defeasance Date or Series B Bonds final maturity, as applicable, at the request of twenty-
five percent (25.0%) or more of the Series A Bonds or the Series B Bonds, as applicable, enforce
the Interest Rate Covenant. All provisions of the Commonwealth Constitution, Commonwealth
statutes, executive orders, rules, regulations, and policies that provide the “Right to Receivership
Upon Default,” codified at 22 L.P.R.A. § 207, are preempted as inconsistent with PROMESA. For
the avoidance of doubt, the Lien securing the New Bonds is not limited to the Net Revenues
deposited in the Debt Service Fund.

N.     Additional Bonds and Refunding Bonds

        Reorganized PREPA may issue Refunding Bonds to refund, refinance, or defease
outstanding New Bonds authorized under the New Master Indenture. Such Refunding Bonds shall
be secured by Net Revenues up to the amount of the Legacy Charge Revenues as more specifically
set forth in the New Master Indenture.

       Reorganized PREPA may issue Additional Bonds for any lawful purpose in accordance
with the additional bonds test and the other terms of the New Master Indenture. Such Additional
Bonds may be secured by Revenues as more specifically set forth in the New Master Indenture;
provided, that the Revenues securing any such Additional Bonds exclude during the applicable
periods an amount up to Legacy Charge Revenues and Remaining Legacy Charge Revenues, as
applicable, while the New Bonds, any Refunding Bonds, or the CVI remain outstanding. For the
avoidance of doubt, the New Bonds shall not have a priority of payment senior to that of the
Additional Bonds; provided, however, that the Revenues securing any Additional Bonds exclude




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during the applicable periods an amount up to the Legacy Charge Revenues and Remaining Legacy
Charge Revenues, as applicable.

O.      Force Majeure

        1.      New Bonds

        In the event of a federally-declared disaster as a result of a storm or other catastrophic event
that disrupts Reorganized PREPA’s operations such that Reorganized PREPA cannot collect
Revenues necessary to cover Operating Expenses and deposit Net Revenues up to the amount of
the Legacy Charge Revenues with respect to the New Bonds in accordance with the Payment
Waterfall for a given Fiscal Year, Reorganized PREPA may elect, in its sole discretion, to defer up
to two (2) consecutive semi-annual debt service payments.

        For the avoidance of doubt, if Reorganized PREPA exercises such election, interest on the
New Bonds will continue to accrue until paid. All deferred principal and interest on Series A
Bonds impacted by such election shall be paid on or before the earlier of Series A Bonds final
stated maturity date or the first scheduled payment date five (5) years after the end of the debt
service deferral period. All deferred principal and interest on Series B Bonds impacted by such
election shall be paid on or before the first scheduled payment date five (5) years after the end of
the debt service deferral period. For the avoidance of doubt, the interest on the New Bonds that is
deferred as a result of the force majeure election shall keep accruing even after the stated maturity
of the Series B Bonds.

        2.      CVI

        In the event of a federally-declared disaster as a result of a storm or other catastrophic event
that disrupts Reorganized PREPA’s operations such that Reorganized PREPA cannot collect
Revenues necessary to cover Operating Expenses and deposit Remaining Net Revenues up to the
amount of the Remaining Legacy Charge Revenues with respect to the CVI into the Debt Service
Fund in accordance with the Payment Waterfall for a given Fiscal Year, Reorganized PREPA shall
be under no obligation to make CVI payments for any shortfalls in Remaining Legacy Charge
Revenues.

P.      Direct Right of Action

        Pursuant to the New Master Indenture, and subject to such additional rights as provided
therein, the New Master Trustee shall have a direct right of action to enforce the terms of the New
Master Indenture, including, without limitation, with respect to funding deposits in the Debt
Service Fund and seeking specific performance remedies for any breach of covenants in the New
Master Indenture.

Q.      New Master Indenture

         Provisions requiring the Legacy Charge to be added to bills issued by Reorganized PREPA
to its customers to pay principal and interest on the New Bonds, make payments on the CVI, and
governing, among other things, amendments of or supplements to the New Bonds, the CVI, or the
New Master Indenture, events of default, remedies, priority of payments after default under the


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New Master Indenture, and defeasance under the New Master Indenture will be set forth in the
New Master Indenture. The New Master Indenture will be executed and delivered on or prior to
the Effective Date.

R.     Governing Law

        The New Master Indenture, and the New Bonds and CVI issued thereunder, as applicable,
will be governed by the laws of the State of New York and, for certain limited matters, the laws of
the Commonwealth, without giving effect to principles of conflicts of law.

S.     Tax Exemption of the New Bonds

        In the event that the Government Parties obtain a ruling from the IRS (the “Determination”)
that certain features of the New Bonds will not prevent the issuance of all of the New Bonds on
the Effective Date as tax-exempt obligations, any Holders of Claims or Entities receiving New
Bonds pursuant to the Plan shall receive the benefit of such Determination in the form of tax-
exempt New Bonds issued pursuant to the Plan with coupons for all maturities equal to the coupons
on the tax-exempt New Bonds as set forth herein; provided, however, that such New Bonds shall
be accompanied by the favorable opinion of Section 103 Bond Counsel that the interest, other than
pre-issuance accrued interest, on such New Bonds is, in such counsel’s opinion, excluded from
gross income for purposes of U.S. federal income tax, Commonwealth income tax, and U.S. state
and local income tax; provided, further, however, that, in the event that the Determination is
obtained subsequent to the Effective Date, then the holders of the taxable New Bonds affected by
such Determination (the “Invited Bonds”) shall be invited to exchange such bonds for converted
bonds (the “Exchange Offer”) and, subject to the application of all reasonable expenses incurred
by the Government Parties in connection with such Exchange Offer, the interest rate on the
converted bonds shall be the same as the interest on Invited Bonds of the same type, interest rate,
series and maturity; and, provided, further, that, such converted bonds shall be accompanied by
the favorable opinion of Section 103 Bond Counsel that the interest, other than pre-issuance
accrued interest, on such converted bonds, and on the Invited Bonds exchanged for such converted
bonds from the original date of delivery of such Invited Bonds so exchanged, is, in such counsel’s
opinion, excluded from gross income for purposes of U.S. federal income tax, Commonwealth
income tax, and U.S. state and local income tax; and, provided, further, that, in the event that
neither of the foregoing Determinations are obtained, the covenants to seek such Determinations
shall terminate upon the earliest to occur of (1) within forty-five (45) days of the entry of the
Confirmation Order, (2) notification by the IRS to the Commonwealth that IRS is unable to issue
a favorable private letter ruling, closing agreement, or other type of IRS Determination with respect
to the matters addressed by this subsection, and (3) the amendment of the New Master Indenture
following receipt of a favorable Determination and consummation of an Exchange Offer.

T.     CVIs Not Tax Exempt

       Any income received on account of the CVIs shall not be excluded from gross income for
purposes of U.S. federal income tax, Commonwealth income tax, and U.S. state and local income
tax.




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                                           ARTICLE XX

  PROVISIONS REGARDING NATIONAL INSURED BONDS AND TREATMENT OF
                  NATIONAL INSURED BOND CLAIMS

        In the event that Classes 5 and 6 vote to accept the Plan in accordance with section 1126
of the Bankruptcy Code, and all National Insurance Policies and related agreements related to
National Insured Bonds are in full force and effect, or have otherwise been fully performed by
National, with no outstanding payment defaults by National with respect to such National Insured
Bonds up to and including the Effective Date, then, notwithstanding any other provision of the
Plan, on the Effective Date, Holders of Allowed National Insured Bond Claims shall receive the
following treatments, which treatments shall be selected by National, in its sole and absolute
discretion, at or prior to the Plan Supplement Deadline and be set forth on the National Bondholder
Election Form; provided, however, that, for the avoidance of doubt, National Insured Bonds owned
or held by National (by subrogation or otherwise) shall not be subject to the treatment elections
set forth in this Article XX and, subject to the rights of the Bond Trustee, National shall receive
the National Plan Consideration on account of such bonds; and, provided, further, that, subject to
providing Holders of Allowed National Insured Bond Claims with the treatment or elections set
forth in this Article XX and satisfying all such treatment or elections, National shall have all right,
title, and interest in the National Plan Consideration and shall manage the National Plan
Consideration in its sole and absolute discretion subject to and in accordance with all applicable
laws and regulations; and, provided, further, that any calculations and/or payments to be made to
a Holder based on, or in relation to, such Holder’s Allowed National Insured Bond Claim pursuant
to the options set forth in this Article XX will take into account any payments of principal and/or
accrued interest already made to such Holder by National pursuant to the terms of the relevant
National Insurance Policies, and such Holder shall not be compensated for any amounts already
paid to such Holder pursuant to the terms of the relevant National Insurance Policies.

A.     National Commutation Treatment of National Insured Bond Claims

        Each Holder of an Allowed National Insured Bond Claim shall have the option to elect on
the National Bondholder Election Form to receive, on the Effective Date, the National
Commutation Consideration, distributable by or at the direction of National, and, if elected, (i) the
Holder thereof shall have no other or further rights under or with respect to the applicable National
Insurance Policy or any National Trust or National Escrow Account, (ii) the Holder thereof shall
not receive any payments from National under the National Insurance Policies on account of
accrued and unpaid interest on and after, or, in the case of any capital appreciation bonds, the
accreted value on and after, the Effective Date, and to the extent any accrued or accreted interest
is paid to such Holder by National after such date, such amount shall be credited against the
consideration such Holder, their successors, transferees, or assigns are otherwise entitled to receive
as National Commutation Consideration, and (iii) National shall receive the National Plan
Consideration distributable on account of the applicable Allowed National Insured Bond Claim.
The National Insured Bonds of a Holder that timely and validly elects to receive the National
Commutation Treatment or makes an improper election as described in Article XX.F hereof, shall
be deemed cancelled on the Effective Date, and National’s obligations under the applicable
National Insurance Policies shall be fully and finally satisfied, released, and discharged.



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B.     National Non-Commutation Treatment of National Insured Bond Claims

        In the event that a Holder of an National Insured Bond Claim timely and validly elects on
the National Bondholder Election Form to receive the National Non-Commutation Treatment in
accordance with the provisions of Article XX.B and Article XX.F hereof, (i) National shall receive
the National Plan Consideration distributable on account of the applicable Allowed National
Insured Bond Claim, and (ii) such Holder shall receive one or more of the following treatments, at
National’s election, which election shall be exercised by National in its sole discretion at or prior
to the Plan Supplement Deadline, and as detailed in the National Bondholder Election Form.

       1.      Custodial Trusts

        Such Holder of an National Insured Bond Claim shall (A) deposit, or be deemed to have
deposited, among other things, such Holder’s Pro Rata Share of the National Trust Consideration,
the National Insured Bonds allocable to such electing Holder, and the related National Insurance
Policies into the applicable National Trust, (B) be deemed to have received its Pro Rata Share of
the National Trust Consideration and National Certificates in consideration therefor, and (C) have
no recourse to National or the National Insurance Policies other than as provided for under the
terms of the National Trust.

       2.      Escrow

        Such Holder of a National Insured Bond Claim shall deposit, or be deemed to have
deposited, among other things, such holder’s Pro Rata Share of the National Escrow Consideration
in the National Escrow Account and such deposited National Escrow Consideration shall be held
as security for National’s obligations to the Holders of the National Insured Bonds whose National
Escrow Consideration was deposited in the National Escrow Account under the National Insurance
Policies.

       3.      Payment of Accelerated Amounts

        National shall receive the National Plan Consideration that would be otherwise allocable
to such Holder of an Allowed National Insured Bond Claim and National shall fully and
completely discharge its obligation to such Holder of an Allowed National Insured Bond Claim by
paying on the Effective Date, in Cash, the amount thereof at the National Acceleration Price as of
the date of payment.

       4.      Alternative Treatment

       The Oversight Board and National reserve the right to formulate an alternative election or
implementation option with respect to the National Insured Bonds that is mutually acceptable to
the Oversight Board and National, each in their respective sole discretion; provided, however, that
any such alternative election or implementation option must be proposed, in writing, prior to the
Plan Supplement Deadline. Notwithstanding the foregoing, and for the avoidance of doubt,
National may make different elections, with respect to different CUSIPs and different holders of
National Insured Bonds.




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C.     Acceleration of National Insured Bonds

        Notwithstanding any other provision of the Plan, to the extent that there are no outstanding
payment defaults by National with respect to National Insured Bonds up to and including the
Effective Date, the payment of the principal of the National Insured Bonds shall be accelerated as
of the Effective Date, and such National Insured Bonds shall be due and payable from and after
the Effective Date at the National Acceleration Price of one hundred percent (100%) of the
principal amount thereof plus interest accrued thereon (or, in the case of any capital appreciation
bonds, the compounded amount thereof) to the date of payment. National shall have the right to
pay the National Acceleration Price with respect to the National Insured Bonds at any time, and
the Holder of the National Insured Bonds and the trustee or fiscal agent (as applicable) shall be
required to accept the same in satisfaction of National’s obligations under the applicable National
Insurance Policy with respect to such bonds, and, upon such payment, National’s obligations under
the applicable National Insurance Policy shall be fully satisfied and extinguished, notwithstanding
any provision of the applicable National Insurance Policy or other documents related to the
National Insured Bonds. For the avoidance of doubt, notwithstanding such acceleration, there
shall be no acceleration of any payment required to be made under any National Insurance Policy
unless National elects, in its sole and absolute discretion, to make such payment(s) on an
accelerated basis.

D.     Assignment of Redemption Rights

        Notwithstanding any other provision of the Plan, to the extent permitted pursuant to
applicable definitive documents and not inconsistent with the rights provided in accordance with
the applicable National Insurance Policy, on the Effective Date, PREPA shall be deemed to have
assigned to National any and all rights to redeem and call the National Insured Bonds and any
related rights such that such rights may be exercised directly and exclusively by National as if it
were PREPA for such purpose. Any amounts due in connection with any such redemption shall
be equal to the lesser of the applicable redemption price and the National Acceleration Price.

E.     Entitlement to Vote

       Subject to the terms and provisions of the Disclosure Statement Order, (a) the solicitation
of acceptances and rejections to the Plan by Holders of National Insured Bond Claims shall be
made by the Oversight Board to National in accordance with the provisions of Section 301(c)(3)
of PROMESA, applicable law and governing documents, and (b) the election to choose between
the National Commutation Treatment as set forth in Article XX.A hereof and the National Non-
Commutation Treatment as set forth in Article XX.B hereof shall be made by the beneficial
Holders of the applicable National Insured Bonds on the National Bondholder Election Form;
provided, however, that the form of the National Non-Commutation Treatment shall be selected
by National in accordance with Article XX.B hereof.

F.     Improper Election

        If a Holder of an Allowed National Insured Bond Claim (1) fails to timely and validly elect
the National Non-Commutation Treatment pursuant to Article XX.B hereof, or (2) submits an
election for less than all of its National Insured Bond Claims in a particular class (in which case,



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such election shall be void and of no force or effect), such Holder shall be deemed to have elected
to receive the National Commutation Treatment set forth in Article XX.A hereof with respect to
such National Insured Bond Claims, to commute the applicable National Insurance Policies, to
release and discharge National’s obligations under such National Insurance Policies, and to receive
distributions in accordance with Article XX.A hereof. In addition, the National Insured Bonds of
a Holder of an Allowed National Insured Bond Claim that does not validly elect to receive the
National Non-Commutation Treatment pursuant to clauses (1) or (2) above shall be deemed
cancelled on the Effective Date, and National’s obligations under the applicable National
Insurance Policies shall be fully and finally satisfied, released, and discharged.

                                          ARTICLE XXI

      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.     Rejection or Assumption of Executory Contracts and Unexpired Leases

        Pursuant to Bankruptcy Code section 365(b)(2) and subject to the provisions of Article
XXI.F and Article XXI.H hereof, all Executory Contracts and Unexpired Leases that exist between
the Debtor and any Entity, and which have not expired by their own terms on or prior to the
Confirmation Date, shall be deemed rejected by the Debtor as of the Effective Date, except for any
Executory Contract or Unexpired Lease (a) that has been assumed, assumed and assigned, or
rejected pursuant to an order of the Title III Court entered prior to the Effective Date, (b) that is
specifically designated as a contract or lease to be assumed or assumed and assigned on the
Schedule of Assumed Contracts and Leases to the Plan Supplement, (c) that has been registered
with the Office of the Comptroller of Puerto Rico or has been approved by the Oversight Board or
authorized by the Title III Court, (d) with the United States, or any of its agencies, departments, or
agents pursuant to any federal program, (e) by or between any Commonwealth agencies,
departments, municipalities, public corporations, or instrumentalities, unless specifically
designated a contract to be rejected in the Plan Supplement, or (f) that contains any easement,
license, or permit in favor of PREPA or Reorganized PREPA or necessary to PREPA’s or
Reorganized PREPA’s operations or assets; provided, however, that the Debtor reserves the right,
on or prior to the Effective Date, to amend such schedules to delete any Executory Contract and
Unexpired Lease therefrom or add any Executory Contract and Unexpired Lease thereto, in which
event such Executory Contract(s) and Unexpired Lease(s) shall be deemed to be, as the case may
be, either rejected, assumed, or assumed and assigned as of the Effective Date. The Debtor shall
serve (y) notice of any Executory Contract and Unexpired Lease to be assumed or assumed and
assigned through the operation of this Article XXI.A by including a schedule of such contracts and
leases in the Plan Supplement and (z) notice of any Executory Contract and Unexpired Lease to
be rejected through the operation of this Article XXI.A, by serving a separate notice to the relevant
counterparties to such agreements. To the extent there are any amendments to such schedules, the
Debtor shall provide notice of any such amendments to the parties to the Executory Contract and
Unexpired Lease affected thereby. The listing of a document on the schedules to the Plan
Supplement or in any separate notice shall not constitute an admission by the Debtor that such
document is an Executory Contract and Unexpired Lease or that the Debtor has any liability
thereunder.




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        Except as otherwise provided herein or agreed to by the Debtor and the applicable
counterparty, each assumed Executory Contract or Unexpired Lease shall include all
modifications, amendments, supplements, restatements, or other agreements related thereto, and
all rights related thereto, if any, including all easements, licenses, permits, rights, privileges,
immunities, options, rights of first refusal, and any other interests. Modifications, amendments,
supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have
been executed by PREPA during the Title III Case shall not be deemed to alter the prepetition
nature of the Executory Contract or Unexpired Lease or the validity, priority, or amount of any
Claims that may arise in connection therewith.

        Except as otherwise provided herein or agreed to by the Debtor and the applicable
counterparty, each assumed Executory Contract or Unexpired Lease shall include all
modifications, amendments, supplements, restatements, or other agreements related thereto, and
all rights related thereto, if any, including all easements, licenses, permits, rights, privileges,
immunities, options, rights of first refusal, and any other interests. Modifications, amendments,
supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have
been executed by PREPA during the Title III Case shall not be deemed to alter the prepetition
nature of the Executory Contract or Unexpired Lease or the validity, priority, or amount of any
Claims that may arise in connection therewith.

B.     Approval of Rejection or Assumption of Executory Contracts and Unexpired Leases

        Entry of the Confirmation Order by the Title III Court shall constitute approval, pursuant
to Bankruptcy Code sections 365(a) and 1123(b)(2), of the rejection, assumption, or assumption
and assignment, as the case may be, of an Executory Contract and an Unexpired Lease pursuant
to Article XXI.A of the Plan.

C.     Inclusiveness

        Unless otherwise specified on the schedules to the Plan Supplement, each Executory
Contract and Unexpired Lease listed or to be listed therein shall include any and all modifications,
amendments, supplements, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affects such Executory Contract and
Unexpired Lease, without regard to whether such agreement, instrument, or other document is
listed on such schedule.

D.     Cure of Defaults and Objections to Cure and Assumption

         Except to the extent that different treatment has been agreed to by the non-Debtor party or
parties to any Executory Contract and Unexpired Lease to be assumed or assumed and assigned
pursuant to Article XXI.A of the Plan, the Debtor shall, pursuant to the provisions of Bankruptcy
Code section 1123(a)(5)(G) and 1123(b)(2) and consistent with the requirements of Bankruptcy
Code section 365, within at least twenty (20) days prior to the Confirmation Hearing, file with the
Title III Court and serve by first class mail on each non-Debtor party to such Executory Contracts
and Unexpired Leases to be assumed pursuant to Article XXI.A of the Plan, a notice, which shall
list the cure amount as to each Executory Contract or Unexpired Lease to be assumed or assumed
and assigned. The parties to such Executory Contracts and Unexpired Leases will have twenty



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(20) days from the date of service of such notice to file and serve any objection to the cure amounts
listed by the Debtor. If there are any objections filed, the Title III Court shall hold a hearing on a
date to be set by the Title III Court. Any counterparty to an Executory Contract or Unexpired
Lease that fails to timely object to the proposed assumption or assumption and assignment
of any Executory Contract or Unexpired Lease will be deemed to have consented to such
assumption or assumption and assignment. Notwithstanding the terms and provisions of Article
XXI.A of the Plan, the Debtor shall retain its rights to reject any of its Executory Contracts and
Unexpired Leases that are subject to a dispute concerning amounts necessary to cure any defaults
through the Effective Date.

        Any Cure Claim shall be deemed fully satisfied, released, and discharged upon payment
by PREPA of the Cure Claim; provided, however, that nothing herein shall prevent PREPA from
paying any Cure Claim despite the failure of the relevant counterparty to file such request for
payment of such Cure Claim. PREPA also may settle any Cure Claim without any further notice
to or action, order, or approval of the Title III Court. If there is any dispute regarding any Cure
Claim, the ability of PREPA or any assignee to provide “adequate assurance of future
performance” within the meaning of Bankruptcy Code section 365, or any other matter pertaining
to assumption, then payment of such Cure Claim shall occur as soon as reasonably practicable
after entry of a Final Order resolving such dispute, approving such assumption (and, if applicable,
assignment), or as may be agreed upon by PREPA and the counterparty to the Executory Contract
or Unexpired Lease.

        Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full release and satisfaction of any Cure Claims, Claims, or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed Executory Contract or Unexpired Lease at any time prior to the effective date of
assumption. Any and all Proofs of Claim (but, for the avoidance of doubt, not including Cure
Claims) based upon Executory Contracts or Unexpired Leases that have been assumed in
the Title III Case, including pursuant to the Confirmation Order, shall be deemed Disallowed
and expunged as of the Effective Date without the need for any objection thereto or any
further notice to or action, order, or approval of the Title III Court.

E.     Contracts and Leases Entered Into After the Petition Date

        Contracts, leases, and other agreements entered into after the Petition Date by PREPA and
any Executory Contracts and Unexpired Leases assumed by PREPA may be performed by PREPA
in the ordinary course of its operations.

F.     Insurance Policies

        Subject to the terms and provisions of Article XXI.H hereof, each of the Debtor’s Insurance
Policies and any agreements, documents, or instruments relating thereto, are treated as Executory
Contracts under the Plan and shall be assumed as of the Effective Date; provided, however, that
such treatment shall not, and shall not be construed to, discharge or relieve any Monoline Insurer
with respect to its respective obligations to Holders of Claims under policies of insurance and
applicable law and governing documents with respect thereto, as applicable, under this Plan.


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G.      Rejection Damage Claims

        If the rejection of an Executory Contract and Unexpired Lease by the Debtor hereunder
results in damages to the other party or parties to such contract or lease, any Claim for such
damages, if not heretofore evidenced by a filed Proof of Claim, shall be forever barred and shall
not be enforceable against the Debtor, or its properties or agents, successors, or assigns, including,
without limitation, the Reorganized Debtor, unless a Proof of Claim is filed with the Title III Court
and served upon attorneys for the Oversight Board and Reorganized Debtor, as the case may be,
on or before thirty (30) days after the later to occur of (i) the Confirmation Date, and (ii) the date
of entry of an order by the Title III Court authorizing rejection of a particular Executory Contract
and Unexpired Lease.

H.      Indemnification and Reimbursement Obligations

         For purposes of the Plan, (i) to the extent executory in nature, the obligations of the Debtor,
including, without limitation, directors and officers Insurance Policies, to indemnify and reimburse
its directors or officers that were directors or officers, respectively, on or prior to the Petition Date,
as the case may be, shall be deemed assumed as of the Effective Date, and (ii) indemnification
obligations of the Debtor arising from conduct of officers and directors during the period from and
after the Petition Date, as the case may be, shall be Administrative Expense Claims; provided,
however, that, under no circumstances shall the Debtor or the Reorganized Debtor, as the case may
be, be responsible for any indemnification obligation, cost, or expense associated with the gross
negligence, intentional fraud, or willful misconduct of their respective officers or directors.

I.      Nonoccurrence of Effective Date

        If the Effective Date does not occur, the Title III Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Executory Contracts and Unexpired
Leases pursuant to Bankruptcy Code section 365(d)(4), unless such deadline(s) have expired.

J.      Reservation of Rights

        Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the
Debtor, Reorganized Debtor, or any other party that any such contract or lease is in fact an
Executory Contract and Unexpired Lease or that the Debtor has any liability thereunder. If there
is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of
assumption, the Debtor or Reorganized Debtor shall have forty-five (45) days following entry of
a Final Order resolving such dispute to alter their treatment of such contract or lease.

                                           ARTICLE XXII

                                             GUC TRUST

A.      Execution of GUC Trust Deed of Trust

        On or before the Effective Date, PREPA and the GUC Trustee shall execute the GUC Trust
Deed of Trust, and shall take all other necessary steps to establish the GUC Trust and the GUC
Trust Interests therein, which shall be for the benefit of the GUC Trust Beneficiaries, whether their


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Claims are Allowed before, on, or after the Effective Date. The GUC Trust Deed of Trust may
provide powers, duties, and authorities in addition to those explicitly stated herein, but only to the
extent that such powers, duties, and authorities do not affect the status of the GUC Trust as a
“liquidating trust” for United States federal income tax purposes.

B.     Purpose of the GUC Trust

        The GUC Trust shall be established for the sole purpose of receiving and distributing the
GUC Trust Assets in accordance with Treasury Regulation section 301.7701-4(d), with no
objective to continue or engage in the conduct of a trade or business except to the extent reasonably
necessary to, and consistent with, the liquidating purpose of the GUC Trust.

C.     GUC Trust Assets

         The GUC Trust shall consist of the GUC Trust Assets. On the Effective Date, PREPA
shall transfer all the GUC Trust Assets to the GUC Trust. The GUC Trust Assets may be
transferred subject to certain liabilities, as provided in the Plan or the GUC Trust Deed of Trust.
Such transfer shall be exempt from any stamp, real estate transfer, mortgage reporting, sales, use,
or other similar Tax, pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the
GUC Trust Assets to the GUC Trust, PREPA and its predecessors, successors and assigns, and
each other Entity released pursuant to Article XXVII hereof shall be discharged and released from
all liability with respect to the delivery of such distributions.

D.     Administration of the GUC Trust

       The GUC Trust shall be administered by the GUC Trustee according to the GUC Trust
Deed of Trust and the Plan. In the event of any inconsistency between the Plan and the GUC Trust
Deed of Trust, the GUC Trust Deed of Trust shall govern.

E.     The GUC Trustee

        If the GUC Trustee dies, becomes incapacitated, is terminated, or resigns for any reason,
the GUC Trust Board shall designate a successor; provided, however, that under no circumstance
shall the GUC Trustee be a director or officer with respect to any Affiliate of the GUC Trust.

F.     Role of the GUC Trustee

        In furtherance of and consistent with the purpose of the GUC Trust and the Plan, and
subject to the terms of the Confirmation Order, the Plan, and the GUC Trust Deed of Trust, and
the oversight of the GUC Trust Board, the GUC Trustee shall, among other things, have the
following rights, powers, and duties: (i) to hold the GUC Trust Assets for the benefit of the GUC
Trust Beneficiaries, whether their Claims are Allowed on or after the Effective Date; (ii) to prepare
and file (or cause to be prepared and filed), from and after the Effective Date, all tax and regulatory
forms, returns, reports, and other documents required, or that the GUC Trustee otherwise deems
appropriate with respect to the GUC Trust; (iii) to hold, manage, and timely distribute Cash
obtained through the exercise of its power and authority to the GUC Trust Beneficiaries; and (iv) to
not unduly prolong the duration of the GUC Trust. In all circumstances, the GUC Trustee shall
act in the best interests of all GUC Trust Beneficiaries and in furtherance of the purpose of the


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GUC Trust. The GUC Trustee shall be obligated to provide prompt written responses to the
Oversight Board’s questions, from time to time, about the GUC Trust’s progress in administering
its Assets and distributions and its finances.

G.     GUC Trustee’s Tax Power for Reorganized PREPA

       From and after the Effective Date, the GUC Trustee shall prepare and file (or cause to be
prepared and filed), on behalf of Reorganized PREPA, all tax returns or other tax information
statements required to be filed with respect to the GUC Trust or that the GUC Trustee otherwise
deems appropriate.

H.     Transferability of GUC Trust Interests

       The GUC Trust Interests shall not be transferable or assignable except by will, intestate
succession, or operation of law.

I.     Cash

        The GUC Trustee may invest Cash (including any earnings thereon or proceeds therefrom)
as permitted by section 345 of the Bankruptcy Code; provided, however, that such investments are
investments permitted to be made by a liquidating trust within the meaning of Treasury Regulation
section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings, or other
controlling authorities.

J.     Distribution of GUC Trust Assets

        The GUC Trustee shall make distributions to Holders of Claims in the Unsecured Claims
Pool in accordance with Article XXIV of the Plan.

K.     Funding, Costs, and Expenses of the GUC Trust

        On or prior to the Effective Date, PREPA shall fund the GUC Trust on a one-time basis in
an amount of one million dollars ($1,000,000). The reasonable costs and expenses of the GUC
Trust, including the fees and expenses of the GUC Trust and its retained professionals, shall be
paid out of the GUC Trust Assets, including the fifty percent (50.0%) of the Holder of the Allowed
Vitol Claim’s Pro Rata Share of the General Unsecured Claim Recovery not distributed to the
Holder of the Allowed Vitol Claim pursuant to Article XI of the Plan, which shall be retained by
the GUC Trust. The GUC Trustee shall be authorized to use proceeds of GUC Trust Assets to
fund the GUC Trust, if necessary.

L.     Compensation of the GUC Trustee

      The individual(s) serving as or comprising the GUC Trustee shall be entitled to reasonable
compensation in an amount consistent with that of similar functionaries in similar roles, the
payment of which shall not be subject to the approval of the Title III Court.




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M.     Retention of Professionals/Employees by the GUC Trustee

        Subject to the approval and consent of the GUC Trust Board, the GUC Trust may retain
and compensate attorneys, other professionals, and employees to assist the GUC Trust Board on
such terms as the GUC Trustee deems appropriate without Title III Court approval.

N.     Federal Income Tax Treatment of the GUC Trust

         1.     GUC Trust Assets Treated as Owned by Creditors. For all United States federal
income tax purposes, all parties (including, without limitation, the Debtor, the GUC Trustee, and
the GUC Trust Beneficiaries) shall treat the transfer of the GUC Trust Assets to the GUC Trust as
(1) a transfer of the GUC Trust Assets (subject to any obligations relating to those Assets) directly
to the GUC Trust Beneficiaries, followed by (2) the transfer by such beneficiaries to the GUC
Trust of the GUC Trust Assets in exchange for GUC Trust Interests. Accordingly, the GUC Trust
Beneficiaries shall be treated for United States federal income tax purposes as the deemed grantors
and owners of their respective share of the GUC Trust Assets. The foregoing treatment shall also
apply, to the extent permitted by applicable law, for state and local income tax purposes.

               2.      Tax Reporting.

                         a)    The GUC Trustee shall prepare and file (or cause to be prepared and
filed) tax returns for the GUC Trust treating the GUC Trust as a grantor trust pursuant to Treasury
Regulation section 1.671-4(a) and in accordance with this Article XXII.N. The GUC Trustee also
will annually send to each Holder of a GUC Trust Interest a separate statement regarding the
receipts and expenditures of the GUC Trust as relevant for U.S. federal income tax purposes and
will instruct all such Holders to use such information in preparing their U.S. federal income tax
returns or to forward the appropriate information to such Holder’s underlying beneficial holders
with instructions to utilize such information in preparing their U.S. federal income tax returns.
The GUC Trustee shall also file (or cause to be filed) any other statement, return, or disclosure
relating to the GUC Trust that is required by any Governmental Unit.

                       b)      The GUC Trustee shall then in good faith value all other GUC Trust
Assets, and shall make all such values available from time to time, to the extent relevant, and such
values shall be used consistently by all parties to the GUC Trust (including, without limitation, the
Debtor, the GUC Trustee, and GUC Trust Beneficiaries) for all United States federal income tax
purposes.

                         c)      Allocations of GUC Trust taxable income among the GUC Trust
Beneficiaries shall be determined by reference to the manner in which an amount of Cash
representing such taxable income would be distributed (were such Cash permitted to be distributed
at such time) if, immediately prior to such deemed distribution, the GUC Trust had distributed all
its assets to the holders of the GUC Trust Interests, adjusted for prior taxable income and loss and
taking into account all prior and concurrent distributions from the GUC Trust. Similarly, taxable
loss of the GUC Trust shall be allocated by reference to the manner in which an economic loss
would be borne immediately after a hypothetical liquidating distribution of the remaining GUC
Trust Assets. The tax book value of the GUC Trust Assets for purpose of this paragraph shall
equal their fair market value on the Effective Date, adjusted in accordance with tax accounting



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principles prescribed by the IRC, the applicable Treasury Regulations, and other applicable
administrative and judicial authorities and pronouncements.

                       d)       Subject to definitive guidance from the IRS or a court of competent
jurisdiction to the contrary (including the receipt by the GUC Trustee of a private letter ruling if
the GUC Trustee so requests one, or the receipt of an adverse determination by the IRS upon audit
if not contested by the GUC Trustee), the GUC Trustee shall (A) timely elect to treat any reserve
for the GUC Trust Assets as a “disputed ownership fund” governed by Treasury Regulation section
1.468B-9, and (B) to the extent permitted by applicable law, report consistently with the foregoing
for state and local income tax purposes. All parties (including the GUC Trustee and the GUC
Trust Beneficiaries) shall report for United States federal, state, and local income tax purposes
consistently with the foregoing.

                        e)     The GUC Trustee shall be responsible for payment, out of the GUC
Trust Assets, of any taxes imposed on the trust or its Assets. In the event, and to the extent, any
Cash retained on account of Disputed Claims insufficient to pay the portion of any such taxes
attributable to the taxable income arising from the assets allocable to, or retained on account of,
Disputed Claims, such taxes may be (i) reimbursed from any subsequent Cash amounts retained
on account of Disputed Claims, or (ii) to the extent such Disputed Claims have subsequently been
resolved, deducted from any amounts otherwise distributable by the GUC Trustee as a result of
the resolution of such Disputed Claims.

        3.      Tax Withholdings by GUC Trustee. The GUC Trustee may withhold and pay to
the appropriate tax authority all amounts required to be withheld pursuant to the IRC or any
provision of any foreign, state, or local tax law with respect to any payment or distribution to the
holders of GUC Trust Interests. All such amounts withheld and paid to the appropriate tax
authority (or placed in escrow pending resolution of the need to withhold) shall be treated as
amounts distributed to such holders of GUC Trust Interests for all purposes of the GUC Trust Deed
of Trust, and it being understood that any such amount withheld shall reduce the amount actually
realized by the applicable holder upon distribution. The GUC Trustee shall be authorized to collect
such tax information from the holders of GUC Trust Interests (including, without limitation, social
security numbers or other tax identification numbers) as in its sole discretion the GUC Trustee
deems necessary to effectuate the Plan, the Confirmation Order, and the GUC Trust Deed of Trust.
In order to receive distributions under the Plan, all holders of GUC Trust Interests shall be required
to identify themselves to the GUC Trustee and provide tax information and the specifics of their
holdings, to the extent the GUC Trustee deems appropriate in the manner and in accordance with
the procedures from time to time established by the GUC Trustee for these purposes. This
identification requirement generally applies to all holders of GUC Trust Interests, including those
who hold their securities in street name. The GUC Trustee may refuse to make a distribution to
any holder of a GUC Trust Interest that fails to furnish such information in a timely fashion, and
until such information is delivered, and may treat such holder’s GUC Trust Interests as disputed;
provided, however, that, if such information is not furnished to the GUC Trustee within six (6)
months of the original request to furnish such information, no further distributions shall be made
to the holder of such GUC Trust Interest; and, provided, further, that, upon the delivery of such
information by a holder of a GUC Trust Interest, the GUC Trustee shall make such distribution to
which the holder of the GUC Trust Interest is entitled, without additional interest occasioned by
such holder’s delay in providing tax information; and, provided, further, that, if the GUC Trustee


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fails to withhold in respect of amounts received or distributable with respect to any such holder
and the GUC Trustee is later held liable for the amount of such withholding, such holder shall
reimburse the GUC Trustee for such liability (to the extent such amounts were actually distributed
to such holder).

O.     Dissolution of GUC Trust

       The GUC Trustee and the GUC Trust shall be discharged or dissolved, as the case may be,
upon the earlier to occur of (i) all of the GUC Trust Assets have been distributed pursuant to the
Plan and the GUC Trust Deed of Trust, and (ii) all distributions required to be made by the GUC
Trustee under the Plan and the GUC Trust Deed of Trust have been made. Upon the dissolution
of the GUC Trust, all remaining GUC Trust Assets, if any, shall be distributed to the PREPA
PayGo Trust.

P.     Indemnification of GUC Trustee and Members of GUC Trust Board

         The GUC Trustee or the individual(s) comprising the GUC Trustee, as the case may be,
the GUC Trust Board, the members of the GUC Trust Board and their respective employees,
agents, and professionals, shall not be liable to the GUC Trust Beneficiaries for actions taken or
omitted in their capacity as, or on behalf of, the GUC Trustee or the GUC Trust Board, as
applicable, except those acts arising out of their own willful misconduct or gross negligence, and
each shall be entitled to indemnification and reimbursement by the GUC Trust for fees and
expenses in defending any and all actions or inactions in their capacity as, or on behalf of, the
GUC Trustee or the GUC Trust Board, as applicable, except for any actions or inactions involving
willful misconduct or gross negligence. Any indemnification claim of the GUC Trustee, the GUC
Trust Board, the members of the GUC Trust Board, and the other parties entitled to indemnification
under this subsection shall be satisfied solely from the GUC Trust Assets and shall be entitled to
a priority distribution therefrom, ahead of the GUC Trust Interests and any other claim to or interest
in such assets. The GUC Trustee, the GUC Trust Board, and the members of the GUC Trust Board
shall be entitled to rely, in good faith, on the advice of their retained professionals.

                                         ARTICLE XXIII

                                AVOIDANCE ACTIONS TRUST

A.     Execution of Avoidance Actions Trust Agreement

        On or before the Effective Date, PREPA and the Avoidance Actions Trustee shall execute
the Avoidance Actions Trust Agreement, and shall take all other necessary steps to establish the
Avoidance Actions Trust and the Avoidance Actions Trust Interests therein, which shall be for the
benefit of the Avoidance Actions Trust Beneficiaries, whether their Claims are Allowed before,
on, or after the Effective Date. The Avoidance Actions Trust Agreement may provide powers,
duties, and authorities in addition to those explicitly stated herein, but only to the extent that such
powers, duties, and authorities do not affect the status of the Avoidance Actions Trust as a
“liquidating trust” for United States federal income tax purposes.




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B.     Purpose of the Avoidance Actions Trust

        The Avoidance Actions Trust shall be established for the sole purpose of prosecuting the
Avoidance Actions and distributing its assets, in accordance with Treasury Regulation section
301.7701-4(d), with no objective to continue or engage in the conduct of a trade or business except
to the extent reasonably necessary to, and consistent with, the liquidating purpose of the Avoidance
Actions Trust.

C.     Avoidance Actions Trust Assets

         The Avoidance Actions Trust shall consist of the Avoidance Actions Trust Assets. On the
Effective Date, PREPA shall transfer all of the Avoidance Actions Trust Assets to the Avoidance
Actions Trust. The Avoidance Actions Trust Assets may be transferred subject to certain
liabilities, as provided in the Plan or the Avoidance Actions Trust Agreement. Such transfer shall
be exempt from any stamp, real estate transfer, mortgage reporting, sales, use or other similar Tax,
pursuant to section 1146(a) of the Bankruptcy Code. Upon delivery of the Avoidance Actions
Trust Assets to the Avoidance Actions Trust, PREPA and its predecessors, successors and assigns,
and each other Entity released pursuant to Article XXVII hereof shall be discharged and released
from all liability with respect to the delivery of such distributions.

D.     Administration of the Avoidance Actions Trust

       The Avoidance Actions Trust shall be administered by the Avoidance Actions Trustee
according to the Avoidance Actions Trust Agreement and the Plan. In the event of any
inconsistency between the Plan and the Avoidance Actions Trust Agreement, the Avoidance
Actions Trust Agreement shall govern.

E.     The Avoidance Actions Trustee

        If the Avoidance Actions Trustee dies, becomes incapacitated, is terminated, or resigns for
any reason, the Avoidance Actions Trust Board shall designate a successor; provided, however,
that under no circumstance shall the Avoidance Actions Trustee be a director or officer with
respect to any Affiliate of the Avoidance Actions Trust.

F.     Role of the Avoidance Actions Trustee

         In furtherance of and consistent with the purpose of the Avoidance Actions Trust and the
Plan, and subject to the terms of the Confirmation Order, the Plan and the Avoidance Actions Trust
Agreement, and the oversight of the Avoidance Actions Trust Board, the Avoidance Actions
Trustee shall, among other things, have the following rights, powers, and duties: (i) to hold,
manage, convert to Cash, and timely distribute the Avoidance Actions Trust Assets to the GUC
Trust, including prosecuting and resolving the Claims belonging to the Avoidance Actions Trust;
(ii) to hold the Avoidance Actions Trust Assets for the benefit of the Avoidance Actions Trust
Beneficiaries, whether their Claims are Allowed on or after the Effective Date; (iii) in the
Avoidance Actions Trustee’s reasonable business judgment, to investigate, prosecute, settle and/or
abandon rights, Causes of Action, or litigation of the Avoidance Actions Trust; (iv) to prepare and
file (or cause to be prepared and filed), from and after the Effective Date, all tax and regulatory
forms, returns, reports, and other documents required, or that the Avoidance actions Trustee


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otherwise deems appropriate with respect to the Avoidance Actions Trust; (v) in the Avoidance
Actions Trustee’s reasonable business judgment, to control, prosecute, and/or settle on behalf of
the Avoidance Actions Trust, objections to Claims on account of which the Avoidance Actions
Trustee will be responsible; (vi) to hold, manage, and timely distribute Cash or non-Cash
Avoidance Actions Trust Assets obtained through the exercise of its power and authority to the
GUC Trustee; and (vii) to not unduly prolong the duration of the Avoidance Actions Trust. In all
circumstances, the Avoidance Actions Trustee shall act in the best interests of all Avoidance
Actions Trust Beneficiaries and in furtherance of the purpose of the Avoidance Actions Trust. The
Avoidance Action Trustee shall be obligated to provide prompt written responses to the Oversight
Board’s questions, from time to time, about the Avoidance Action Trust’s progress in
administering its assets and distributions and its finances.

G.     Avoidance Actions Trustee’s Tax Power for Reorganized PREPA

       From and after the Effective Date, the Avoidance Actions Trustee shall prepare and file (or
cause to be prepared and filed), on behalf of Reorganized PREPA, all tax returns or other tax
information statements required to be filed with respect to the Avoidance Actions Trust or that the
Avoidance Actions Trustee otherwise deems appropriate.

H.     Transferability of Avoidance Actions Trust Interests

         The Avoidance Actions Trust Interests shall not be transferable or assignable except by
will, intestate succession, or operation of law

I.     Cash

       The Avoidance Actions Trustee may invest Cash (including any earnings thereon or
proceeds therefrom) as permitted by section 345 of the Bankruptcy Code; provided, however, that
such investments are investments permitted to be made by a liquidating trust within the meaning
of Treasury Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS
guidelines, rulings, or other controlling authorities.

J.     Distribution of Avoidance Actions Trust Assets

        The Avoidance Actions Trustee shall distribute to the GUC Trust, on a monthly basis, all
unrestricted Cash on hand (including any Cash received from PREPA on the Effective Date),
except (i) Cash reserved pursuant to the Avoidance Actions Trust Agreement to fund the activities
of the Avoidance Actions Trust, (ii) such amounts as are allocable to or retained to pay reasonable
incurred or anticipated expenses (including, but not limited to, any taxes imposed on or payable
by the Avoidance Actions Trust in respect of the Avoidance Actions Trust Assets); provided,
however, that the Avoidance Actions Trustee shall not be required to make a distribution pursuant
to this Article XXIII.J if the aggregate, net amount of unrestricted Cash available for distribution
(taking into account the above listed exclusions) is such that it would make the distribution
impracticable as reasonably determined by the Avoidance Actions Trustee, with the consent of the
Avoidance Actions Trust Board, in accordance with applicable law, and so long as such aggregate
amount is less than one million dollars ($1,000,000).




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K.     Funding, Costs, and Expenses of the Avoidance Actions Trust

         On the Effective Date, the Avoidance Actions Trust shall be funded on a one-time basis in
an amount of one million dollars ($1,000,000). The reasonable costs and expenses of the
Avoidance Actions Trust, including the fees and expenses of the Avoidance Actions Trustee and
its retained professionals, shall be paid out of the Avoidance Actions Trust Assets. Fees and
expenses incurred in connection with the prosecution and settlement of any Avoidance Actions
shall be considered costs and expenses of the Avoidance Actions Trust. The Avoidance Action
Trustee shall be authorized to use proceeds of trust assets to fund the Avoidance Action Trust, if
necessary.

L.     Compensation of the Avoidance Actions Trustee

         The individual(s) serving as or comprising the Avoidance Actions Trustee shall be entitled
to reasonable compensation in an amount consistent with that of similar functionaries in similar
roles, the payment of which shall not be subject to the approval of the Title III Court.

M.     Retention of Professionals/Employees by the Avoidance Actions Trustee

       Subject to the approval and consent of the Avoidance Actions Trust Board, the Avoidance
Actions Trust may retain and compensate attorneys, other professionals, and employees to assist
the Avoidance Actions Trust Board on such terms as the Avoidance Actions Trustee deems
appropriate without Title III Court approval.

N.     Federal Income Tax Treatment of the Avoidance Actions Trust

                 1.    Avoidance Actions Trust Assets Treated as Owned by Creditors. For all
United States federal income tax purposes, all parties (including, without limitation, the Debtor,
the Avoidance Actions Trustee, and the Avoidance Actions Trust Beneficiaries) shall treat the
transfer of the Avoidance Actions Trust Assets to the Avoidance Actions Trust as (1) a transfer of
the Avoidance Actions Trust Assets (subject to any obligations relating to those Assets) directly
to the Avoidance Actions Trust Beneficiaries, followed by (2) the transfer by such beneficiaries to
the Avoidance Actions Trust of the Avoidance Actions Trust Assets in exchange for Avoidance
Actions Trust Interests. Accordingly, the Avoidance Actions Trust Beneficiaries shall be treated
for United States federal income tax purposes as the deemed grantors and owners of their
respective share of the Avoidance Actions Trust Assets. The foregoing treatment shall also apply,
to the extent permitted by applicable law, for state and local income tax purposes.

               2.     Tax Reporting.

                        a)     The Avoidance Actions Trustee shall prepare and file (or cause to
be prepared and filed) tax returns for the Avoidance Actions Trust treating the Avoidance Actions
Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a) and in accordance with
this Article XXIII.N. The Avoidance Actions Trustee also will annually send to each holder of an
Avoidance Actions Trust Interest a separate statement regarding the receipts and expenditures of
the Avoidance Actions Trust as relevant for U.S. federal income tax purposes and will instruct all
such holders to use such information in preparing their U.S. federal income tax returns or to
forward the appropriate information to such Holder’s underlying beneficial holders with


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instructions to utilize such information in preparing their U.S. federal income tax returns. The
Avoidance Actions Trustee shall also file (or cause to be filed) any other statement, return, or
disclosure relating to the Avoidance Actions Trust that is required by any Governmental Unit.

                        b)     The Avoidance Actions Trustee will then in good faith value all
other Avoidance Actions Trust Assets, and shall make all such values available from time to time,
to the extent relevant, and such values shall be used consistently by all parties to the Avoidance
Actions Trust (including, without limitation, the Debtor, the Avoidance Actions Trustee, and
Avoidance Actions Trust Beneficiaries) for all United States federal income tax purposes.

                       c)      Allocations of Avoidance Actions Trust taxable income among the
Avoidance Actions Trust Beneficiaries shall be determined by reference to the manner in which
an amount of Cash representing such taxable income would be distributed (were such Cash
permitted to be distributed at such time) if, immediately prior to such deemed distribution, the
Avoidance Actions Trust had distributed all its assets to the holders of the Avoidance Actions
Trust Interests, adjusted for prior taxable income and loss and taking into account all prior and
concurrent distributions from the Avoidance Actions Trust. Similarly, taxable loss of the
Avoidance Actions Trust shall be allocated by reference to the manner in which an economic loss
would be borne immediately after a hypothetical liquidating distribution of the remaining
Avoidance Actions Trust Assets. The tax book value of the Avoidance Actions Trust Assets for
purpose of this paragraph shall equal their fair market value on the Effective Date, adjusted in
accordance with tax accounting principles prescribed by the IRC, the applicable Treasury
Regulations, and other applicable administrative and judicial authorities and pronouncements.

                       d)       Subject to definitive guidance from the IRS or a court of competent
jurisdiction to the contrary (including the receipt by the Avoidance Actions Trustee of a private
letter ruling if the Avoidance Actions Trustee so requests one, or the receipt of an adverse
determination by the IRS upon audit if not contested by the Avoidance Actions Trustee), the
Avoidance Actions Trustee shall (A) timely elect to treat any reserve for the Avoidance Actions
Trust Assets as a “disputed ownership fund” governed by Treasury Regulation section 1.468B-9,
and (B) to the extent permitted by applicable law, report consistently with the foregoing for state
and local income tax purposes. All parties (including the Avoidance Actions Trustee and the
Avoidance Actions Trust Beneficiaries) shall report for United States federal, state, and local
income tax purposes consistently with the foregoing.

                       e)      The Avoidance Actions Trustee shall be responsible for payment,
out of the Avoidance Actions Trust Assets, of any taxes imposed on the trust or its assets. In the
event, and to the extent, any Cash retained on account of Disputed Claims insufficient to pay the
portion of any such taxes attributable to the taxable income arising from the assets allocable to, or
retained on account of, Disputed Claims, such taxes may be (i) reimbursed from any subsequent
Cash amounts retained on account of Disputed Claims, or (ii) to the extent such Disputed Claims
have subsequently been resolved, deducted from any amounts otherwise distributable by the
Avoidance Actions Trustee as a result of the resolution of such Disputed Claims.

                3.   Tax Withholdings by Avoidance Actions Trustee. The Avoidance Actions
Trustee may withhold and pay to the appropriate tax authority all amounts required to be withheld
pursuant to the IRC or any provision of any foreign, state, or local tax law with respect to any


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payment or distribution to the holders of Avoidance Actions Trust Interests. All such amounts
withheld and paid to the appropriate tax authority (or placed in escrow pending resolution of the
need to withhold) shall be treated as amounts distributed to such holders of Avoidance Actions
Trust Interests for all purposes of the Avoidance Actions Trust Agreement, and it being understood
that any such amount withheld shall reduce the amount actually realized by the applicable holder
upon distribution. The Avoidance Actions Trustee shall be authorized to collect such tax
information from the holders of Avoidance Actions Trust Interests (including, without limitation,
social security numbers or other tax identification numbers) as in its sole discretion the Avoidance
Actions Trustee deems necessary to effectuate the Plan, the Confirmation Order, and the
Avoidance Actions Trust Agreement. In order to receive distributions under the Plan, all holders
of Avoidance Actions Trust Interests shall be required to identify themselves to the Avoidance
Actions Trustee and provide tax information and the specifics of their holdings, to the extent the
Avoidance Actions Trustee deems appropriate in the manner and in accordance with the
procedures from time to time established by the Avoidance Actions Trustee for these purposes.
This identification requirement generally applies to all holders of Avoidance Actions Trust
Interests, including those who hold their securities in street name. The Avoidance Actions Trustee
may refuse to make a distribution to any holder of a Avoidance Actions Trust Interest that fails to
furnish such information in a timely fashion, and until such information is delivered, and may treat
such holder’s Avoidance Actions Trust Interests as disputed; provided, however, that, if such
information is not furnished to the Avoidance Actions Trustee within six (6) months of the original
request to furnish such information, no further distributions shall be made to the holder of such
Avoidance Actions Trust Interest; and, provided, further, that, upon the delivery of such
information by a holder of a Avoidance Actions Trust Interest, the Avoidance Actions Trustee
shall make such distribution to which the holder of the Avoidance Actions Trust Interest is entitled,
without additional interest occasioned by such holder’s delay in providing tax information; and,
provided, further, that, if the Avoidance Actions Trustee fails to withhold in respect of amounts
received or distributable with respect to any such holder and the Avoidance Actions Trustee is
later held liable for the amount of such withholding, such holder shall reimburse the Avoidance
Actions Trustee for such liability (to the extent such amounts were actually distributed to such
holder).

O.     Dissolution of Avoidance Action Trust

         The Avoidance Actions Trustee and the Avoidance Actions Trust shall be discharged or
dissolved, as the case may be, upon the earlier to occur of (i) all of the Avoidance Actions Trust
Assets have been distributed pursuant to the Plan and the Avoidance Actions Trust Agreement,
(ii) the Avoidance Actions Trustee determines, with the consent of the Avoidance Actions Trust
Board, that the administration of any remaining Avoidance Actions Trust Assets is not likely to
yield sufficient additional Avoidance Actions Trust proceeds to justify further pursuit, including
because the expense of administering the Avoidance Actions Trust so as to make a final
distribution to its beneficiaries is likely to exceed the value of the Assets remaining in the
Avoidance Actions Trust, and (iii) all distributions required to be made by the Avoidance Actions
Trustee under the Plan and the Avoidance Actions Trust Agreement have been made. Upon the
dissolution of the Avoidance Actions Trust, all remaining Avoidance Action Trust Assets, if any,
shall be transferred to the GUC Trust.




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P.     Indemnification of Avoidance Actions Trustee and Members of Avoidance Actions
Trust Bond

        The Avoidance Actions Trustee or the individual(s) comprising the Avoidance Actions
Trustee, as the case may be, the Avoidance Actions Trust Board, the members of the Avoidance
Actions Trust Board and their respective employees, agents, and professionals, shall not be liable
to the Avoidance Actions Trust Beneficiaries for actions taken or omitted in their capacity as, or
on behalf of, the Avoidance Actions Trustee or the Avoidance Actions Trust Board, as applicable,
except those acts arising out of their own willful misconduct or gross negligence, and each shall
be entitled to indemnification and reimbursement by the Avoidance Actions Trust for fees and
expenses in defending any and all actions or inactions in their capacity as, or on behalf of, the
Avoidance Actions Trustee or the Avoidance Actions Trust Board, as applicable, except for any
actions or inactions involving willful misconduct or gross negligence. Any indemnification claim
of the Avoidance Actions Trustee, the Avoidance Actions Trust Board, the members of the
Avoidance Actions Trust Board, and the other parties entitled to indemnification under this
subsection shall be satisfied solely from the Avoidance Actions Trust Assets and shall be entitled
to a priority distribution therefrom, ahead of the Avoidance Actions Trust Interests and any other
claim to or interest in such assets. The Avoidance Actions Trustee, the Avoidance Actions Trust
Board, and the members of the Avoidance Actions Trust Board shall be entitled to rely, in good
faith, on the advice of their retained professionals.

                                        ARTICLE XXIV

                       PROVISIONS GOVERNING DISTRIBUTIONS

A.     Appointment of Distribution Agent

        PREPA, Reorganized PREPA, the GUC Trustee, and/or the Solicitation Agent shall act as
Distribution Agent or may employ or contract with other Entities, to act as the Distribution Agent
or to assist in or make the distributions required by the Plan. Any Distribution Agent appointed
by PREPA or the GUC Trustee shall serve without bond. Other than as specifically set forth in
the Plan, the Distribution Agent shall make all distributions required to be made under the Plan.
Except as otherwise provided herein, all distributions under the Plan shall be made by the
Distribution Agent.

B.     Distributions on Account of Claims Allowed as of the Effective Date

       Except as otherwise provided herein, a Final Order, or as otherwise agreed to by PREPA
and the Holder of the applicable Claim, on the first Distribution Date, the Distribution Agent shall
make initial distributions under the Plan on account of Claims Allowed on the Effective Date or
as soon as practicable thereafter, subject to PREPA’s and Reorganized PREPA’s right to object to
Claims; provided, however, that Allowed Administrative Expense Claims with respect to liabilities
incurred by PREPA in the ordinary course of its operations during the Title III Case or assumed
by PREPA prior to the Effective Date shall be paid or performed in the ordinary course of its
operations in accordance with the terms and conditions of any controlling agreements, course of
dealing, course of operations, or industry practice; provided, further, that the Distribution Agent
may make distributions of Fuel Line Lender PSA Creditor Fees to a party entitled thereto in a


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manner mutually agreed upon between such party and the Distribution Agent and to the extent the
Fuel Line Lender PSA Creditor Fees shall be payable in Cash, such Fuel Line Lender PSA Creditor
Fees shall be paid no later than ten (10) Business Days following the Effective Date; provided,
further, that the Oversight Board will use reasonable efforts to distribute New Bonds through The
Depository Trust Company. Except as otherwise provided in the Plan, Holders of Claims shall not
be entitled to interest, dividends, or accruals on the distributions provided for in the Plan, regardless
of whether such distributions are delivered on or at any time after the Effective Date.
Notwithstanding anything to the contrary in the Plan, no Holder of an Allowed Claim shall, on
account of such Allowed Claim, receive a distribution in excess of the Allowed amount of such
Claim.

C.      Rights and Powers of Distribution Agent

        1.      Powers of the Distribution Agent

        Except as may be provided otherwise hereunder, the Distribution Agent shall be
empowered to (a) take all steps and execute all instruments and documents necessary to effectuate
the Plan, (b) make distributions contemplated by the Plan, (c) comply with the Plan and the
obligations thereunder, and (d) exercise such other powers as may be vested in the Distribution
Agent pursuant to order of the Title III Court, pursuant to the Plan, or as deemed by the Distribution
Agent to be necessary and proper to implement the provisions of the Plan.

        2.      Fees and Expenses Incurred On and After the Effective Date

       Except as otherwise ordered by the Title III Court, the amount of any reasonable fees and
expenses incurred by the Distribution Agent on and after the Effective Date and any reasonable
compensation and expense reimbursement claims, including, without limitation, reasonable fees
and expenses of counsel, incurred by the Distribution Agent, shall be paid in Cash without further
order of the Title III Court.

D.      Special Rules for Distributions to Holders of Disputed Claims

        Notwithstanding any provision otherwise in the Plan and except as otherwise agreed by the
relevant parties: (a) no partial payments and no partial distributions shall be made with respect to
a Disputed Claim until all such disputes in connection with such Disputed Claim have been
resolved by settlement or Final Order; and (b) any Entity that holds both an Allowed Claim and a
Disputed Claim shall not receive any distribution on the Allowed Claim unless and until all
objections to the Disputed Claim have been resolved by settlement or Final Order or the Claims
have been Allowed or expunged. Any dividends or other distributions arising from property
distributed to Holders of Allowed Claims in a Class and paid to such Holders under the Plan shall
also be paid, in the applicable amounts, to any Holder of a Disputed Claim in such Class that
becomes an Allowed Claim after the date or dates that such dividends or other distributions were
earlier paid to Holders of Allowed Claims in such Class.

       At such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim,
Reorganized Debtor shall distribute to the Holder thereof the distributions, if any, to which such
Holder is then entitled under the Plan, together with any earnings that have accrued thereon (net
of any expenses, including any taxes, relating thereto), but only to the extent that such earnings


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are attributable to the amount of the Allowed Claim. Such distribution, if any, shall be made as
soon as practicable after the date that the order or judgement of the Title III Court allowing such
Disputed Claim becomes a Final Order.

E.     Delivery of Distributions

       1.      Timeliness of Distributions

       Any distribution to be made pursuant to the Plan shall be deemed to be timely made if
made within ten (10) Business Days after the date specified in the Plan. Whenever any distribution
to be made under this Plan shall be due on a day other than a Business Day, such distribution shall
instead be made, without interest, on the immediately succeeding Business Day, but shall be
deemed to have been made on the date due.

       2.      Record Date for Distributions

        Subject to the provisions of Bankruptcy Rule 9010, and except as provided in the
Confirmation Order or herein, distributions and deliveries to Holders of Allowed Claims shall be
made through DTC or at the address of each such Holder as set forth on the Schedules filed with
the Court, unless superseded by the address set forth on Proofs of Claim filed by such Holders, or
at the last known address of such Holder if no Proof of Claim is filed or if the Debtor has been
notified in writing of a change of address; provided, however, that initial distributions by the
Distribution Agent for the benefit of Holders of Allowed PREPA Revenue Bond Claims shall be
made to the Bond Trustee, as applicable, for such obligation in accordance with the respective
governing documents for such obligations. Neither PREPA nor any Distribution Agent, including
the GUC Trustee, will have any obligation to recognize the transfer of, or the sale of any
participation in, any Claim that occurs after the close of business on the Distribution Record Date,
and will be entitled for all purposes herein to recognize and distribute only to those Holders of
Allowed Claims (including Holders of Claims that become Allowed after the Distribution Record
Date) that are Holders of such Claims, or participants therein, as of the close of business on the
Distribution Record Date; provided, however, that the New Bonds will be transferable and
transfers will be recognized if made in accordance with the terms and conditions of the New Master
Indenture. PREPA and any Distribution Agent shall instead be entitled to recognize and deal for
all purposes under the Plan with only those record Holders stated on the official Claims Register
as of the close of business on the Distribution Record Date.

       3.      Distribution Process

        The Distribution Agent shall make all distributions required under the Plan, except that
distributions to Holders of Allowed Claims governed by a separate agreement and administered
by a Servicer shall be deposited with the appropriate Servicer, at which time such distributions
shall be deemed complete, and the Servicer shall deliver such distributions in accordance with the
Plan and the terms of the governing agreement. Except as otherwise provided herein, and
notwithstanding any authority to the contrary, distributions to Holders of Allowed Claims,
including Claims that become Allowed after the Effective Date, shall be made to Holders of record
as of the Effective Date by the Distribution Agent or a Servicer, as appropriate: (1) to the address
of such Holder as set forth in the books and records of the Debtor (or if the Debtor has been notified



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in writing, on or before the date that is ten (10) days before the Effective Date, of a change of
address, to the changed address); (2) in accordance with Federal Rule of Civil Procedure 4, as
modified and made applicable by Bankruptcy Rule 7004, if no address exists in the Debtor’s books
and records, no Proof of Claim has been filed and the Distribution Agent has not received a written
notice of a change of address on or before the date that is ten (10) days before the Effective Date;
or (3) on any counsel that has appeared in the Title III Case on the Holder’s behalf. The Debtor
and the Distribution Agent, as applicable, shall not incur any liability whatsoever on account of
any distributions under the Plan.

       4.      Foreign Currency Exchange Rate

        Except as otherwise provided in a Final Order, as of the Effective Date, any Claim asserted
in currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S.
dollar value using the exchange rate for the applicable currency as published in The Wall Street
Journal, National Edition, on the Effective Date.

       5.      De Minimis, Fractional, Undeliverable, and Unclaimed Distributions

               (a)     De Minimis and Fractional Distributions. No distribution of (i) New Bonds
                       shall be made by the Distribution Agent on account of an Allowed Claim if
                       the amount to be distributed to the specific Holder of an Allowed Claim on
                       the applicable Distribution Date has an economic value of less than
                       $1,000.00 and (ii) Cash shall be made by the Distribution Agent on account
                       of an Allowed Claim if the amount to be distributed to the specific Holder
                       of an Allowed Claim on the applicable Distribution Date has an economic
                       value of less than $100.00. No fractional New Bonds shall be distributed.
                       Where a fractional portion of a New Bond otherwise would be called for
                       under the Plan, the actual issuance shall reflect a rounding down to the
                       nearest whole New Bond.

               (b)     Undeliverable Distributions. If any distribution to any Holder is returned
                       to the Distribution Agent as undeliverable, no further distribution shall be
                       made to such Holder unless and until the Distribution Agent is notified, in
                       writing, of such Holder’s then-current address. Subject to the terms and
                       provision of Article XXIV.E.5(c) of the Plan, undeliverable distributions
                       shall remain in the possession of the Distribution Agent until such time as
                       a distribution becomes deliverable. All Entities ultimately receiving
                       previously undeliverable Cash shall not be entitled to any interest or other
                       accruals thereon of any kind. Nothing contained in the Plan shall require
                       the Distribution Agent to attempt to locate any Holder of an Allowed Claim.

               (c)     Reversion of Unclaimed Distributions. If (i) a check is sent, by the
                       Distribution Agent to a Holder in respect of distributions and such check is
                       not negotiated within one hundred twenty (120) days following the date on
                       which such check was issued, or (ii) any other form of distribution to a
                       Holder is otherwise undeliverable or that has become an Unclaimed
                       Distribution, the Distribution Agent (or its duly authorized agent) shall, on


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                       or prior to the date that is one hundred eighty (180) days from (i) the
                       Effective Date, with respect to all Allowed Claims as of the Effective Date,
                       and (ii) the date that a distribution is made with respect to any Disputed
                       Claim that becomes an Allowed Claim subsequent to the Effective Date,
                       file a list with the Title III Court setting forth the names of those Entities for
                       which distributions have been made hereunder that have not been negotiated
                       or have been returned as undeliverable as of the date thereof. Any Holder
                       of an Allowed Claim on such list that does not identify itself and assert its
                       rights pursuant to the Plan to receive a distribution within six (6) months
                       from the date so listed shall have its entitlement to such undeliverable
                       distribution discharged and shall be forever barred from asserting any
                       entitlement pursuant to the Plan, against the Reorganized Debtor or the
                       GUC Trustee, or their respective professionals, agents, or property, and any
                       (1) Cash in the possession of the Distribution Agent or the trustee with
                       respect to existing securities, as the case may be, shall be released to the
                       Reorganized Debtor for use to discharge operating expenses of the
                       Reorganized Debtor and (2) the New Bonds in the possession of the
                       Distribution Agent with respect to existing securities, shall be released to
                       the Reorganized Debtor for cancellation or deposit into the treasury of the
                       Reorganized Debtor, as determined by Reorganized Debtor in its sole and
                       absolute discretion.

       6.      Surrender of Cancelled Instruments

        As a condition to participation under this Plan, the Holder of a note, debenture, or other
evidence of indebtedness of PREPA that desires to receive the property to be distributed on account
of an Allowed Claim based on such note, debenture, or other evidence of indebtedness shall
surrender such note, debenture, or other evidence of indebtedness to PREPA or its designee (unless
such Holder’s Claim will not be Impaired by the Plan, in which case such surrender shall not be
required), and shall execute and deliver such other documents as are necessary to effectuate the
Plan; provided, however, that, if a claimant is a Holder of a note, debenture, or other evidence of
indebtedness for which no physical certificate was issued to the Holder but which instead is held
in book-entry form pursuant to a global security hold by DTC or other securities depository or
custodian thereof, there shall be no requirement of surrender. In PREPA’s sole discretion, if no
surrender of a note, debenture, or other evidence of indebtedness occurs and the Holder of a Claim
does not provide an affidavit and indemnification agreement, in form and substance reasonably
satisfactory to PREPA, that such note, debenture, or other evidence of indebtedness was lost, then
no distribution may be made to such Holder in respect of the Claim based on such note, debenture,
or other evidence of indebtedness.

       7.      Cancellation of Notes, Instruments, Certificates, and Other Documents

        Except (a) as provided in any contract, instrument, or other agreement or document entered
into or delivered in connection with the Plan, (b) for purposes of evidencing a right to distribution
under the Plan, or (c) as specifically provided otherwise in the Plan (including any rejection of
Executory Contracts or Unexpired Leases pursuant to Article XXI.A hereof), on the Effective
Date, the PREPA Revenue Bonds and Fuel Line Facilities and all instruments and documents


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related thereto will be deemed automatically cancelled, terminated, and of no further force or effect
against the Debtor without any further act or action under any applicable agreement, law,
regulation, order or rule, with the Debtor and the applicable trustee, paying agent, or fiscal agent,
as the case may be, having no continuing obligations or duties and responsibilities thereunder and
the obligations of the parties to the Debtor, as applicable, under the PREPA Revenue Bonds and
Fuel Line Facilities and all instruments and documents related thereto shall be discharged;
provided, however, that, notwithstanding anything contained herein to the contrary, the PREPA
Revenue Bonds and Fuel Line Facilities and such other instruments and documents shall continue
in effect solely (i) to allow the Distribution Agent to make any distributions as set forth in the Plan
and to perform such other necessary administrative or other functions with respect thereto, (ii) to
allow Holders of Allowed PREPA Revenue Bond Claims, Allowed National Claims, and Allowed
Fuel Line Loan Claims to receive distributions in accordance with the terms and provisions of the
Plan, (iii) for any trustee, agent, contract administrator, or similar entity under all instruments and
documents related thereto, to perform necessary functions, including making distributions, in
accordance with the Plan and to have the benefit of all the rights and protections and other
provisions of such instruments and documents, as applicable, and all other related agreements, (iv)
to set forth the terms and conditions applicable to parties to such documents and instruments other
than the Debtor, or (v) as may be necessary to preserve any claims under the respective Insurance
Policies and related documents issued by a Monoline Insurer. Notwithstanding the foregoing, and
except as otherwise expressly provided in the Plan, such bonds or bond documents that remain
outstanding shall not form the basis for the assertion of any Claim against the Debtor or
Reorganized Debtor, as the case may be.

F.     Claims Paid or Payable by Third Parties

       1.      Claims Paid by Third Parties

        A Claim shall be reduced in full, and such Claim shall be Disallowed without an objection
to such Claim having to be filed and without any further notice to or action, order, or approval of
the Title III Court, to the extent that the Holder of such Claim receives payment in full on account
of such Claim from a party that is not the Distribution Agent. To the extent a Holder of a Claim
receives a distribution on account of such Claim and also receives payment from a party that is not
the Distribution Agent on account of such Claim from the Distribution Agent, such Holder shall
repay, return, or deliver any distribution held by or transferred to the Holder to the applicable
Distribution Agent to the extent the Holder’s total recovery on account of such Claim from the
third party and under the Plan exceeds the amount of such Claim as of the date of any such
distribution under the Plan.

       2.      Claims Payable by Insurance Carriers

       No distributions under the Plan shall be made on account of an Allowed Claim that is
payable pursuant to one of PREPA’s Insurance Policies until the Holder of such Allowed Claim
has exhausted all remedies with respect to such insurance policy. To the extent that one or more
of PREPA’s insurers agrees to satisfy in full a Claim, then immediately upon such insurers’
agreement, such Claim may be expunged to the extent of any agreed upon satisfaction on the
Claims Register by the Solicitation Agent without a Claims objection having to be filed and
without any further notice to or action, order, or approval of the Title III Court.


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       3.      Applicability of Insurance Policies

        Except as otherwise provided herein, distributions to Holders of Allowed Claims shall be
in accordance with the provisions of an applicable insurance policy. Except as otherwise expressly
provided herein, nothing contained in the Plan shall constitute or be deemed a waiver of any Cause
of Action that PREPA or any Entity may hold against any other Entity, including insurers under
any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by
such insurers of any defenses, including coverage defenses, held by such insurers.

G.     Withholding and Reporting Requirements

        Any party issuing any instrument or making any distribution under the Plan shall comply
with all applicable withholding and reporting requirements imposed by any United States federal,
state or local tax law or tax authority, and all distributions under the Plan shall be subject to any
such withholding or reporting requirements. Notwithstanding the above, each holder of an
Allowed Claim that is to receive a distribution under the Plan shall have the sole and exclusive
responsibility for the satisfaction and payment of any taxes imposed on such Holder by any
Governmental Unit, including income, withholding and other tax obligations, on account of such
distribution. Any party issuing any instrument or making any distribution under the Plan has the
right, but not the obligation, to not make a distribution until such Holder has made arrangements
satisfactory to such issuing or distributing party for payment of any such withholding tax
obligations and, if any party issuing any instrument or making any distribution under the Plan fails
to withhold with respect to any such Holder’s distribution, and is later held liable for the amount
of such withholding, the Holder shall reimburse such party. The Distribution Agent may require,
as a condition to the receipt of a distribution, that the Holder complete the appropriate Form W-8
or Form W-9, as applicable to each Holder. If the Holder fails to comply with such a request
within one year, such distribution shall be deemed an Unclaimed Distribution. PREPA reserves
the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and other spousal awards, Liens, and encumbrances.

H.     Time Bar to Cash Payments

        Checks issued by the Distribution Agent on account of Allowed Claims shall be null and
void if not negotiated within one hundred twenty (120) days from and after the date of issuance
thereof. Requests for reissuance of any check shall be made directly to the Distribution Agent by
the holder of the Allowed Claim with respect to which such check originally was issued. Any claim
in respect of such a voided check shall be made on or before the later of (i) the first (1st)
anniversary of the Effective Date or (ii) ninety (90) days after the date of issuance of such check,
if such check represents a final distribution hereunder on account of such Claim. After such date,
all Claims in respect of voided checks shall be discharged and forever barred and the Distribution
Agent shall retain all monies related thereto for the sole purpose of redistribution to Holders of
Allowed Claims in accordance with the terms and provisions hereof.

I.     Distributions After Effective Date




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       Distributions made after the Effective Date to Holders of Claims that are not Allowed
Claims as of the Effective Date, but which later become Allowed Claims, shall be deemed to have
been made in accordance with the terms and provisions of Article XXIV.E of the Plan.

J.     Setoffs

        Except as otherwise provided in the Plan or in the Confirmation Order, the Distribution
Agent may, pursuant to applicable bankruptcy or non-bankruptcy law, set off against any Allowed
Claim and the distributions to be made pursuant to the Plan on account thereof (before any
distribution is made on account of such Claim by the Distribution Agent), the claims, rights, and
Causes of Action of any nature that the Debtor or Reorganized Debtor may hold against the Holder
of such Allowed Claim; provided, however, that neither the failure to effect such a setoff nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtor or
Reorganized Debtor of any such claims, rights, and Causes of Action that the Debtor or the
Reorganized Debtor may possess against such Holder; and, provided, further, that nothing
contained herein is intended to limit the ability of any Creditor to effectuate rights of setoff or
recoupment preserved or permitted by the provisions of Bankruptcy Code sections 553, 555, 559,
or 560 or pursuant to the common law right of recoupment; and, provided, further, that nothing in
this Article XXIV.J shall affect the releases and injunctions provided in Article XXVII of the Plan.

K.     Allocation Between Principal and Accrued Interest

        To the extent that any Allowed Claim entitled to a distribution under the Plan consists of
indebtedness and other amounts (such as accrued but unpaid interest thereon), such distribution
shall be allocated first, to interest accrued and unpaid as of the date immediately preceding the
Petition Date, second, to the principal amount of the Claim (as determined for federal income tax
purposes) and third, to the extent the consideration exceeds the principal amount of the Claim, to
such other amounts; provided, however, that the Debtor’s or Reorganized Debtor’s treatment of
any distributions for its tax purposes will not be binding on any Creditor as to the treatment of such
distributions for any regulatory, tax, or other purposes.

L.     Holder of Claim

        For all purposes of the Plan, including, without limitation, for purposes of distributions
pursuant to the terms and provisions of this Article XXIV, the Holder of a Claim shall mean any
Entity who, directly or indirectly, has investment power with respect to any Claim, which includes
the power to dispose or to direct the disposition of such Claim; provided, however, that, solely
with respect to Insured PREPA Revenue Bonds and Bankruptcy Code section 1126, the Holder of
any Insured PREPA Revenue Bond Claims shall be determined in accordance with PROMESA
section 301(c)(3) and any law or governing documents applicable to such Insured PREPA Revenue
Bond Claims.
M.     Exculpation

        From and after the Effective Date, the Distribution Agent shall be exculpated by all
Entities, including, without limitation, Holders of Claims and other parties in interest, from any
and all claims, Causes of Action, and other assertions of liability arising out of the discharge of
the powers and duties conferred upon such Distribution Agent by the Plan or any order of the Title


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III Court entered pursuant to or in furtherance of the Plan, or applicable law, except for actions or
omissions to act arising out of the gross negligence or willful misconduct of such Distribution
Agent. No Holder of a Claim or other party in interest shall have or pursue any claim or cause of
action against the Distribution Agent for making payments in accordance with the Plan or for
implementing the provisions of the Plan.

                                         ARTICLE XXV

                  PROCEDURES FOR RESOLVING DISPUTED CLAIMS

A.     Objections to Claims and Prosecution of Disputed Claims

        Except with respect to Allowed Claims, and subject to the terms and conditions of the ADR
Procedures and the ADR Order, the Reorganized Debtor, by and through the Oversight Board,
shall object to, and shall assume any pending objection filed by the Debtor to, the allowance of
Claims filed with the Title III Court with respect to which it disputes liability, priority or amount,
including, without limitation, objections to Claims that have been assigned and the assertion of the
doctrine of equitable subordination with respect thereto. All objections, affirmative defenses, and
counterclaims shall be litigated to Final Order; provided, however, that the Reorganized Debtor,
by and through the Oversight Board, shall have the authority to file, settle, compromise, or
withdraw any objections to Claims, without approval of the Title III Court. Unless otherwise
ordered by the Title III Court, to the extent not already objected to by the Debtor, the Reorganized
Debtor shall file and serve all objections to Claims as soon as practicable, but, in each instance,
not later than the Claims Objection Bar Date. Notwithstanding anything contained in the Plan to
the contrary, on the Effective Date, any (i) PREPA Revenue Bond Claim or Fuel Line Loan Claim
filed by any Entity for amounts due under existing securities and (ii) Proofs of Claim included on
a schedule to the Plan Supplement, if any, shall be deemed satisfied and expunged and the
Oversight Board shall instruct the Solicitation Agent, its court-appointed representative, to remove
such Claims from the Claims Register maintained for the benefit of the Title III Court.

         Except as otherwise provided herein, no Claim shall become an Allowed Claim unless and
until such Claim is deemed Allowed under the Plan or PROMESA, or the Title III Court has
entered a Final Order allowing such Claim. For the avoidance of doubt, there is no requirement to
file a Proof of Claim (or move the Title III Court for allowance) to be an Allowed Claim under the
Plan. Except as otherwise provided herein, all Proofs of Claim filed after the Effective Date
shall be Disallowed and forever barred, estopped, and enjoined from assertion, and shall not
be enforceable against PREPA or Reorganized PREPA, without the need for any objection
by PREPA or Reorganized PREPA or any further notice to or action, order, or approval of
the Title III Court.

B.     Estimation of Claims

       Except with respect to Allowed Claims, on and after the Effective Date, and unless
otherwise limited by an order of the Title III Court, including, without limitation, the ACR Order
and the ADR Order, the Reorganized Debtor, by and through the Oversight Board, may at any
time request the Title III Court to estimate for final distribution purposes any contingent,
unliquidated or Disputed Claim pursuant to Bankruptcy Code section 502(c) regardless of whether



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the Debtor previously objected to or sought to estimate such Claim, and the Title III Court will
retain jurisdiction to consider any request to estimate any Claim at any time during litigation
concerning any objection to any Claim, including, without limitation, during the pendency of any
appeal relating to any such objection. Unless otherwise provided in an order of the Title III Court,
in the event that the Title III Court estimates any contingent, unliquidated, or Disputed Claim, the
estimated amount shall constitute either the allowed amount of such Claim or a maximum
limitation on such Claim, as determined by the Title III Court; provided, however, that, if the
estimate constitutes the maximum limitation on such Claim, the Reorganized Debtor, by and
through the Oversight Board, may elect to pursue supplemental proceedings to object to any
ultimate allowance of such Claim; and, provided, further, that the foregoing is not intended to limit
the rights granted by Bankruptcy Code section 502(j). All of the aforementioned Claims objection,
estimation, and resolution procedures are cumulative and not necessarily exclusive of one another.

C.     Claims Administration Responsibilities

        Except as otherwise specifically provided in the Plan, after the Effective Date, PREPA
shall have the sole authority: (1) to file, withdraw, or litigate to judgment, objections to Claims;
(2) to settle or compromise any Disputed Claim without any further notice to or action, order, or
approval by the Title III Court; and (3) to administer and adjust the Claims Register to reflect any
such settlements or compromises without any further notice to or action, order, or approval by the
Title III Court. For the avoidance of doubt, except as otherwise provided herein, from and after
the Effective Date, PREPA shall have and retain any and all rights and defenses PREPA had
immediately prior to the Effective Date with respect to any Disputed Claim.

D.     Adjustment to Claims Without Objection

       Any duplicate Claim or any Claim that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by PREPA without PREPA having to file an
application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim and without any further notice to or action, order, or approval of the Title III Court.

E.     Extension of Claims Objection Bar Date

       Upon motion by Reorganized PREPA to the Title III Court, Reorganized PREPA may
request, and the Title III Court may grant, an extension to the Claims Objection Bar Date generally
or with respect to specific Claims. Any extension granted by the Title III Court shall not be
considered to be a modification of the Plan under PROMESA section 313.

F.     Authority to Amend Creditor List

        PREPA will have the authority to amend the Creditor List with respect to any Claim and
to make distributions based on such amended Creditor List without approval of the Title III Court.
If any such amendment to the Creditor List reduces the amount of a Claim or changes the nature
or priority of a Claim, PREPA will provide the Holder of such Claim with notice of such
amendment and such Holder will have twenty (20) days to file an objection to such amendment
with the Title III Court. If no such objection is filed, the Distribution Agent may proceed with
distributions based on such amended Creditor List without approval of the Title III Court.



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G.     No Interest

        Unless otherwise specifically provided for herein or by order of the Title III Court,
postpetition interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be
entitled to interest accruing on or after the Petition Date on any Claim or right. Additionally, and
without limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim with
respect to the period from the Effective Date to the date a final distribution is made on account of
such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

H.     Disallowance of Claims

       All Claims of any Entity from which property is sought by PREPA under Bankruptcy Code
sections 550 or 553 or that PREPA alleges is a transferee of a transfer that is avoidable under
Bankruptcy Code sections 544, 545, 547, 548, or 549 shall be Disallowed if: (a) the Entity, on the
one hand, and PREPA, on the other hand, agree or the Title III Court has determined by Final
Order that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned Bankruptcy Code sections; and (b) such Entity or transferee has failed to turn over
such property by the date set forth in such agreement or Final Order.

                                        ARTICLE XXVI

     GOVERNANCE AND PROVISIONS REGARDING PREPA PAYGO TRUST AND
                          PENSION SYSTEM

A.     Formation and Responsibilities of the PREPA PayGo Trust

      On or prior to the Effective Date, PREPA shall take all necessary steps to establish the
PREPA PayGo Trust, including, without limitation, by execution and delivery of the PREPA
PayGo Deed of Trust.

B.     Funding of the PREPA PayGo Trust

       1.      Initial Funding

      On the Effective Date, PREPA shall contribute, or cause to be contributed to the PREPA
PayGo Trust, one million dollars ($1,000,000) to fund the initial administrative fees, costs, and
expenses of the PREPA PayGo Trust.

       2.      Ongoing Funding of the PREPA PayGo Trust

        Reorganized PREPA shall make debt service payments with respect to the PREPA PayGo
New Bonds Distribution and Excess New Bonds, if any, held by the PREPA PayGo Trust in
accordance with the New Master Indenture. In addition, from and after the Fiscal Year in which
the Effective Date occurs, Reorganized PREPA shall make, or cause to be made, annual (but in no
event later than September 30th following the conclusion of each Fiscal Year) contributions to the
PREPA PayGo Trust such that:




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               (a)     the combined payments on account of the PREPA PayGo New Bonds
                       Distribution and Excess New Bonds and Cash payments under this Article
                       XXVI.B.2 shall be sufficient for the PREPA PayGo Trust to reimburse
                       PREPA ERS for retirement benefits paid and administrative expenses
                       incurred in the prior Fiscal Year ending June 30 as set forth in Article
                       VI.A.1, and

               (b)     the contribution in the immediately foregoing clause (a) shall be increased
                       or limited such that, after such contribution, the PREPA PayGo Trust assets
                       shall equal two (2) times the expected retirement benefits to be paid and
                       administrative expenses to be incurred during the current Fiscal Year, with
                       any resulting increase to the amount paid pursuant to the immediately
                       foregoing clause (a) not to exceed fifty million dollars ($50,000,000) in a
                       given Fiscal Year.

C.     Management of PREPA PayGo Trust

       The PREPA PayGo Trust will be managed by an independent entity whose members shall
meet the independence, professionalism, experience, and qualification standards set forth in the
PREPA PayGo Deed of Trust.

D.     Non-Impairment Covenant

        PREPA covenants herein, and will covenant in the PREPA PayGo Deed of Trust, for the
benefit of all Participants that, with respect to payments and other obligations owed to PREPA
ERS pursuant to the Plan, all such obligations shall remain in place and not otherwise be altered,
modified, or amended until all such obligations have been satisfied in full in accordance with the
provisions of the Plan and the Definitive Documents, enforceable by any and each of the Oversight
Board, the PREPA PayGo Trust, and PREPA ERS and, with respect to any such provision, the
PREPA PayGo Deed of Trust shall not be amended or modified by Reorganized PREPA except
(i) with the express prior written consent of the Oversight Board (if in existence), and PREPA
ERS, or (ii) pursuant to a new or re-opened Title III case for Reorganized PREPA and a confirmed
new or modified, and effective, plan of adjustment.

E.     Maintenance of Pension

        Before the tenth (10th) anniversary of the Effective Date, both the Government of the
Commonwealth of Puerto Rico and Reorganized PREPA, including, without limitation, by any
Entity or Person acting for or on behalf thereof, shall not (a) implement existing legislation, enact
new legislation, or enter into new collective bargaining agreements or other contracts to create or
increase any defined benefit pension payment or obligation to current or future retirees from or
related to any defined benefit plans over the benefits provided by the Plan, regardless of funding
source, or (b) undo (in whole or part) the Plan’s eliminations of defined benefit plan accruals and
cost of living adjustments for PREPA ERS Participants.




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                                         ARTICLE XXVII

                       EFFECT OF CONFIRMATION OF THE PLAN

A.     Discharge and Release of Claims and Causes of Action

       1.      Complete Satisfaction, Discharge, and Release

         Except as expressly provided in the Plan or the Confirmation Order, all distributions and
rights afforded under the Plan shall be, and shall be deemed to be, in exchange for, and in complete
satisfaction, settlement, discharge, and release of, all Claims or Causes of Action against PREPA
and Reorganized PREPA that arose, in whole or in part, prior to the Effective Date, relating to the
Title III Case, the Debtor or Reorganized Debtor or any of their respective Assets, property, or
interests of any nature whatsoever, including any interest accrued on such Claims from and after
the Petition Date, and regardless of whether any property will have been distributed or retained
pursuant to the Plan on account of such Claims or Causes of Action. Upon the Effective Date, the
Debtor and Reorganized Debtor shall be deemed discharged and released from any and all Claims,
Causes of Action, and any other Debts that arose, in whole or in part, prior to the Effective Date
(including prior to the Petition Date), and all Debts of the kind specified in Bankruptcy Code
sections 502(g), 502(h), or 502(i), whether or not (a) a Proof of Claim based upon such Debt is
filed or deemed filed under Bankruptcy Code section 501, (b) a Claim based upon such Debt is
allowed under Bankruptcy Code section 502 (or is otherwise resolved), or (c) the Holder of a Claim
based upon such Debt voted to accept the Plan; provided, for the avoidance of doubt, this Article
XXVII.A.1 does not extend to or include any claims, rights, or defenses (whether ordinary or
affirmative) of the Vitol Parties related to the Vitol-SCC AP preserved pursuant to the Vitol
Settlement Agreement, and the Vitol Parties are not releasing and instead is expressly preserving,
all of its claims, rights, or defenses related to the Vitol-SCC AP as provided in the Vitol Settlement
Agreement.

       2.      Preclusion from Assertion of Claims Against the Debtor

         All Entities shall be precluded from asserting any and all Claims or other obligations, suits,
judgments, damages, Debts, rights, remedies, Causes of Action, or liabilities, of any nature
whatsoever, including any interest accrued on such Claims from and after the Petition Date, against
the Debtor and Reorganized Debtor and each of their respective Assets, property and rights,
relating to the Title III Case, regardless of whether any property will have been distributed or
retained pursuant to the Plan on account of such Claims or other obligations, suits, judgments,
damages, Debts, rights, remedies, Causes of Action, or liabilities. In accordance with the
foregoing, except as expressly provided in the Plan or the Confirmation Order, the Confirmation
Order shall constitute a judicial determination, as of the Effective Date, of the discharge and release
of all such Claims, Causes of Action, or Debt of or against the Debtor and the Reorganized Debtor
pursuant to Bankruptcy Code sections 524 and 944, applicable to the Title III Case pursuant to
PROMESA section 301, and such discharge shall void and extinguish any judgment obtained
against the Debtor or Reorganized Debtor and their respective Assets, and property at any time, to
the extent such judgment is related to a discharged Claim, Debt, or liability. As of the Effective
Date, and in consideration for the value provided under the Plan, each Holder of a Claim in any
Class under this Plan shall be and hereby is deemed to release and forever waive and discharge as


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against the Debtor and Reorganized Debtor, and their respective Assets and property and all such
Claims; provided, for the avoidance of doubt, this Article XXVII.A.2 does not extend to or include
any claims, rights, or defenses (whether ordinary or affirmative) of the Vitol Parties related to the
Vitol-SCC AP preserved pursuant to the Vitol Settlement Agreement, and the Vitol Parties are is
not releasing and instead is expressly preserving, all of its claims, rights, or defenses related to the
Vitol-SCC AP as provided in the Vitol Settlement Agreement.

       3.      Injunction Related to Discharge of Claims

         Except as otherwise expressly provided in this Article XXVII of the Plan, the Confirmation
Order or such other Final Order of the Title III Court that may be applicable, all Entities who have
held, hold, or may hold Claims or any other Debt or liability that is discharged or released pursuant
to Article XXVII hereof or who have held, hold, or may hold Claims or any other Debt or liability
that is discharged or released pursuant to Article XXVII hereof are permanently enjoined, from
and after the Effective Date, from (a) commencing or continuing, directly or indirectly, in any
manner, any action or other proceeding (including, without limitation, any judicial, arbitral,
administrative, or other proceeding) of any kind on any such Claim or other Debt or liability that
is discharged or released pursuant to the Plan against any of the Released Parties or any of their
respective Assets or property, (b) the enforcement, attachment, collection, or recovery by any
manner or means of any judgment, award, decree, or order against any of the Released Parties or
any of their respective assets or property on account of any Claim or other Debt or liability that is
discharged or released pursuant to the Plan, (c) creating, perfecting, or enforcing any encumbrance
of any kind against any of the Released Parties or any of their respective assets or property on
account of any Claim or other Debt or liability that is discharged or released pursuant to the Plan,
and (d) except to the extent provided, permitted, or preserved by Bankruptcy Code sections 553,
555, 556, 559, or 560 or pursuant to the common law right of recoupment, asserting any right of
setoff, subrogation, or recoupment of any kind against any obligation due from any of the Released
Parties or any of their respective assets or property, with respect to any such Claim or other Debt
or liability that is discharged or released pursuant to the Plan. Such injunction shall extend to all
successors and assigns of the Released Parties and their respective assets and property.

B.     Releases by the Debtor and Reorganized Debtor

        Except as otherwise expressly provided in the Plan or the Confirmation Order, on the
Effective Date, and for good and valuable consideration, each of the Debtor and Reorganized
Debtor, the Distribution Agent and each of the Debtor’s and Reorganized Debtor’s Related
Persons shall be deemed to have and hereby does irrevocably and unconditionally, fully,
finally, and forever waive, release, acquit, and discharge the Released Parties from any and
all Claims or Causes of Action that the Debtor, Reorganized Debtor, and the Distribution
Agent, or any of them, or anyone claiming through them, on their behalf or for their benefit,
have or may have or claim to have, now or in the future, against any Released Party that are
Released Claims or otherwise are based upon, relate to, or arise out of or in connection with,
in whole or in part, any act, omission, transaction, event, or other circumstance relating to
the Title III Case, the Fuel Line Lender PSA, the National PSA, or the Debtor taking place
or existing on or prior to the Effective Date, and/or any Claim, act, fact, transaction,
occurrence, statement, or omission in connection with or alleged or that could have been
alleged, including, without limitation, any such Claim, demand, right, liability, or cause of


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action for indemnification, contribution, or any other basis in law or equity for damages,
costs, or fees.

C.     Releases by Holders of Claims

        Notwithstanding anything contained in this Plan to the contrary, as of the Effective
Date, for good and valuable consideration, each Holder of a Claim is deemed to have released
and discharged the Debtor and the Reorganized Debtor from any and all Causes of Action,
whether known or unknown, including any derivative claims, asserted on behalf of the
Debtor, that such Entity would have been legally entitled to assert (whether individually or
collectively), based on or relating to, or in any manner arising from, in whole or in part, the
Debtor (including management, ownership, or operation thereof), the Debtor’s in- or out-of-
court restructuring efforts, intercompany transactions, the Title III Case, the formulation,
preparation, dissemination, negotiation, or filing of the Disclosure Statement, the Plan, the
Uninsured Bond Settlement Agreement, the Vitol Settlement Agreement, the Restructuring
Transactions, the Fuel Line Lender PSA, the National PSA, or any contract, instrument,
release, or other Definitive Documents, agreement, or document created or entered into in
connection with the Disclosure Statement, or the Plan, the filing of the Title III Case, the
pursuit of Confirmation, the pursuit of consummation, the administration and
implementation of the Plan, including the issuance or distribution of securities pursuant to
the Plan, or the distribution of property under the Plan or any other related agreement, or
upon any other related act or omission, transaction, agreement, event, or other occurrence
taking place on or before the Effective Date. Notwithstanding anything to the contrary in
the foregoing, the releases set forth above do not release any post-Effective Date obligations
of any party or Entity under the Plan, the Restructuring Transactions, or any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement the Plan.

D.     Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party shall have
or incur, and each Exculpated Party is released and exculpated from any Cause of Action
for any claim related to any act or omission in connection with, relating to, or arising out of,
the Title III Case, the formulation, preparation, dissemination, negotiation, or filing of the
Fuel Line Lender PSA, the National PSA, Disclosure Statement, the Plan, the Uninsured
Bond Settlement Agreement, the Vitol Settlement Agreement, or any Restructuring
Transaction, contract, instrument, release or other Definitive Document, agreement, or
document created or entered into in connection with the Disclosure Statement or the Plan,
the filing of the Title III Case, the pursuit of Confirmation, the pursuit of consummation, the
administration and implementation of the Plan, including the issuance of securities pursuant
to the Plan, or the distribution of property under the Plan or any other related agreement,
except for claims related to any act or omission that is determined in a Final Order to have
constituted actual fraud or gross negligence, but in all respects such Entities shall be entitled
to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan. The Exculpated Parties have, and upon completion of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws
with regard to the solicitation of votes and distribution of consideration pursuant to the Plan


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and, therefore, are not, and on account of such distributions shall not be, liable at any time
for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of the Plan or such distributions made pursuant to the Plan. For
the avoidance of doubt, notwithstanding anything contained herein to the contrary, the Plan
shall not, and shall not be construed to, release or exculpate, any payment obligation under
the applicable National Insurance Policy, to any beneficial holder of National Insured Bonds,
in accordance with its terms solely to the extent of any failure of such holder to receive the
treatment provided to Holders of Claims in Class 5 (or any claims that National may have
against a beneficial holder of National Insured Bonds with respect to National’s applicable
obligations under the National Insurance Policies).

E.     Injunction

       As of the Effective Date, all Entities that hold, have held, or may hold a Released
Claim that is released pursuant to this Article XXVII of the Plan, are, and shall be,
permanently, forever and completely stayed, restrained, prohibited, barred, and enjoined
from taking any of the following actions, whether directly or indirectly, derivatively, or
otherwise, on account of or based on the subject matter of such discharged Released Claims:
(i) commencing, conducting, or continuing in any manner, directly or indirectly, any suit,
action, or other proceeding (including, without limitation, any judicial, arbitral,
administrative, or other proceeding) in any forum; (ii) enforcing, attaching (including,
without limitation any prejudgment attachment), collecting, or in any way seeking to recover
any judgment, award, decree, or other order; (iii) creating, perfecting, or in any way
enforcing in any matter, directly or indirectly, any Lien; (iv) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation owed to any
Entity released under Article XXVII hereof; and (v) commencing or continuing in any
manner, in any place of any judicial, arbitration, or administrative proceeding in any forum,
that does not comply with or its inconsistent with the provisions of the Plan or the
Confirmation Order.

F.     Non-Severability of Releases, Injunctions, and Exculpations

        Notwithstanding anything else contained in the Plan, the releases, injunctions, and
exculpation provided in this Article XXVII are integral to obtaining the value provided hereunder
and constitute an essential component of the compromises reached and are not severable from the
other provisions of this Plan.

G.     Reimbursement or Contribution

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to Bankruptcy Code section 502(e)(1)(B), then to the extent that such Claim is contingent
as of the time of allowance or disallowance, such Claim shall be forever Disallowed and expunged
notwithstanding Bankruptcy Code section 502(j), unless prior to the Confirmation Date: (1) such
Claim has been adjudicated as non-contingent; or (2) the relevant Holder of a Claim has filed a
non-contingent Proof of Claim on account of such Claim and a Final Order has been entered prior
to the Confirmation Date determining such Claim as no longer contingent.



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H.      Release of Liens

        Except (a) with respect to the Liens securing the New Bonds and CVI, or (b) as otherwise
provided herein or in any contract, instrument, release, or other agreement or document created
pursuant to the Plan, on the Effective Date, all mortgages, deeds of trust, Liens, pledges, or other
security interests against any property of the Debtor shall be fully released and discharged, and the
Holders of such mortgages, deeds of trust, Liens, pledges, or other security interests shall execute
such documents as may be reasonably requested by the Debtor, as applicable, to reflect or
effectuate such releases, and all of the right, title, and interest of any holder of such mortgages,
deeds of trust, Liens, pledges, or other security interests shall revert to the Debtor and its successors
and assigns.

                                         ARTICLE XXVIII

         MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.      Modification of Plan

        Subject to sections 104(j) and 313 of PROMESA and sections 942 and 1127(d) of the
Bankruptcy Code, applicable to the Title III Cases pursuant to PROMESA section 301 of
PROMESA, PREPA may alter, amend, or modify the Plan or the Exhibits at any time prior to or
after the Confirmation Date but prior to the Effective Date; provided, that such alteration,
amendment, or modification does not materially and adversely impact LUMA Energy, shall not
be inconsistent with the Fuel Line Lender PSA or the National PSA, and shall be reasonably
acceptable to the Required Fuel Line Lenders and National. Subject to Article I.G hereof, a Holder
of a Claim that has accepted the Plan shall be deemed to have accepted the Plan as altered,
amended, or modified so long as the proposed alteration, amendment, or modification does not
materially and adversely change the treatment of the Claim of such Holder.

B.      Revocation or Withdrawal

        The Plan may be revoked or withdrawn prior to the Confirmation Date by the Oversight
Board. If the Plan is revoked or withdrawn prior to the Confirmation Date, or if the Plan does not
become effective for any reason whatsoever, then the Plan shall be deemed null and void. In such
event, nothing contained herein shall be deemed to constitute a waiver or release of any claim by
the Debtor or any other Entity, or to prejudice in any manner the rights of the Debtor or any other
Entity in any further proceeding involving the Debtor.

C.      Amendment of Plan Documents

       From and after the Effective Date, the authority to amend, modify, or supplement the Plan
Supplement, the exhibits and schedules to the Plan Supplement and the exhibits and schedules to
the Plan, and any document attached to any of the foregoing, shall be as provided in such Plan
Supplement, exhibits and schedules to the Plan Supplement, or exhibits and schedules to the Plan
and their respective attachments, as the case may be.

D.      No Admission of Liability



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       The submission of this Plan is not intended to be, nor shall it be construed as, an admission
or evidence in any pending or subsequent suit, action, proceeding, or dispute of any liability,
wrongdoing, or obligation whatsoever (including as to the merits of any claim or defense) by any
Entity with respect to any of the matters addressed in this Plan.

         None of this Plan (including, without limitation, the exhibits and schedules hereto), or any
settlement entered, act performed, or document executed in connection with this Plan: (i) is or may
be deemed to be or may be used as an admission or evidence of the validity of any claim or of any
wrongdoing or liability of any Entity; (ii) is or may be deemed to be or may be used as an admission
or evidence of any liability, fault, or omission of any Entity in any civil, criminal, or administrative
proceeding in any court, administrative agency, or other tribunal; (iii) is or may be deemed to be
or used as an admission or evidence against Reorganized Debtor, the Debtor, or any other Entity
with respect to the validity of any Claim. None of this Plan or any settlement entered, act
performed, or document executed in connection with this Plan shall be admissible in any
proceeding for any purposes, except to carry out the terms of this Plan, and except that, once
confirmed, any Entity may file this Plan in any action for any purpose, including, but not limited
to, in order to support a defense or counterclaim based on the principles of res judicata, collateral
estoppel, release, good faith settlement, judgment bar, or reduction or any other theory of claim
preclusion or issue preclusion or similar defense of counterclaim.

                                          ARTICLE XXIX

 CORPORATE GOVERNANCE AND MANAGEMENT OF REORGANIZED DEBTOR

A.     Corporate Action

        On the Effective Date, all matters provided for under the Plan that would otherwise require
approval of the directors of the Debtor or Reorganized Debtor, including, without limitation, to
the extent applicable, the authorization to issue or cause to be issued the New Bonds, the
authorization to enter into the Definitive Documents, the adoption of Reorganized Debtor By-
Laws, and the election or appointment, as the case may be, of directors and officers of Reorganized
Debtor pursuant to the Plan, as applicable, shall be authorized and approved in all respects, in each
case, in accordance with the New Master Indenture and the new corporate governance documents,
as applicable, and without further action by any Entity under any other applicable law, regulation,
order, or rule. Other matters provided under the Plan involving the corporate structure of the
Reorganized Debtor, or corporate action by the Reorganized Debtor, shall be deemed to have
occurred, be authorized, and shall be in effect in accordance with the New Master Indenture and
the new corporate governance documents, as applicable, and without requiring further action by
any Entity under any other applicable law, regulation, order, or rule. Without limiting the
foregoing, from and after the Confirmation Date, the Debtor and Reorganized Debtor shall take
any and all actions deemed appropriate in order to consummate the transactions contemplated
herein in accordance with the New Master Indenture, and the new corporate governance
documents, as applicable.




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B.     Reorganized Debtor’s By-Laws

        To the extent applicable, the by-laws of the Reorganized Debtor shall be amended as of the
Effective Date to be consistent with the Plan, as applicable.

C.     Officers of Reorganized Debtor

        The Reorganized Debtor’s officers and governing directors will remain the same as of the
Effective Date, unless disclosed otherwise in the Plan Supplement.

                                         ARTICLE XXX

IDENTIFICATION OF CLAIMS IMPAIRED BY THE PLAN AND NOT IMPAIRED BY
                            THE PLAN

A.     Impaired Classes

        The Claims in Classes 1–9 and 11–12 are Impaired and receiving distributions pursuant to
the Plan, and are therefore entitled to vote to accept or reject the Plan. The Claims in Class 14 are
Impaired and not receiving a distribution pursuant to the Plan and, therefore, Class 14 is deemed
to have rejected the Plan.

B.     Unimpaired Classes

       The Claims in Classes 10 and 13 are Unimpaired pursuant to the Plan, are deemed to have
accepted the Plan, and are not entitled to vote to accept or reject the Plan.

                                        ARTICLE XXXI

           CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN

A.     Conditions Precedent to Confirmation Date

        It shall be a condition precedent to Confirmation of the Plan that the following conditions
shall have been satisfied or waived pursuant to Article XXXI.B of the Plan:

               (a)     Fiscal Plan Certification: The Oversight Board shall have certified a
                       Fiscal Plan consistent with the Plan and shall have certified the submission
                       of the Plan, and any modifications to the Plan through the Confirmation
                       Date, in accordance with PROMESA sections 104(j) and 313.

               (b)     Required Orders: The Title III Court shall have entered an order or orders
                       (including, without limitation, the Disclosure Statement Order and the
                       Confirmation Order in accordance with PROMESA section 314 and
                       Bankruptcy Code section 1129, made applicable to the Title III Cases
                       pursuant to PROMESA section 301) providing for the following:




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                  (i)     Approving the Disclosure Statement as containing “adequate
                          information” pursuant to Bankruptcy Code section 1125;

                  (ii)    Authorizing the solicitation of votes and elections with respect to
                          the Plan;

                  (iii)   Determining that all votes and elections or deemed elections are
                          binding and have been properly tabulated;

                  (iv)    Confirming and giving effect to the terms and provisions of the Plan,
                          including the releases set forth in Article XXVII of the Plan;

                  (v)     Subject to Article XVIII with respect to the settlement of the
                          National Claims, determining that the compromises and settlements
                          set forth in the Plan are appropriate, reasonable, and approved and
                          authorizing the transactions contemplated therein;

                  (vi)    Determining that all applicable tests, standards, and burdens in
                          connection with the Plan have been duly satisfied and met by the
                          Oversight Board, the Debtor, and the Plan;

                  (vii)   Determining the validity, priority, extent, and enforceability of the
                          Lien asserted by the Bond Trustee;

                  (viii) Determining the amount, if any, of the Deficiency Claim;

                  (ix)    Determining that PREB is required to approve the Legacy Charge
                          as a rate, fee, and/or charge necessary to guarantee that Reorganized
                          PREPA meets its obligations to holders of New Bonds;

                  (x)     Approving the documents in the Plan Supplement, and determining
                          that such documents are valid and binding on parties with respect
                          thereto; and

                  (xi)    Authorizing the Reorganized Debtor to execute, enter into, and
                          deliver the documents in the Plan Supplement, and to execute,
                          implement, and take all actions otherwise necessary or appropriate
                          to give effect to the transactions contemplated by the Plan, and the
                          documents in the Plan Supplement;

                  (xii)   Authorizing the Debtor to take all actions necessary to enter into,
                          implement, and consummate the contracts, instruments, securities,
                          releases, leases, indentures, and other agreements or documents
                          created in connection with the Plan, including setting,
                          implementing, and enforcing the Legacy Charge;

                  (xiii) Decreeing that the provisions of the Confirmation Order and the
                         Plan are nonseverable and mutually dependent;


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                  (xiv)   Authorizing the Debtor and Reorganized Debtor to: (1) make all
                          distributions and issuances as required under the Plan; and (2) enter
                          into any agreements and transaction as set forth in the Plan
                          Supplement;

                  (xv)    Authorizing the implementation of the Plan in accordance with its
                          terms;

                  (xvi)   Determining the New Bonds, and the covenants by Reorganized
                          PREPA, for the benefit of the holders of the New Bonds, as provided
                          in the New Master Indenture or the Confirmation Order, as
                          applicable, constitute valid, binding, legal, and enforceable
                          obligations of Reorganized PREPA, under Puerto Rico, New York,
                          and federal law;

                  (xvii) Determining the CVI, and the covenants by Reorganized PREPA,
                         for the benefit of the holders of the CVI, as provided in the New
                         Master Indenture or the Confirmation Order, as applicable,
                         constitute valid, binding, legal, and enforceable obligations of
                         Reorganized PREPA, under Puerto Rico and federal law;

                  (xviii) Determining that the Lien on and security interest in the Net
                          Revenues up to the amount of the Legacy Charge Revenues, and the
                          right to receive Net Revenues up to the amount of the Legacy
                          Charge Revenues, and all other provisions to pay the New Bonds,
                          are valid, binding, legal, and enforceable;

                  (xix)   Determining that the Lien on and security interest in the Remaining
                          Net Revenues up to the amount of the Remaining Legacy Charge
                          Revenues, and the right to receive the Remaining Net Revenues up
                          to the amount of the Legacy Charge Revenues, and all other
                          provisions to pay the CVI, are valid, binding, legal, and enforceable;

                  (xx)    Determining that the Lien on and security interest in the Net
                          Revenues up to the amount of the Legacy Charge Revenues shall be
                          deemed automatically perfected on the Effective Date, subject only
                          to Liens and security interests permitted under the New Master
                          Indenture, and shall not be subject to recharacterization or equitable
                          subordination for any purposes whatsoever and shall not constitute
                          preferential transfers or fraudulent conveyances under PROMESA
                          or any applicable non-bankruptcy law, to the fullest extent permitted
                          by law;

                  (xxi)   Providing that no party, Person, or Entity shall enact, adopt, or
                          implement any law, rule, regulation, or policy that impedes,
                          financially or otherwise, consummation and implementation of the
                          transactions contemplated by the Plan; and



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                      (xxii) Determining the Plan is consistent with the Debtor’s Fiscal Plan and
                             satisfies PROMESA section 314(b)(7).

               (c)    Form of Orders: The Confirmation Order and the Plan are each in form
                      and substance acceptable to the Oversight Board and reasonably acceptable
                      to the Required Fuel Line Lenders.

               (d)    PREB Approval: PREB shall have provided any required approval of the
                      rates, fees, and charges, including the Legacy Charge, necessary to
                      guarantee that Reorganized PREPA meets its obligations to holders of New
                      Bonds.

               (e)    Confirmation Order: The Confirmation Order includes (i) determinations
                      that all of the settlements and compromises contained in the Plan satisfy
                      applicable standard Bankruptcy Code sections 365, 1123(b)(3), and 1129
                      and Bankruptcy Rule 9019, to the extent applicable, (ii) the releases,
                      exculpations, and injunctions set forth in Article XXVII of the Plan, and
                      (iii) the applicable provisions set forth in this Article XXXI; provided, that
                      approval of the National Settlement with respect to the National
                      Reimbursement Claim shall not be a condition to Confirmation of this Plan.

B.     Waiver of Conditions Precedent to Confirmation

        To the extent practicable and legally permissible, each of the conditions precedent Article
XXXI.A hereof may be waived, in whole or in part, by the Oversight Board, with the consent of
the Required Fuel Line Lenders with respect to conditions that directly impact their rights under
the Plan or the Fuel Line Lender PSA (with such consent not to be unreasonably withheld). Any
such waiver of a condition precedent may be effected at any time by filing a notice thereof with
the Title III Court executed by the Oversight Board.

                                        ARTICLE XXXII

                CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.     Conditions Precedent to the Effective Date

       It shall be a condition precedent to the Effective Date that the following conditions shall
have been satisfied or waived pursuant to Article XXXII.B of the Plan:

       1.      Fiscal Plan Certification: The Oversight Board shall have determined that the Plan
               is consistent with the Debtor’s Fiscal Plan and shall have certified the submission
               of the Plan, and any modifications to the Plan through the Confirmation Date, in
               accordance with PROMESA sections 104(j) and 313. The Fiscal Plan certified as
               of the Effective Date shall provide for payment of principal and interest with respect
               to the New Bonds as set forth herein.




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       2.      Confirmation: All conditions precedent to Confirmation, including entry of the
               Confirmation Order, shall have been satisfied or waived pursuant to Article
               XXXI.B of the Plan.

       3.      Final Order; No Injunction: The Confirmation Order shall be a Final Order, and
               shall not be stayed in any respect.

       4.      Authorizations: All authorizations, consents, regulatory approvals, rulings, or
               documents, if any, that are necessary to implement and effectuate the Plan,
               including that PREB approves rates, fees, and charges necessary to guarantee that
               Reorganized PREPA meets its obligations to holders of New Bonds and the PREPA
               PayGo Trust, including the Legacy Charge, have been obtained or enacted or
               entered and not revoked or reversed.

       5.      Execution of Documents; Other Actions: All actions and all contracts,
               instruments, settlements, releases and other agreements or documents, including
               Definitive Documents, necessary to implement the terms and provisions of the Plan,
               including the Definitive Documents, are effected or executed and delivered, as
               applicable, are in full force and effect, and are in form and substance satisfactory
               to the Oversight Board.

       6.      Plan Supplement: The final version of the Plan Supplement and all of the
               schedules, documents, and exhibits contained therein shall have been filed in a
               manner consistent in all material respects with the Plan, Fuel Line Lender PSA, and
               National PSA and shall be in form and substance acceptable to PREPA.

B.     Waiver of Conditions Precedent

        The Oversight Board may waive any of the conditions to the Effective Date set forth in
Article XXXII.A of the Plan at any time without any notice to any other parties in interest and
without any further notice to or action, order, or approval of the Title III Court, and without any
formal action other than proceeding to confirm and consummate the Plan, with the consent of the
Required Fuel Line Lenders with respect to conditions that directly impact their rights under the
Plan or the Fuel Line Lender PSA (with such consent not to be unreasonably withheld); provided,
that the Oversight Board must provide at least five (5) business days’ notice to LUMA Energy
prior to waiving any condition precedent to the Effective Date.

C.     Effect of Non-Occurrence of Conditions to Effective Date

        If prior to the Effective Date, the Confirmation Order is vacated pursuant to a Final Order,
then except as provided in any order of the Title III Court vacating the Confirmation Order, the
Plan will be null and void in all respects, and nothing contained in the Plan or Disclosure Statement
shall: (a) constitute a waiver or release of any Claims or Causes of Action; (b) prejudice in any
manner the rights of the Debtor or any other Entity; or (c) constitute an admission,
acknowledgment, offer, or undertaking of any sort by the Debtor or any other Entity.




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                                        ARTICLE XXXIII

                         PROVISIONS REGARDING COMMITTEE

A.     Dissolution of Committee

         On the Effective Date, the Creditors’ Committee shall be (a) dissolved and be deemed to
have satisfied all of its respective duties and obligations, and (b) released and discharged from any
action or activity taken, or required to be taken, in connection with the Title III Case. To the extent
that, as of the date immediately prior to the Effective Date, the Creditors’ Committee was a party
to a contested matter or adversary proceeding in connection with the Title III Case or any objection
to claim, from and after the Effective Date and to the extent not already a party thereto, the
Reorganized Debtor shall be deemed to have assumed such role and responsibility in connection
with such contested matter or adversary proceeding and, upon such assumption, the Creditors’
Committee shall be relieved of any role, responsibility, or obligation with respect thereto.

                                        ARTICLE XXXIV

     PROVISIONS REGARDING OVERSIGHT BOARD AND COMPLIANCE WITH
                             PROMESA

A.     Effect of Confirmation

        Nothing in this Plan or the Confirmation Order shall discharge, substitute, alter, or
otherwise modify the powers and responsibilities of the Oversight Board pursuant to PROMESA
or the obligations of the Reorganized Debtor under PROMESA. From and after the Effective Date,
the Reorganized Debtor shall continue to have all of its obligations pursuant to PROMESA,
including, without limitation, the terms and conditions of Titles I and II thereof.

B.     Ongoing Role of the Oversight Board

       Nothing in the Plan or the Confirmation Order shall discharge any or all obligations of each
Debtor under PROMESA and, from and after the Effective Date, the Oversight Board’s powers
and responsibilities under PROMESA shall continue, and the Debtor’s duties and obligations shall
continue and be unaffected by the Plan and the consummation thereof.

C.     Preemption of Laws

        As of the Effective Date, and to the extent not previously preempted pursuant to an order
of the Title III Court, provisions of Commonwealth laws, rules, or regulations that affect PREPA
or Reorganized PREPA and are inconsistent with PROMESA shall be preempted for the reasons,
and to the extent, set forth in Exhibit “A” to the Findings of Fact and Conclusions of Law, such
preempted laws, rules, and regulations include, without limitation, pursuant to Section 4 of
PROMESA, all laws, rules, and regulations (or such portions thereof) of the Commonwealth of
Puerto Rico to the extent they give rise to obligations of the Debtor discharged or altered by the
Plan and the Confirmation Order pursuant to PROMESA, and such discharge shall prevail over
any general or specific provisions of territory laws, rules, and regulations, are preempted to the
extent inconsistent with the Plan’s discharge of the Debtor’s obligations and all such laws shall


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not be enforceable to the extent they are inconsistent with the Plan’s discharge of the Debtor’s
obligations or any of the transactions contemplated by the Plan. Without in any way limiting the
foregoing, (y) the Commonwealth laws preempted by PROMESA that affect the Debtor include,
without limitation, those listed on Schedule D hereto for the reasons and to the extent set forth in
Exhibit “A” to the Findings of Fact and Conclusions of Law, and (z) all litigation in which any
Government Party is a defendant, over whether Commonwealth law listed on Schedule D hereto
is preempted by PROMESA shall be dismissed, with prejudice, as of the Effective Date and the
parties thereto shall provide the Oversight Board prompt notice of such dismissal. For the
avoidance of doubt, the non-inclusion of a payment obligation arising from a valid law in a
certified Fiscal Plan or PREPA budget is not a basis for disallowance of such obligation to the
extent the claim arising therefrom otherwise satisfies the requirements for allowance of a claim
under the relevant provisions of the Bankruptcy Code.

                                        ARTICLE XXXV

                               RETENTION OF JURISDICTION

        The Title III Court shall retain all its exclusive and concurrent subject matter jurisdiction,
as the case may be, over any matter arising under PROMESA, arising in or related to, the Title III
Cases and the Plan, or that relates to the following:

        1.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
secured or unsecured status, or amount of any Claim not compromised or settled hereby, including
the resolution of any request for payment of any Claim and the resolution of any and all objections
to the secured or unsecured status, priority, amount, or allowance of Claims not compromised or
settled hereby;

        2.     resolve any matters related to Executory Contracts or Unexpired Leases, including:
(a) the assumption or assumption and assignment of any Executory Contract or Unexpired Lease
to which PREPA is party or with respect to which PREPA may be liable and to hear, determine,
and, if necessary, liquidate, any Cure Claim, including pursuant to Bankruptcy Code section 365;
(b) any potential contractual obligation under any Executory Contract or Unexpired Lease that is
assumed or assumed and assigned; and (c) any dispute regarding whether a contract or lease is or
was executory or expired;

        3.     ensure that distributions to Holders of Allowed Claims are accomplished pursuant
to the provisions of the Plan and adjudicate any and all disputes arising from or relating to
distributions under the Plan;

        4.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
litigated matters, and any other matters, and grant or deny any applications involving PREPA or
the Reorganized Debtor that may be pending on the Effective Date or brought thereafter;

       5.      decide and resolve all matters related to the granting and denying, in whole or in
part, any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to PROMESA, the Plan, or orders entered by the Title III Court;




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        6.      enter and implement such orders as may be necessary or appropriate to execute,
implement, consummate, or enforce the provisions of (a) contracts, instruments, releases,
indentures, and other agreements or documents approved by Final Order in the Title III Case and
(b) the Plan, the Confirmation Order, and any other contracts, instruments, securities, releases,
indentures, and other agreements or documents created in connection with the Plan;

        7.      adjudicate, decide, or resolve any cases, controversies, suits, disputes, or other
challenges of any kind that may arise in connection with the consummation, interpretation, or
enforcement of the Plan, the Confirmation Order, or any other contract, instrument, security,
release, or other agreement or document that is entered into or delivered pursuant to the Plan or
any Entity’s rights arising from or obligations incurred in connection with the Plan or such
documents, including, for the avoidance of doubt, any issues relating to setting, implementing, and
enforcing the Legacy Charge and rate covenant and any amendments to the Legacy Charge and
rate covenant, as well as PREB’s authorization over the Legacy Charge and any amendments to
the Legacy Charge;

        8.      approve any modification of the Plan or approve any modification of the
Confirmation Order or any other contract, instrument, security, release, or other agreement or
document created in connection with the Plan or the Confirmation Order, or remedy any defect or
omission or reconcile any inconsistency in any order, the Plan, the Confirmation Order, or any
other contract, instrument, security, release, or other agreement or document created in connection
with the Plan or the Confirmation Order, or enter any order in aid of confirmation pursuant to
Bankruptcy Code sections 945 and 1142(b), in such manner as may be necessary or appropriate to
consummate the Plan;

       9.     adjudicate, decide, or resolve any matters relating to PREPA’s compliance with the
Plan and the Confirmation Order consistent with Bankruptcy Code section 945;

        10.     determine any other matters that may arise in connection with or relate to the Plan,
the Disclosure Statement, the Confirmation Order or any other contract, instrument, security,
release, or other agreement or document entered into or delivered in connection with the Plan, the
Disclosure Statement, or the Confirmation Order, in each case, solely to the extent that any such
document does not provide for another court or courts to have exclusive jurisdiction;

      11.   issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to enforce or restrain interference by any Entity with
consummation or enforcement of the Plan or the Confirmation Order;

        12.     adjudicate any and all controversies, suits, or issues that may arise regarding the
validity of any actions taken by any Entity pursuant to or in furtherance of the Plan or Confirmation
Order, including, without limitation, issuance of the New Bonds, and enter any necessary or
appropriate orders or relief in connection with such adjudication;

       13.      determine any other matters that may arise in connection with or relate to the Plan,
the Disclosure Statement, the Confirmation Order, the Definitive Documents, or any other
contract, instrument, security, release, other agreement, or document created in connection with




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the Plan, in each case, solely to the extent that any such document does not provide for another
court or courts to have exclusive jurisdiction;

        14.     enforce the New Bonds and the New Master Indenture, including, without
limitation, the Interest Rate Covenant, or, in the event that the Title III Court declines such
retention of jurisdiction or the Title III Case has been closed in accordance with the terms and
provisions of PROMESA, the United States District Court for the District of Puerto Rico is hereby
designated to enforce the New Bonds and the New Master Indenture, including, without limitation,
the Interest Rate Covenant;

       15.     enter and implement such orders as are necessary or appropriate if the Confirmation
Order is for any reason modified, stayed, reversed, revoked, or vacated;

      16.    enter an order or final decree concluding or closing the Title III Case pursuant to
Bankruptcy Code section 945(b);

        17.   enforce and clarify any orders previously entered by the Title III Court in the Title
III Case; and

       18.     hear any other matter over which the Title III Court has jurisdiction under the
provisions of PROMESA subject to any limits on the Title III Court’s jurisdiction and powers
under PROMESA sections 305 and 306.

                                        ARTICLE XXXVI

                               MISCELLANEOUS PROVISIONS

A.     Title to Assets

     Except as otherwise provided in the Confirmation Order or this Plan, on the Effective Date,
title to all Assets and properties of the Debtor encompassed by the Plan shall vest in the
Reorganized Debtor, free and clear of all Liens (except the Liens granted pursuant to the Plan and
Confirmation Order).

B.     No Waiver

    Notwithstanding anything to the contrary contained herein, the releases and injunctions set
forth in the Plan shall not, and shall not be deemed to, limit, abridge or otherwise affect the rights
of the Oversight Board, AAFAF, the Reorganized Debtor, the Fuel Line Lender PSA Creditors
(consistent with the Fuel Line Lender PSA), or National (consistent with the National PSA) to
enforce, sue on, settle or compromise the rights, claims, and other matters expressly retained by
any of them.

C.     Supplemental Injunction

        Notwithstanding anything contained herein to the contrary, except to the limited extent
provided in the Plan, all Entities, including Entities acting on their behalf, who currently hold or
assert, have held or asserted, or may hold or assert, any Released Claims against any of the


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Released Parties based upon, attributable to, arising out of or relating to the Title III Case or any
Claim against the Debtor, whenever and wherever arising or asserted, whether in the U.S. or
anywhere else in the world, whether sounding in tort, contract, warranty, statute, or any other
theory of law, equity or otherwise, shall be, and shall be deemed to be, permanently stayed,
restrained and enjoined from taking any action against any of the Released Parties for the purpose
of directly or indirectly collecting, recovering or receiving any payment or recovery with respect
to any Released Claims arising prior to the Effective Date (including prior to the Petition Date),
including, but not limited to:
       1.      Commencing or continuing in any manner any action or other proceeding of any
               kind with respect to any such Released Claim against any of the Released Parties
               or the assets or property of any Released Party;

       2.      Enforcing, attaching, collecting, or recovering, by any manner or means, any
               judgment, award, decree, or order against any of the Released Parties or the assets
               or property of any Released Party with respect to any such Released Claim;

       3.      Creating, perfecting, or enforcing any Lien of any kind against any of the Released
               Parties or the assets or property of any Released Party with respect to any such
               Released Claim;

       4.      Except as otherwise expressly provided in the Plan or the Confirmation Order,
               asserting, implementing or effectuating any setoff, right of subrogation, indemnity,
               contribution, or recoupment of any kind against any obligation due to any of the
               Released Parties or against the property of any Released Party with respect to any
               such Released Claim; and

       5.      Taking any act, in any manner, in any place whatsoever, that does not conform to,
               or comply with, the provisions of the Plan or the Confirmation Order, provided,
               however, that the Debtor’s compliance with the formal requirements of Bankruptcy
               Rule 3016 shall not constitute an admission that the Plan provides for any injunction
               against conduct not otherwise enjoined under the Bankruptcy Code.

D.     Immediate Binding Effect

        Pursuant to Bankruptcy Code section 944(a), applicable to the Title III Cases pursuant to
PROMESA section 301, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or any
other provision, upon the occurrence of the Effective Date, the terms of the Plan and the Plan
Supplement shall be immediately effective and enforceable and deemed binding on any and all
Holders of Claims and their respective successors and assigns, whether or not the Claim of any
such Holder is Impaired under the Plan and whether or not such Holder has accepted the Plan. The
releases, exculpations, and settlements effected under the Plan shall be operative, and subject to
enforcement by the Title III Court, from and after the Effective Date, including pursuant to the
injunctive provisions of the Plan. Once approved, the compromises and settlements embodied in
the Plan, along with the treatment of any associated Allowed Claims, shall not be subject to
collateral attack or other challenge by any Entity in any court or other forum. As such, any Entity
that opposes the terms of any compromise and settlement set forth in the Plan must (a) challenge
such compromise and settlement prior to confirmation of the Plan and (b) demonstrate appropriate


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standing to object and that the subject compromise and settlement does not meet the standards
governing settlements under Bankruptcy Rule 9019 and other applicable law.

E.      Additional Documents

        On or before the Effective Date, the Oversight Board may file with Clerk of the Title III
Court such agreements and other documents as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan, the Fuel Line Lender PSA, and the National
PSA. The Debtor and all Holders of Claims receiving distributions pursuant to the Plan and all
other parties in interest, from time to time, may prepare, execute, and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

F.      Reservation of Rights

        Except as expressly set forth herein, the Plan shall have no force or effect unless the Title
III Court shall enter the Confirmation Order. None of the filing of the Plan, any statement or
provision contained in the Plan, or the taking of any action by the Debtor with respect to the Plan,
the Disclosure Statement, or the Plan Supplement shall be or shall be deemed to be an admission
or waiver of any rights of the Debtor with respect to the Holders of Claims prior to the Effective
Date. Except as expressly set forth herein, the rights and powers of the government of the
Commonwealth under the Puerto Rico Constitution and PROMESA, including, without limitation,
under PROMESA sections 303 and 305, are expressly reserved (subject to any limitation thereon
imposed by the Puerto Rico Constitution, the U.S. Constitution or PROMESA), and nothing herein
shall be deemed a waiver of any such rights and powers.

G.      Successors and Assigns

        Except as expressly provided otherwise in the Plan, the rights, benefits, and obligations of
any Entity named or referred to in the Plan or the Confirmation Order shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

H.      Post-Effective Date Fees and Expenses

        From and after the Effective Date, the Reorganized Debtor shall, in the ordinary course of
business and without the necessity for any approval by the Title III Court, retain professionals and
pay the reasonable professional fees and expenses incurred by the Reorganized Debtor related to
implementation and consummation of the Plan without further approval from the Title III Court.
Without limiting the foregoing, from and after the Effective Date, the Reorganized Debtor shall,
in the ordinary course of business and without the necessity for any approval by the Title III Court,
but in no event later than forty-five (45) days following the submission of invoices or statements
with respect to the incurrence of fees and expenses to the Reorganized Debtor, pay the reasonable
and documented fees and reimburse the expenses of the Oversight Board and its professionals
related to the implementation and consummation of the Plan and in connection with its duties and
responsibilities pursuant to PROMESA and the terms and provisions of the Plan.




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I.     Securities Act Exemption

        Pursuant to Bankruptcy Code section 1145 and/or Securities Act section 3(a)(2), the
offering, issuance, and distribution of the New Bonds and CVI pursuant to the terms hereof shall
be exempt from registration under the Securities Act and any state or local law requiring
registration for the offer, issuance or distribution of securities, including, but not limited to, the
registration requirements of Securities Act section 5 and any other applicable state or federal law
requiring registration and/or prospectus delivery or qualification prior to the offering, issuance,
distribution, or sale of securities.

J.     Governing Law

     Except to the extent that other federal law is applicable, or to the extent that an exhibit hereto
or any document to be entered into in connection herewith provides otherwise, the rights, duties,
and obligations arising under this Plan shall be governed by, and construed and enforced in
accordance with, PROMESA (including the provisions of the Bankruptcy Code made applicable
under section 301 of PROMESA) and, to the extent not inconsistent therewith, the laws of the
Commonwealth of Puerto Rico, giving effect to principles of conflicts of laws.

K.     Closing Case

     The Oversight Board shall, promptly upon the full administration of the Title III Cases, file
with the Title III Court all documents required by Bankruptcy Rule 3022 and any applicable order
of the Title III Court. Notwithstanding the closing of the Title III Cases, the Title III Court shall
retain jurisdiction of all of the matters set forth in Article XXXV of the Plan.

L.     Section Headings

     The section headings contained in this Plan are for reference purposes only and shall not affect
in any way the meaning or interpretation of the Plan.

M.     Document Retention

       From and after the Effective Date, the Reorganized Debtor may maintain documents in
accordance with its standard document retention policy, as may be altered, amended, modified, or
supplemented by the Reorganized Debtor.

N.     Service of Documents

        All notices, requests to, demands, or other document(s) required by the Plan or the
Confirmation Order to be served on or delivered to the Oversight Board, PREPA, or AAFAF to
be effective shall be in writing including by facsimile transmission and unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered or, in
the case of notice by facsimile transmission, when received and telephonically confirmed,
addressed as follows:

 PREPA or the Oversight Board          Financial Oversight and Management
                                       Board for Puerto Rico



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                                    268 Muñoz Rivera Ave, Suite 1107
                                    San Juan, PR 00918-1813
                                    Attn: Executive Director

                                            – with a copy to –

                                    PROSKAUER ROSE LLP
                                    Eleven Times Square
                                    New York, NY 10036
                                    Attn: Martin J. Bienenstock, Esq.
                                          Paul V. Possinger, Esq.
                                          Ehud Barak, Esq.
                                          Daniel S. Desatnik, Esq.
                                    Tel: (212) 969-3000
                                    Fax: (212) 969-2900


 AAFAF                              Fiscal Agency and Financial Advisory Authority
                                    Roberto Sánchez Vilella (Minillas) Government Center
                                    De Diego Ave. Stop 22
                                    San Juan, Puerto Rico 00907

                                            – with a copy to –

                                    O’MELVENY & MYERS LLP
                                    Seven Times Square
                                    New York, NY 10036
                                    Attn: John Rapisardi, Esq.
                                          Peter Friedman, Esq.
                                          Maria J. DiConza, Esq.
                                    Tel: (212) 326-2000
                                    Fax: (212) 326-2061


O.     Term of Injunctions or Stays

        Unless otherwise provided herein or in the Confirmation Order, all injunctions or
stays in effect in the Title III Case (pursuant to Bankruptcy Code sections 105, 362, or 922
or any order of the Title III Court) and existing on the Confirmation Date (excluding any
injunctions or stays contained in the Plan or the Confirmation Order) shall remain in full
force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

P.     Entire Agreement

       Except as otherwise indicated, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan. Notwithstanding the


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foregoing, the Fuel Line Lender PSA (other than the Term Sheet defined under and attached to the
Fuel Line Lender PSA) shall continue to apply and remain in full force and effect according to its
terms until the Effective Date, and the Plan does not supersede any rights or obligations otherwise
arising under the Fuel Line Lender PSA (other than the Term Sheet defined under and attached to
the Fuel Line Lender PSA) until the Effective Date. Notwithstanding the foregoing, the National
PSA shall continue to apply and remain in full force and effect according to its terms until the
Effective Date, and the Plan does not supersede any rights or obligations otherwise arising under
the National PSA until the Effective Date.

Q.     Plan Supplement Exhibits

        All exhibits and documents included in the Plan Supplement are incorporated into and are
a part of the Plan as if set forth in full in the Plan. Upon the filing of the Plan Supplement with the
Clerk of the Title III Court, copies of the documents contained therein shall be made available
upon written request to the Oversight Board’s counsel at the address above or by downloading
such documents from https://dm.epiq11.com/case/prepa/info or the Title III Court’s website,
available via PACER. After the exhibits and documents are filed, copies of such exhibits and
documents shall be made available upon written request to the Oversight Board’s counsel at the
address      above     or      by     downloading       such    exhibits     and     documents    from
https://dm.epiq11.com/case/prepa/info or the Title III Court’s website, available via PACER.
Unless otherwise ordered by the Title III Court, to the extent any exhibit or document in the Plan
Supplement is inconsistent with the terms of any part of the Plan that does not constitute the Plan
Supplement, such part of the Plan that does not constitute the Plan Supplement shall control;
provided, however, that with respect to the matters governed by the New Master Indenture, to the
extent that any provisions of the Plan are inconsistent with the New Master Indenture, the New
Master Indenture shall control.

R.     Non-Severability

        Except to the extent otherwise expressly specified in this Plan, if any term or provision of
the Plan is held by the Title III Court to be invalid, void, or unenforceable, the Title III Court, in
each case at the election of and with the consent of PREPA, shall have the power to alter and
interpret such term or provision to make it valid or enforceable to the maximum extent practicable,
consistent with the original purpose of the term or provision held to be invalid, void, or
unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of the Plan shall remain in full force and effect and shall in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation. The provisions of the Plan, including
its release, injunction, exculpation, and compromise provisions, are mutually dependent and
non-severable. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan is: (a) valid and enforceable pursuant to its terms; (b)
integral to the Plan and may not be deleted or modified without the consent of PREPA; provided,
that any such deletion or modification must be consistent with (i) the Fuel Line Lender PSA with
respect to provisions that directly impact the rights of the Fuel Line Lenders under the Plan and
the Fuel Line Lender PSA and (ii) the National PSA with respect to provisions that directly impact
the rights of National under the Plan and the National PSA; and (c) non-severable and mutually
dependent.


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S.     Votes Solicited in Good Faith

        Upon entry of the Confirmation Order, PREPA will be deemed to have solicited votes on
the Plan in good faith and in compliance with the Bankruptcy Code, and pursuant to Bankruptcy
Code section 1125(e), PREPA and its agents, representatives, members, principals, shareholders,
officers, directors, employees, advisors, and attorneys will be deemed to have participated in good
faith and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of
securities offered and sold under the Plan and any previous plan, and, therefore, neither any of
such parties or individuals or PREPA will have any liability for the violation of any applicable
law, rule, or regulation governing the solicitation of votes on the Plan or the offer, issuance, sale,
or purchase of the securities offered and sold under the Plan and any previous plan.

T.     Waiver or Estoppel

        Each Holder of a Claim shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim should be Allowed in a certain amount, in a certain
priority, secured, or not subordinated by virtue of an agreement made with PREPA or its counsel,
or any other Entity, if such agreement was not disclosed in the Plan, the Disclosure Statement, or
papers filed with the Title III Court prior to the Confirmation Date.


                                               Respectfully submitted,

                                               PUERTO RICO ELECTRIC POWER
                                               AUTHORITY, by and through the Financial
                                               Oversight and Management Board for Puerto Rico
                                               as its sole Title III representative

                                               By: /s/ David A. Skeel
                                               Name: David A. Skeel
                                               Title:   Chairman




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